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             IN THE UNITED STATES DISTRICT COURT FOR
                THE NORTHERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION

                                              )
DONNA CURLING, et al.                         )
                                              )
Plaintiff,                                    )
                                              ) CIVIL ACTION FILE NO.:
vs.                                           ) 1:17-cv-2989-AT
                                              )
BRAD RAFFENSPERGER, et al.                    )
                                              )
Defendant.                                    )
                                              )
                                              )



                    DECLARATION OF PHILIP B. STARK

        PHILIP B. STARK hereby declares as follows:

       This statement supplements my declarations of September 9, 2018;

September 30, 2018; October 22, 2019; December 16, 2019; August 23, 2020;

August 31, 2020; September 13, 2020; August 2, 2021; and January 11, 2022

(augmented March 9, 2022), and December 5, 2022. I stand by everything in my

previous declarations and incorporate them by reference.

       1.    I have personal knowledge of all facts stated in this declaration, and if

called to testify, I could and would testify competently thereto.

       2.    Exhibit 1 is copy of a law journal paper I co-authored with Dr.

Andrew Appel, entitled Evidence-Based Elections: Create a Meaningful Paper

Trail, Then Audit. It appeared in 2020 in Georgetown Technology Law Review, 4,
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523. It explains why the paper printout from Ballot Marking Devices (“BMDs”) is

not a trustworthy source record for purposes of tabulating or auditing public

elections, and explains some of the steps needed to establish whether a paper trail

of (hand-marked) ballots is trustworthy prior to conducting a risk-limiting audit.

      3.     Exhibit 2 is the final, published, peer-reviewed version of a paper I

co-authored, They May Look and Look, Yet Not See: BMDs Cannot be Tested

Adequately, which appeared in 2022 in the proceedings of E-Vote-ID 2022, LNCS

13553, pp. 122–138 DOI10.1007/978-3-031-15911-4_8. An earlier version of this

article was entitled There is no Reliable Way to Detect Hacked Ballot-Marking

Devices, which is attached as Exhibit 3. I cite this paper in several declarations.

The paper shows that no feasible amount of logic and accuracy testing, parallel

testing, or “passive” testing can ensure that BMD misbehavior does not change

contest outcomes.

      4.     Research conducted by University of Georgia faculty at the behest of

the Georgia Secretary of State found that voter verification rates are low and voters

who do look at their printed BMD ballots generally look for very brief periods.

This research, Georgia Voter Verification Study Draft Version 1.0, reported in

January 2021, is attached as Exhibit 4. I cite this report in my declarations. The

copy of the report was obtained from the Atlanta Journal Constitution published




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article.1 The reporter states that “The Georgia study is the largest known

examination of voter behavior on ballot-marking devices, with over 4,000 voters

observed in 39 precincts.” I am aware of no information to the contrary.

       5.     I am not aware of any research that is inconsistent with the research

cited in Exhibit 4, nor any research that finds that voters can or do verify their

BMD ballots well enough to ensure that BMD misbehavior does not alter contest

outcomes.

       6.     I co-authored a September 8, 2022, letter to Georgia state election

officials concerning the breach of the Georgia Voting System that was initiated in

Coffee County. A true and correct copy is attached as Exhibit 5. On page 2, the

letter explains why “Georgia’s elections have a higher risk of compromise due to

the reliance on computerized Ballot-Marking Devices (BMDs) to record vote

selections for in-person voting.”

       7.     Signers of the letter include prominent members of the community of

scientists who are experts in voting systems. Several of the co-signers are current

or former members of the Verified Voting Board of Directors or Board of

Advisors, such as Dr. Duncan Buell, Dr. Richard DeMillo, Dr. Larry Diamond,




1
 AJC: Under Half of Georgia voter checked their paper ballots, study shows.
https://www.ajc.com/politics/under-half-of-georgia-voters-checked-their-paper-ballots-study-
shows/6HSVHHFOBRBDPODRZXLIBTUS64/



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Lowell Finley, Dr. David Jefferson, Dr. Douglas Jones, Mark Ritchie, Dr. John

Savage, and Dr. Kevin Skoglund, most whom I know personally through Verified

Voting, election integrity conferences, or other election integrity activities.

Verified Voting’s Board current members are listed on their website at

https://verifiedvoting.org/team/#advisors

      8.     I co-authored a September 2, 2021, letter to California Secretary of

State Dr. Shirley Weber warning of the security issues related to the release of

Dominion software from Antrim County, Michigan and Mesa County, Colorado. A

true and correct copy of the letter is attached as Exhibit 6. The letter explains the

increased security risk to jurisdictions using the Dominion BMD machines. The

co-signers were well-respected members of the community of voting system

experts; several of them are computer scientists.

      9.     I co-authored a December 12, 2022, letter to the U.S. Department of

Justice, the Federal Bureau of Investigation and Cybersecurity & Infrastructure

Agency (CISA) seeking federal investigations of the Georgia voting systems

breach. A true and correct copy of the letter is attached as Exhibit 7. The letter

explains the elevated risk of election manipulation because of Georgia’s universal

use of BMDs. (page 11)

      10.     Joining me in submitting this letter were highly respected members of

the scientific and legal community with voting systems expertise. (pages 12-14)



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      11.    OSET Institute, a non-profit organization with emphasis on election

technology, issued a statement regarding the risks to voting systems in the wake of

the breach of the Georgia system through Coffee County. A true and correct copy

of the statement is attached as Exhibit 8 as published and circulated. It explains

that the risk is heightened because of Georgia’s use of BMDs. (footnote 7 page 5)

      12.    I serve on the OSET Institute Board of Advisors, which includes

several other voting system experts: Dr. Barbara Simons (Chair of the Board of

Verified Voting), Dr. Richard DeMillo (Georgia Tech), and Dr. Stephanie Singer

(Portland State). Gregory Miller, John Sebes, and Edward Perez, John Gage, and

seven others serve on the OSET Board of Directors.

      13.    Dr. Andrew Appel incorporated some of the above-referenced

research in which I was involved in his July 21, 2022 article, “Magical Thinking

about Ballot-Marking-Device contingency plans.” That article is attached as

Exhibit 9 (downloaded January 15, 2023).

      14.    My December 5, 2022, Declaration (Doc. 1569-44 ¶24, and footnote

15) references Dr. Halderman’s and Dr. Springall’s “DVSOrder” research. Exhibit

10 is a true and correct copy of the DVSOrder research publication, downloaded

February 1, 2023.

      15.     My March 9, 2022, Declaration references the Secretary of State’s

press release concerning the November 2020 post election audit. (Doc. 1569-42,



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footnote 4) Exhibit 11 is a copy of that press release downloaded from the

Secretary of State’s website on January 21, 2023.

      I declare under penalty of perjury, in accordance with 28 U.S.C. § 1746, that

the foregoing is true and correct.

      Executed on this date, February 5, 2023.



                                      _______________________________
                                      Philip B. Stark




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                            GEORGETOWN LAW TECHNOLOGY REVIEW




             EVIDENCE-BASED ELECTIONS:
        CREATE A MEANINGFUL PAPER TRAIL, THEN
                       AUDIT
                          Andrew W. Appel* & Philip B. Stark**
                             CITE AS: 4 GEO. L. TECH. REV. 523 (2020)



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                                                  INTRODUCTION

           There is no perfect, infallible way to count votes. All methods—
   including optical scan, touchscreen, and hand counting—are subject to errors,
   procedural lapses, and deliberate manipulation. Almost all U.S. jurisdictions
   count their votes using computer-based technology, such as touchscreens and
   optical-scan machines. Computer-based methods are subject to “hacking,” that
   is, the replacement of legitimate vote-counting software with a computer
   *
       Eugene Higgins Professor of Computer Science, Princeton University.
   **
        Professor of Statistics, University of California, Berkeley.
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   program that changes (some fraction of) the votes in favor of the hacker’s
   preferred candidate(s). Hacking can be performed remotely (even if the
   machines are supposedly “never connected to the Internet”) and it is very
   difficult to detect. Voters and election administrators see nothing out of the
   ordinary.
           The vulnerability of computers to hacking is well understood. Modern
   computer systems, including voting machines, have many layers of software,
   comprising millions of lines of computer code; there are thousands of bugs in
   that code.1 Some of those bugs are security vulnerabilities that permit attackers
   to modify or replace the software in the upper layers, so we can never be sure
   that the legitimate vote-counting software or the vote-marking user interface
   is actually the software running on election day.2
           One might think, “our voting machines are never connected to the
   Internet, so hackers cannot get to them.” But all voting machines need to be
   programmed for each new election: They need a “ballot-definition file” with
   the contests and candidate names for each election, and lists of the contests
   different voters are eligible to vote in. This programming is typically done via
   removable media such as a USB thumb drive or a memory card. Vote-stealing
   malware can piggyback on removable media and infect voting machines—
   even machines with no network connection.3
           There is a way to count votes by computer and still achieve trustworthy
   election outcomes. A trustworthy paper trail of voter selections can be used to
   check, or correct, the electoral outcomes of the contests in an election.



   1
     Estimates of software defect rates range from one per thousand lines of code (in high quality
   commercial products) down to 0.1 per thousand lines of code in extremely high-quality
   products (this is at the 90th percentile for the software industry). MEL LLAGUNO, SYNOPSYS,
   INC., 2017 COVERITY SCAN REPORT: OPEN-SOURCE SOFTWARE—THE ROAD AHEAD 16
   (2017), https://www.synopsys.com/content/dam/synopsys/sig-assets/reports/SCAN-Report-
   2017.pdf [https://perma.cc/H8L3-SADH]. Modern voting machines contain software
   components such as an operating system (e.g., Windows 7 is fifty million lines of code; or
   Linux is twenty-seven million lines). USB drivers (common on voting machines) are quite
   large software components and are riddled with insecurities. Dave Tian et al., SoK: “Plug &
   Pray” Today – Understanding USB Insecurity in Versions 1 through C, IEEE SYMP.
   SECURITY AND PRIVACY (2018). Therefore, we can expect 100 to 1000 bugs per million lines
   of code; some small portion of these are “exploitable vulnerabilities,” that is, an adversary can
   exploit them to take over the computer and install fraudulent software. A software-based
   product such as a voting machine can be expected to contain, at any given time, one or more
   exploitable security vulnerabilities.
   2
     NAT’L ACADS. SCIS., ENG’G, & MED., SECURING THE VOTE: PROTECTING AMERICAN
   DEMOCRACY 89–91 (2018).
   3
     Ariel J. Feldman et al., Security Analysis of The Diebold Accuvote-TS Voting Machine, Proc.
   2007 USENIX/ACCURATE ELECTRONIC VOTING TECH. WORKSHOP (2007).
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   “Electoral outcome” means the winning candidates or positions,4 not an exact
   numerical tally.
           The principle of “evidence-based elections”5 is that local election
   officials should not only find the true winner(s) of an election, but they should
   also provide the electorate convincing evidence that they did. Generally, that
   means that eligible voters must have had the opportunity to vote, the election
   must have used voter-verified paper ballots, there must be convincing
   evidence that those ballots were kept inviolate through the audit, and the
   reported outcomes must be checked against the paper trail by suitable audits
   or hand counts.
           To have affirmative evidence that reported outcomes are correct
   requires conducting elections using an auditable voting system, then auditing
   the results appropriately. First, we discuss auditability, or the creation of a
   trustworthy paper trail. Second, we discuss auditing—the method for
   efficiently assessing whether the computer-reported election outcomes are
   correct, based on the paper trail.

                               VOTER-VERIFIED PAPER BALLOTS

           Society wants evidence that election outcomes are correct (e.g., the
   candidate actually selected by the voters wins the election), even if the
   computers have been hacked. The only known practical way to have
   trustworthy ballots to audit, even if the computer software has been hacked, is
   to have paper ballots, marked with the voters’ choices, that are manually
   interpretable, accountable, auditable, and re-countable.

                       Hand-Marked Paper Ballots (Optical Scan)

            The traditional method of creating this paper trail (since about 1890 in
   the U.S.) is the use of a preprinted ballot form that lists, for each contest, the
   names of the candidates. Alongside each candidate is a target (square, oval,
   etc.) in which the voter indicates a vote. In recent decades, as such ballots are
   counted by optical scanners, the voter is asked to fill in an oval or complete an
   arrow to indicate selections. This is a hand-marked paper ballot.
            With a hand-marked paper ballot, the marks on the ballot necessarily
   reflect what the voter did, and we can have reasonable assurance that the
   human-readable mark on the ballot is for the candidate actually intended by
   the voter. This assurance increases if the ballot follows standard best-practice
   ballot-design guidelines, such as those published by the U.S. Election

   4
    Or, for instance, whether there is a runoff.
   5
    Philip B. Stark & David Wagner, Evidence Based Elections, 10 IEEE SECURITY & PRIVACY
   33–41 (2012) (introducing the concept of evidence-based elections).
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   Assistance Commission.6 Voters are more likely to overlook certain contests
   on the ballot, to overvote, to undervote, and to make other mistakes if the
   ballots do not follow these design guidelines.
           Hand-marked paper ballots can be quite accurate: in the 2008
   Minnesota election for U.S. Senator, of 2.4 million votes cast, only 0.01% (1
   in 10,000) was so ambiguous that the State Canvassing Board could not
   interpret it, and the optical-scan voting machines agreed with the hand-recount
   totals with an accuracy of 99.99%.7

                       Direct-Recording Electronic (DRE) Machines

           Direct-recording electronic voting machines have a user interface
   (typically a touchscreen) and an internal computer. Voters indicate their votes
   on the touchscreen, and the computer program interprets those indications to
   add votes to counters in its memory. At the close of the polls, the computer
   outputs the results by printing them on paper and saving results to a
   removable-media cartridge.
           With a DRE, the record of the vote does not necessarily reflect what
   the voter did. If the DRE is “hacked,” that is, if fraudulent software is installed,
   then the fraudulent computer program can report arbitrary fraudulent votes.
   There is no effective paper trail. Results may be printed on paper at the close
   of polls, but this paper trail starts only when the computer program is reporting
   the totals. That printout can be effective in auditing the aggregation of votes
   from different precincts, but it cannot serve as a check on the computer
   program in the voting machine. This is a fatal flaw of paperless DRE voting
   machines.
           In the early 21st century, many states used DRE voting machines. But,
   because of the widespread recognition of this fatal flaw, only a handful of
   states use paperless DRE voting machines, and many of those states are
   transitioning to technologies that have a paper trail starting from the individual
   voter’s ballot.

                        Voter-Verifiable Paper Audit Trail (VVPAT)

        In the 2000s, it was thought that a good solution to the problem of
   DREs was a voter-verifiable paper audit trail. For a DRE with VVPAT, the

   6
     U.S. ELECTION ASSISTANCE COMM’N, EFFECTIVE DESIGNS FOR THE ADMINISTRATION OF
   FEDERAL         ELECTIONS         (2007),       https://www.aiga.org/globalassets/migrated-
   pdfs/eac_effective_election_design [https://perma.cc/G7H3-RDUL].
   7
     Andrew Appel, Optical-Scan Voting Extremely Accurate in Minnesota, FREEDOM TO TINKER
   (Jan. 21, 2009), https://freedom-to-tinker.com/2009/01/21/optical-scan-voting-extremely-
   accurate-minnesota/ [https://perma.cc/4FWX-6GUJ].
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   voter indicates choices on a DRE touchscreen. Then, the DRE prints the
   voter’s selections on paper, behind glass. The voter inspects (“verifies”) the
   VVPAT; and the VVPAT serves as the ballot of record in recounts or audits.
           As we discuss below, VVPAT is not an adequate solution: in practice,
   the vast majority of voters do not verify the paper printout—it is “voter
   verifiable” but not “voter verified”; and the few who do inspect the VVPAT
   cannot safeguard the votes of their fellow voters who do not.

                              Ballot-Marking Devices (BMDs)

            Ballot-marking devices have a user interface (typically a touchscreen)
   on which voters indicate their selections; then the BMD prints a paper ballot
   that will be optically scanned. There are many variations of this technology:
   the paper ballot may have only human-readable marks or the votes may also
   be encoded in barcodes. The paper ballot might print a summary of the voter’s
   selections, or also contests the voter skipped. The paper ballot may be
   displayed under glass; it may be ejected for the voter to hold and inspect before
   feeding back into a slot for scanning; or it may be ejected for the voter to carry
   to a separate optical scanner.
            None of these designs is trustworthy. Just like DRE VVPATs, a BMD
   vote record might not reflect what the voter did. BMDs print out a paper ballot
   that is, in principle, voter verifiable, but is not, in practice, voter verified. In a
   study of voters using BMDs in a 2018 election in Tennessee, DeMillo et al.
   found that 47% of voters did not inspect their BMD-printed ballots at all; the
   other 53% looked at their paper ballot for an average of 3.9 seconds, not nearly
   long enough to check that the printout matched what they indicated on the
   touchscreen for all 18 contests on the ballot.8 In a controlled experiment with
   real voters (but not in a real election), Bernhard et al. found that when the
   BMD deliberately mis-recorded one vote on each ballot, only 7% of the voters
   noticed.9
            If a BMD is hacked and systematically steals 5% of the votes in one
   contest and only 7% of voters inspect their ballots carefully enough to notice,
   then the effective rate of vote-theft is 5% ´ 93% , or 4.65%; this is enough to
   change the outcome of a moderately close election. The same analysis applies
   to a DRE+VVPAT system.
            One might think: “not everyone needs to carefully verify their ballots;”
   if only 7% of voters carefully inspect their ballots, they can serve as a kind of

   8
     Richard DeMillo et al., What Voters Are Asked to Verify Affects Ballot Verification: A
   Quantitative Analysis of Voters’ Memories of Their Ballots (last revised Apr. 13, 2019)
   (unpublished manuscript) https://ssrn.com/abstract=3292208 [https://perma.cc/6VYR-FFZJ].
   9
     Matthew Bernhard et al., Can Voters Detect Malicious Manipulation of Ballot Marking
   Devices?, 41 IEEE SYMP. SECURITY & PRIVACY (2020).
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   “random audit” of the BMDs. But this sentiment fails to hold up under careful
   analysis.10 If and when a voter observes that the BMD-printed ballot is marked
   with votes that they did not intend, the voter is supposed to alert a poll worker,
   who is required to void that ballot and allow the voter to mark a fresh ballot.
   But this situation does not provide usable evidence that the BMD was
   cheating: the voter might be mistaken or lying.11
           Therefore, in our hypothetical scenario in which a hacked BMD steals
   5% of the votes, and 7% of voters carefully inspect their ballots (and know
   what to do when they see a mistake), then 7% ´ 5% of voters will alert a
   pollworker; that is, 1 in every 285 voters will claim their paper ballot was
   mismarked—if the voters do not assume it was their own error. The BMD
   would successfully steal “only” 4.65% of the votes.
           One might think: “but some voters caught the BMD cheating, red-
   handed.” But nothing can be done. It is a rare election official who would
   invalidate an entire election because 1 out of 285 voters complained.12
           The gap between voter verifiable and voter verified makes BMDs
   unacceptable; hacked BMDs can steal the vast majority of the votes they set
   out to steal, before those votes are recorded onto the paper trail. The same
   analysis applies to a DRE+VVPAT system.

                                       All-In-One BMDs

           All-in-one BMDs combine the ballot-marking functionality of “pure”
   BMDs with the scanning/tabulating functionality of optical scanners. In
   various configurations sold by different manufacturers, the “all-in-one” or
   “hybrid” BMD may eject the ballot for the voter to inspect before feeding it
   back into the slot from which it was ejected, or the BMD may display the ballot
   under glass for voter inspection before retracting it past a scanner.
           These machines are even less secure—and less acceptable for use in
   public elections—than pure BMDs. The same paper path contains both the
   printer (for marking ballots) and the optical scanner (for scanning ballots). The
   legitimate software (installed by the manufacturer) presumably will not print
   additional votes onto the ballot after the voter has inspected it, but hacked
   software could. The software installed on the BMD has complete control over

   10
      See Andrew W. Appel, Richard A. Demillo, & Philip B. Stark, Ballot-Marking Devices
   (BMDs) Cannot Assure the Will of the Voters, ELECTION L. J. (June 16, 2020),
   https://doi.org/10.1089/elj.2019.0619 [https://perma.cc/N3NY-VQ2Y] (published online).
   11
      See Matthew Bernhard et al., Public Evidence from Secret Ballots, in 10615 ELECTRONIC
   VOTING, 84, 86 (Robert Krimmer et al. eds., Springer 2017); Tyler Kaczmarek et al., Dispute
   Resolution in Accessible Voting Systems: The Design and Use of Audiotegrity, in 7985 E-
   VOTING & IDENTITY 127, 131 (James Heather et al. eds., Springer 2013).
   12
      See generally Bernhard et al., supra note 9.
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   all the physical functions of the paper path: printing, scanning, and paper
   transport. Therefore, the hacked computer can print votes on the ballot after
   the voter’s last opportunity to inspect the paper. Even those 7% of voters who
   carefully inspect their ballots are not safe. The same analysis applies to a
   DRE+VVPAT system.13

                                         Internet Voting

           Internet voting cannot be secured by any currently known
   technology.14 Even if a cryptographic protocol is used to attempt to create an
   audit trail, the end-user device (phone, computer, or kiosk) is easily hackable.
   Thus, the voter may indicate a vote for one candidate, but the vote that is
   encrypted, authenticated, and transmitted may be for another candidate. End-
   to-end cryptographic paperless voting protocols are an interesting topic for
   future academic research, but their security and practicality is not mature
   enough for use in public elections. These scientific facts are well established;15
   we do not discuss them further here.

                   Software Independence, Contestability, Defensibility

           By 2004 it was recognized by most experts that paperless DREs were
   subject to a massive security hole: if fraudulent software was installed in them,
   that software could steal votes without any way to detect or correct the fraud,
   or a trustworthy way to recount. In 2008, this understanding was framed in the
   term “software independence”:

           An undetected change or error in its software cannot cause an
           undetectable change or error in an election outcome.16

           This notion is essential, but still too weak. It very much matters who
   detects the change, and the consequences of this detection. For instance, if an
   individual voter (amongst the approximately 7% who carefully inspect their
   BMD-printed ballots) detects an error, that voter has effectively detected a
   possible error in the election outcome. The election-outcome error is not
   undetectable and the system is software independent.
           But in such a case, the election-outcome error is, for all practical
   purposes, undetectable and uncorrectable by election officials. Voters cannot

   13
      See also Appel et al., supra note 10.
   14
       NAT’L ACADS. SCIS., ENG’G, & MED., SECURING THE VOTE: PROTECTING AMERICAN
   DEMOCRACY 92 (2018).
   15
      Id.
   16
      Ronald L. Rivest, On the Notion of ‘Software Independence’ in Voting Systems, 366 PHIL.
   TRANSACTIONS ROYAL SOC’Y A 1881 (2008).
Case
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   prove that the votes printed on the paper are not the same as the ones they
   selected on the BMD. Without any such proof, it would be irresponsible to
   have a do-over election just on the say-so of a few individual voters.
           Appel, DeMillo, and Stark propose the terms “contestable” and
   “defensible” as more useful in the analysis of voting-system security17:

                    A voting system is contestable if, when an undetected
            change or error in its software causes a change or error in an
            election outcome, the system can always produce public
            evidence that the outcome is untrustworthy.
                    A voting system is defensible if, when the reported
            electoral outcome is correct, it is possible to generate
            convincing public evidence that the reported electoral outcome
            is correct—despite any malfunctions, software errors, or
            software alterations that might have occurred.

           A voting system based on BMD-marked ballots is neither contestable
   nor defensible. A voting system based on hand-marked paper ballots, counted
   by optical scanners and re-countable (and auditable) by humans, are both
   contestable and defensible—provided careful procedures are practiced to
   check administrative processes, physical chain of custody of the ballots, and
   other physical security measures. Such procedures are called compliance
   audits.

                                         RISK-LIMITING AUDITS

            If there is a trustworthy paper record of the votes—meaning that a full,
   accurate hand tabulation of the recorded votes would show the true winners—
   there is a way to check whether the computers misbehaved: count the votes by
   hand.
            That is an expensive prospect, so some states mandate looking at a
   sample of ballots instead, i.e., auditing. Generally, statutory audits provide no
   assurance that, if a reported outcome is wrong, the error will be detected, much
   less corrected.18




   17
     Appel et al., supra note 10.
   18
     Some officials claim that the statutory audits check whether the machines are working
   correctly. But machines never work perfectly. The question is whether they worked well
   enough, in this election, to find the true winner(s). That is the question a risk-limiting audit
   answers.
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          In contrast, a “risk-limiting audit” (RLA) is any post-election
   procedure that offers the following statistical guarantee19:

            If the reported electoral outcome is wrong, there is a known,
            pre-determined minimum chance that the procedure will
            correct the reported outcome.

            The maximum chance that the procedure will not correct the outcome,
   if the outcome is wrong, is the “risk limit.” For instance, an RLA with a risk
   limit of 5% has at least a 95% chance of correcting the reported outcome if the
   reported outcome is wrong (and no chance of altering a correct reported
   outcome).
            The only possible touchstone for determining the correct outcome and
   correcting wrong outcomes is the paper trail: an RLA corrects the outcome by
   conducting a careful, full manual tally of the paper trail. The result of that tally
   replaces the reported outcome if the two differ.
            If the paper trail is trustworthy—i.e., if a full hand tabulation would
   show who really won—the replacement outcome is the correct electoral
   outcome, and the overall procedure limits the risk that an incorrect reported
   outcome will become official. If the paper trail is not trustworthy (for instance,
   if it has not been kept secure or if it was generated by BMDs), no procedure
   can limit the risk that an incorrect reported outcome will become official.
   Indeed, applying an RLA procedure to an untrustworthy paper trail could even
   replace a correct reported outcome with an incorrect outcome. At best,
   applying an RLA procedure to an untrustworthy paper trail can check whether
   tabulation error altered the outcome reflected in the untrustworthy paper trail.


   19
      Risk-limiting audits have been endorsed by the National Academies of Sciences
   Engineering, and Medicine, the Presidential Commission on Election Administration, the
   American Statistical Association, the League of Women Voters, Common Cause, Verified
   Voting Foundation, and many other organizations concerned with election integrity. RLAs
   have been piloted more than fifty times in thirteen U.S. states and in Denmark. They are
   required by statute in Colorado, Nevada, Rhode Island, and Virginia, and authorized by statute
   in California and Washington. RLAs were developed in 2007; the first publication is P.B.
   Stark, Conservative Statistical Post-Election Audits, 2 Aɴɴ. Aᴘᴘʟ. Sᴛᴀᴛɪsᴛɪᴄs 550 (2008).
   Since then, there have been extensions for other social choice functions (e.g., proportional
   representation), see P.B. Stark, & V. Teague, Verifiable European Elections: Risk-limiting
   Audits for D’Hondt and Its Relatives, 3 JETS: USENIX J. Eʟᴇᴄᴛɪᴏɴ Tᴇᴄʜ. & Sʏs. 18 (2014)
   (for auditing any number of contests simultaneously, for different types of voting equipment,
   etc.); see also P.B. Stark & M. Lindeman, A Gentle Introduction to Risk-Limiting Audits, 10
   IEEE Sᴇᴄᴜʀɪᴛʏ & Pʀɪᴠᴀᴄʏ 42, (2012) (for a general but still somewhat technical introduction);
   P.B. Stark, Sets of Half-Average Nulls Generate Risk-Limiting Audits: SHANGRLA VOTING
   ’20 (forthcoming 2020) [hereinafter Stark, Half-Average Nulls] (for the most recent and
   efficient methods for RLAs).
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          There are many methods for conducting risk-limiting audits. For
   instance, a full hand count is a risk-limiting audit, with a risk limit of zero.
   But, by inspecting randomly selected ballots and using appropriate statistical
   methods, it is possible to conduct risk-limiting audits much more efficiently—
   provided the reported electoral outcome is correct.20

                                         COMPLIANCE AUDITS

            An RLA procedure that relies on an untrustworthy paper trail, or any
   audit that purports to ascertain voter intent from an electronic record or from
   an artifact that the voter did not have the opportunity to check, is “security
   theater.” There is little reason to believe that a full manual tally of such records
   would reveal the true winner(s). It is therefore crucial to base audits on voter-
   verified paper records; to ensure that those records include every validly cast
   vote exactly once, and no other votes (checking the determination of
   eligibility, in particular); to ensure that those records remain complete and
   intact from the moment they are cast through the audit; and to assess the
   evidence that they are trustworthy. Absent affirmative evidence that the paper
   trail is a trustworthy record of voter intent—i.e., that tabulating it accurately
   would show who won according to the intent of every voter who legitimately
   cast a ballot (in the contests under audit) and no others—the audit might be
   likely to confirm the incorrect outcome or to change a correct outcome into an
   incorrect outcome.
            The process of assessing the trustworthiness of the paper trail is called
   a “compliance audit.” Compliance audits should include the following steps,
   among others:

            Ballot Accounting. Check that the number of ballots sent to polling
            places equals the total number of cast ballots, spoiled ballots, and
            unvoted ballots. For systems that print ballots on demand, check that
            the paper stock of voting sheets cast, spoiled, and still blank adds up to
            the number of sheets sent to the polling place or vote center. Use
            accountable ballot stock, rather than plain paper, as an important
            security measure. Check that the number of ballots returned from each
            polling place does not exceed the number of voters registered at that
            polling place or the number of pollbook signatures at the polling place.
            Check that the number of ballots of each style corresponds to the
            number of ballots of each style reported by the voting system. Ballot
            counts for this purpose should be based on the physical paper, not on

   20
     When the reported outcome is incorrect, the audit is intended to have a large probability of
   requiring a full manual tally, so it generally will not save labor in that case.
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           the voting system: the audit needs external touchstones to check the
           voting system.

           Eligibility. Check signature verification on vote-by-mail ballots.
           Check the disposition of provisional ballots to ensure that all that were
           validly cast (and no others) were included in the results. Check that
           each voter received the correct ballot style based on each voter’s
           eligibility. For vote-by-mail ballots, there should be a record of the
           ballot style mailed to the voter; for in-person voting, this might require
           recording (e.g., in pollbooks) the ballot style given to the voter. For
           provisionally cast ballots, this might be more complicated.

           Physical chain of custody. Adopt a formal seal-use protocol21 for the
           tamper-evident seals on ballot boxes and other important records, e.g.,
           use numbered, tamper-evident seals that are hard to forge or bypass;
           train staff in assessing evidence of tampering; record seal numbers
           when seals are applied; and check seal numbers against records.
           Review custody logs. Check that at least two staff members
           accompanied the ballots whenever ballots were not locked securely or
           under surveillance. Review surveillance video of the secure ballot
           storage facility to ensure there was no unauthorized access to ballots.

           Due diligence regarding processes, equipment, etc. Review voting
           equipment event logs. Review any complaints made by voters or
           anomalies or problems noted by poll workers.

           Some of these steps are formally or informally part of the canvass
   procedure in some jurisdictions. Ideally, the Secretary of State would require
   these steps (and others) to be conducted in a way that is publicly verifiable and
   would require jurisdictions to publish the results. Before the election, voter
   registration databases should be scrutinized and changelogs included. Pre-
   election “logic and accuracy testing” should include compliance review of the
   ballot design against EAC usability guidelines22 to ensure that voters will
   understand the ballot and will not inadvertently overlook some contests or
   mark ballots incorrectly.


   21
      See generally Andrew W. Appel, Security Seals on Voting Machines: A Case Study, 14
   ACM Tʀᴀɴsᴀᴄᴛɪᴏɴs Iɴғᴏ. & Sʏs. Sᴇᴄᴜʀɪᴛʏ 2, 1 (2011).
   22
      See generally U.S. ELECTION ASSISTANCE COMM’N, EFFECTIVE DESIGNS FOR THE
   ADMINISTRATION              OF           FEDERAL              ELECTIONS       (2007),
   https://www.aiga.org/globalassets/migrated-pdfs/eac_effective_election_design
   [https://perma.cc/W7UW-S5CQ].
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            Compliance audits should be a standard part of any recount and not
   just a precursor to risk-limiting audits. Absent a compliance audit, there is little
   reason for the public to trust that a recount will find the true winner(s).

                                EFFICIENT RISK-LIMITING AUDITS

           The basic strategy behind current methods for risk-limiting audits
   begins by acknowledging that the reported electoral outcome might be
   incorrect, then examines randomly selected ballots until either (a) the evidence
   is convincing that a full manual tally would confirm the reported outcome, or
   (b) there has been a full manual tally.
           There is more than one way to do this. Two basic building blocks are
   ballot-polling and comparison. Both can be conducted by randomly selecting
   either groups of ballots (batch-level audits) or individual ballots (ballot-level
   audits).23
           Ballot-polling audits are like exit polls, but instead of asking voters
   how they voted, the audit manually examines randomly selected ballots.24 If a
   sufficiently large sample of ballots shows a sufficiently large margin in favor
   of the reported winner, that is evidence that the reported winner really won.25
   Ballot-polling audits have the advantage of requiring very little of the voting
   system: just the reported winners and access to the ballots. They also require
   local election officials to organize the ballots well enough to draw a random
   sample of ballots.
           Comparison audits compare how the voting system tallied groups of
   ballots to how humans tally the same physical group of ballots. A group might
   be, for instance, all ballots tallied in a given precinct or by a given machine,
   which yields a batch-level comparison audit. The most efficient comparison
   audits use groups consisting of individual ballots, which yield ballot-level
   comparison audits. To conduct a ballot-level comparison audit, the system
   must report how it interpreted individual ballots in a way that allows the
   corresponding physical ballot to be identified and retrieved for manual
   inspection. Such interpretations are called “cast-vote records” or CVRs. The
   CVR for a ballot lists the voting system’s interpretation of voter intent for each

   23
      Ballot-level audits tend to require examining fewer ballots total than audits based on larger
   batches. Roughly speaking, the number of batches one needs to examine to confirm a contest
   with a given margin of victory at a given risk limit is about the same, regardless of the batch
   size. Hence, to attain a given risk limit, an audit that uses batches the size of precincts (say,
   500 ballots per batch on average) requires examining about 500 times as many ballots as an
   audit that uses batches consisting of a single ballot (i.e., a ballot-level audit).
   24
      Unlike people, ballots always reply, and always reply truthfully, so ballot-polling audits
   give strong statistical evidence while exit polls generally suffer from large biases.
   25
      How to quantify the strength of the evidence depends on how the sample is drawn, among
   other things.
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   contest on the ballot. Most legacy voting systems cannot report CVRs in a way
   that the corresponding ballot can be identified and retrieved, but some newer
   systems have this capability.
           One method for conducting a ballot-level comparison audit with a 5%
   risk limit requires manually inspecting approximately 7/(diluted margin)
   ballots, unless the audit finds errors in the CVRs. The “diluted margin” is the
   margin of victory in votes, divided by the total number of ballot cards26 in the
   population from which the sample is drawn (which must include all ballot
   cards cast in the contest, and may include others). For instance, in the 2018
   gubernatorial primary in California, Newsom and Cox advanced to the general
   election. The margin of Cox over Villaraigosa, the runner-up, was 618,215
   votes out of 7,060,646 ballots cast, including undervotes. The diluted margin
   is thus 618,215/7,060,646 = 8.76%. A ballot-level comparison audit with a
   risk limit of 5% would have required inspecting approximately 7/0.0875 = 80
   ballots selected at random from the entire state (assuming the audit did not
   find any errors). A ballot-polling audit with a risk limit of 5% would have been
   expected to examine 443 ballots (assuming that the reported results are
   correct). For either approach, the amount of work required to justify public
   confidence in the outcome is de minimis.
           Most ways of conducting RLAs require a “ballot manifest” describing
   how ballots are stored. For example, “There are 913 boxes of ballots,
   numbered 1 through 913. Box 1 contains 301 ballots. Box 2 contains 199
   ballots . . . .” It is reasonable to require local election officials to construct
   ballot manifests routinely—if election officials cannot keep track of how much
   paper there is and where it is, they are not doing their job. Some counties might
   not currently organize their paper flow in a way that makes constructing ballot
   manifests possible.




   26
      A “ballot” often consists of two or more “ballot cards” that contain different contests.
   Sorting the physical ballot cards into homogeneous groups can greatly reduce the number of
   cards that must be inspected at random to yield a given number of cards that contain a
   particular contest.
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           Ballot manifests should be constructed without relying on the voting
   system to count the paper; otherwise, we are trusting the voting system to
   check itself.27 28

                               RESOURCES FOR RISK-LIMITING AUDITS

            Ballot polling requires a ballot manifest and the reported results—the
   hardware and software requirements are minimal, and open-source code exists
   for all the computations.29 Batch-level comparison RLAs using precincts as
   batches generally do not save effort compared to ballot-polling RLAs for
   typical margins and precinct sizes, but require substantially more “data
   wrangling.” Ballot-level comparison audits require voting systems that can
   report cast-vote records for individual ballots in a way that allows the
   corresponding physical ballot to be retrieved, and vice versa; however, most
   current voting systems do not have this ability. Ballot-level comparison audits
   also require exporting those CVRs and “committing” to them in a publicly
   verifiable way.
            RLA methods exist for all common social choice functions used in the
   U.S., including plurality, vote-for-n plurality (e.g., school boards), super-
   majority, and instant-runoff voting (IRV, also known as ranked-choice voting,
   or RCV), as well as proportional representation.30
            There is a variety of open-source software to select random samples of
   ballots and perform risk calculations.31 The most difficult aspect of auditing is

   27
      However, ballot manifests can be augmented by data from the voting system to facilitate
   audits, provided the audit is designed to take into account the possibility that the voting system
   data are incorrect. For instance, there are ways to combine cast-vote records with ballot
   manifests to make it easier to sample ballots that contain specific contests and still ensure that
   the procedure is an RLA. See Stark, Half-Average Nulls, supra note Error! Bookmark not
   defined.; Michelle Blom et al., Sets of Half-Average Nulls Generate Risk-Limiting Audits
   (SHANGRLA), GITHUB, https://github.com/pbstark/SHANGRLA [https://perma.cc/WN2U-
   FJGU] (last visited Mar. 17, 2020).
   28
      Moreover, common human errors include scanning the same box of ballots twice and failing
   to scan a box of ballots. Scanner mis-picks and errors resulting from clearing scanner paper
   jams can also cause the number of actual ballots to differ from the number according to the
   voting system. Relying on the voting system to construct a manifest would miss such errors.
   29
      See, e.g., P.B. Stark, Tools for Ballot-Polling Risk-Limiting Election Audits, UNIV.
   CAL., BERKLEY: DEP’T OF STATISTICS, https://www.stat.berkeley.edu/~stark/Vote/ballotPoll
   Tools.htm [https://perma.cc/DBS2-8LXB] (last modified Feb. 16, 2017).
   30
      See Stark, Half-Average Nulls, supra note 19.
   31
      See, e.g., Blom, supra note 27; Stark, supra note 29; P.B. Stark, Tools for Comparison Risk-
   Limiting Election Audits, UNIV. OF CAL., BERKLEY: DEP’T OF STATISTICS,
   https://www.stat.berkeley.edu/users/stark/Vote/auditTools.htm            [https://perma.cc/4FUT-
   8C8X]       (last    modified     Feb.    26,     2020);    pbstark,     auditTools,      GITHUB,
   https://github.com/pbstark/auditTools [https://perma.cc/V8KH-TN4V] (last visited Mar. 17,
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   logistical: coordinating audits of contests that cross jurisdictional lines. That
   can be facilitated by well-designed software.
           In our experience, it takes about two minutes to retrieve a particular
   randomly selected ballot and transcribe the votes for two or three contests.32
   Additional contests take on the order of ten seconds each per audited ballot.
   The cost of conducting RLAs seems to be very small compared to the overall
   cost of holding an election. In Colorado, some local election officials report
   that RLAs are easier than the statutory audits that RLAs replaced, even though
   the previous audits had little evidentiary value.

                                     Audit the Digital Images?

            Some vendors are promoting systems that create digital images of
   ballots. These vendors claim that the images make RLAs easier to perform
   because fewer (or no) paper ballots need to be inspected. That is incorrect: if
   a risk-limiting audit relies on images of ballots, it must check that the error in
   making the images from the voter-verified paper ballots plus the error the
   system made interpreting those images to make cast-vote records is not large
   enough to cause the electoral outcome to be wrong. It is a mathematical fact
   that this requires examining at least as many physical ballots as an audit that
   compares CVRs to a human reading of the paper ballots, without relying on
   the digital images.33

                        PRINCIPLES FOR ELECTION INTEGRITY LEGISLATION

         Laws to ensure that election results are trustworthy should satisfy a
   number of principles:



   2020); pbstark, Tools for SUITE Risk-Limiting Election Audits, GITHUB,
   https://github.com/pbstark/CORLA18/blob/master/code/suite_toolkit.ipynb
   [https://perma.cc/G6MJ-PA5S] (last visited Mar. 17, 2020); VotingWorks, ARLO: Open-
   Source       Risk    Limiting       Audit     Software       by     VotingWorks,         GITHUB,
   https://github.com/votingworks/arlo [https://perma.cc/9T8S-PZ99] (last visited Mar. 17,
   2020).
   32
      The process is much faster if serial numbers are printed on the ballots (after the voted ballot
   has been dissociated from the voter’s identity).
   33
      See supra note Error! Bookmark not defined. for errors that could result in missing or
   duplicated images. Moreover, there are demonstrations that scanners can inadvertently alter
   images in ways that would change the appearance of voter intent, including erasing votes.
   Expecting digital images to accurately reflect voter intent from every validly cast ballot,
   exactly once, is wishful thinking, even in the absence of hacking. Of course, hacking the
   scanners or the image processing software is within the technical ability of many
   undergraduate computer science students.
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        1.   Require rigorous physical custody of ballots, and compliance
             audits, as discussed above. A RLA that relies on an untrustworthy
             paper record accomplishes little.
        2.   Require genuine RLAs. The procedures and calculations should
             ensure that whenever an outcome is incorrect, the audit has the
             requisite chance of leading to a full hand count.34 This entails a
             number of things:
                  a. The audit must ascertain voter intent manually—directly
                  from the human-readable marks on the paper ballots the
                  voters had the opportunity to verify. It is not adequate to rely
                  on digital images of ballots, printout from an electronic record,
                  barcodes, or other artifacts that are not verifiable by the voter or
                  are not tamper evident. Nor is it adequate to re-tabulate the votes
                  electronically, either from images of the ballots or from the
                  original paper. BMD printouts, digital images of ballots, re-
                  printed ballots, and other computer data are not reliable records
                  of voter intent. They can be incomplete, fabricated, or altered
                  (accidentally or maliciously) by software bugs, procedural
                  lapses, or hacking. Statutes should prohibit relying on such
                  things for the determination of voter intent. Making this
                  prohibition explicit is important because, as mentioned above,
                  voting system vendors are marketing technology that purports to
                  facilitate RLAs by allowing auditors to examine digital images
                  of ballots instead of paper ballots. Relying on an electronic
                  record created by the voting system to accurately reflect voter
                  intent amounts to asking a defendant whether the defendant is
                  guilty.
                  b. The audit must take all validly cast ballots into account. If
                  ballots are omitted from consideration, for instance vote-by-mail
                  ballots that did not arrive by election night or provisionally cast
                  ballots, the audit cannot be a genuine RLA. Still, there are ways
                  to begin an RLA before all ballots are available.
                  c. The audit must have the ability to correct incorrect
                  outcomes. This might mean that the audit must take place
                  before results are certified or that the audit can revise already-
                  certified results.

   34
     The statute should not dictate methods or calculations, only principles. This makes it
   possible to use improved methods as they are developed or as voting systems are replaced.
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        3.   Set the risk limit in statute. Allowing the Secretary of State or local
             election official to choose the risk limits may create a real or apparent
             conflict of interest.
        4.   Specify how the contests to be audited are selected.
                  a. If not every contest will be audited in every election, the
                  selection of contests to audit should involve a random
                  element to ensure that every contest has some chance of
                  being selected. This ensures that a malicious opponent will not
                  be able to predict whether any particular race will be audited.
                  b. Every contest not audited with an RLA should be audited
                  using a risk-measuring audit instead.35
                  c. Statutes must require RLAs on cross-jurisdictional
                  contests—including statewide contests. Because the point of
                  an RLA is to ensure that reported contest outcomes are correct,
                  every county involved in a particular contest must examine
                  ballots in such a way that the overall cross-jurisdictional
                  procedure is an RLA of that contest. Operationally, auditing
                  cross-jurisdictional contests requires coordination among
                  counties, so each county knows when its portion of the audit can
                  stop. For example, the Secretary of State can tell each
                  jurisdiction how many ballots it needs to draw from each cross-
                  jurisdictional contest in light of the margin and what the audit
                  reveals as it progresses.
        5.   The audit sample must not be predictable before the audit starts.
             Otherwise, any hacked software would know in which precincts it is
             safe to cheat. Audits in Colorado, California, Rhode Island, and
             elsewhere have initialized a random number generator by rolling dice
             in a public ceremony to ensure that the sample is unknown until that
             time.36


   35
      Risk-measuring audits are related to risk-limiting audits, but they do not have a pre-specified
   minimum chance of requiring a full manual tabulation when that tabulation would show a
   different result. In statistical terminology, a risk-measuring audit reports a 𝑃-value for the
   hypothesis that a full count would yield a different electoral outcome, based on the audit data.
   Equivalently, it reports the smallest value for which a risk-limiting audit conducted using that
   value as its risk limit would have stopped without examining more ballots.
   36
      Colorado’s public ceremony is a good model. See Colorado Secretary of State's Office,
   Colorado's risk-limiting audit, YOUTUBE (Jun. 15, 2018), https://youtu.be/ysG4pFFmQ-E
   [https://perma.cc/U6GB-VBPP].
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             The sample from any collection of ballots should not be selected
             before election officials have “committed” to the tally of those
             ballots. For example, nobody should be able to know whether
             precinct 207 will be audited until the election official has published
             the tally for precinct 207.37
        6.   The public must be able to verify, not merely observe, that the
             RLA did not stop prematurely. Among other things, this requires
             election officials to: disclose the algorithms used to select the sample,
             calculate the risk and determine when the audit can stop; provide the
             public the opportunity to observe the selection of the “seed” for
             drawing the sample; provide adequate public evidence that the paper
             trail of cast ballots is complete and intact (evidence generated in part
             by the compliance audit); provide the public the opportunity to verify
             that the correct ballots were inspected during the audit; provide the
             public the opportunity to observe the voters’ marks on the ballots that
             were inspected by the audit;38 and in “ballot-level comparison
             audits,” provide the public proof that the correct cast-vote record was
             compared to each audited ballot and proof that the full set of cast-
             vote records yields the reported contest results.

                                                 CONCLUSION

           Electronic records of ballots are easy to manipulate by computer
   hacking. Therefore, voter-verified paper ballots must serve as the auditable
   evidence that connects the voters’ selections with the election outcome.
           Optical scan voting systems, using hand-marked paper ballots
   designed with usability in mind, have proved to be reliable and highly
   accurate. These voting systems should be used with compliance-auditable
   ballot accounting and chain-of-custody procedures, coupled with risk-limiting



   37
      There are examples (notably, in Cuyahoga County, OH) where election officials altered
   tallies in precincts selected for recount after the sample was selected to ensure that the
   inspection would not find any discrepancies. See Kim Zetter, The Mysterious Case of Ohio's
   Voting Machines, WIRED (Mar. 26, 2008, 5:51 PM), https://www.wired.com/2008/03/the-
   mysterious/ [https://perma.cc/2388-JC6G].
   38
      It is important to have published rules governing how marks on ballots are to be interpreted
   in audits and recounts. For instance, if a voter makes a write-in vote for a candidate who is
   also listed on the ballot, is that a valid vote? If a voter marks a vote for a listed candidate and
   also writes in that candidate’s name, is that a valid vote? If a voter marks a vote for a candidate,
   crosses through the mark, and marks a vote for a second candidate, is that a valid vote for the
   second candidate? If a voter makes a stray mark on the ballot that is distinctive enough to
   identify the ballot, is the ballot valid?
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   audits of election tallies, to achieve reliable and trustworthy evidence-based
   elections.
           BMDs were originally envisioned as assistive devices for voters with
   disabilities who are unable to mark a paper ballot with a pen. Such BMDs have
   touchscreens, audio interfaces, and ports for other assistive technologies.
           Only recently, some states and counties have adopted voting systems
   that use BMDs for all voters. In light of the insecurity of BMDs—the chasm
   between voter-verifiable and voter-verified BMD ballots—hand-marked
   paper ballots should be the default option presented to all voters, with BMDs
   available to voters who wish to use them.
           Most states already use paper ballots; what we now need to conduct
   evidence-based elections is better procedures for safeguarding ballots,
   compliance audits, and risk-limiting audits. These procedures should be
   enacted in statutes so they have sufficient force of law to truly safeguard our
   elections against software hacking, insider manipulation, and other threats.
           Deploying RLAs (and associated compliance audits) involves the
   coordination of statistical methods, administrative procedures, paper handling,
   and more by election administrators across towns, counties, and states. This
   cannot be done overnight: it requires developing methods appropriate to the
   election procedures in each state, training officials, educating citizens,
   practice, and experience. For these reasons, the National Academies of
   Sciences report recommends that states and local jurisdictions begin with pilot
   programs and work toward full implementation.39




   39
        NAT’L ACADS. SCIS., ENG’G, & MED., supra note 2.
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            They May Look and Look, Yet Not See:
             BMDs Cannot be Tested Adequately

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           Abstract. Bugs, misconﬁguration, and malware can cause ballot-
           marking devices (BMDs) to print incorrect votes. Several approaches to
           testing BMDs have been proposed. In logic and accuracy testing (LAT)
           and parallel or live testing, auditors input known test votes into the
           BMD and check whether the printout matches. Passive testing monitors
           the rate at which voters “spoil” BMD printout, on the theory that if
           BMDs malfunction, the rate will increase noticeably. We provide lower
           bounds that show that these approaches cannot reliably detect outcome-
           altering problems, because: (i) The number of possible voter interactions
           with BMDs is enormous, so testing interactions uniformly at random is
           hopeless. (ii) To probe the space of interactions intelligently requires an
           accurate model of voter behavior, but because the space of interactions
           is so large, building a suﬃciently accurate model requires observing an
           enormous number of voters in every jurisdiction in every election—more
           voters than there are in most U.S. jurisdictions. (iii) Even with a per-
           fect model of voter behavior, the required number of tests exceeds the
           number of voters in most U.S. jurisdictions. (iv) An attacker can target
           interactions that are intrinsically expensive to test, e.g., because they
           involve voting slowly; or interactions for which tampering is less likely to
           be noticed, e.g., because the voter uses the audio interface. (v) Whether
           BMDs misbehave or not, the distribution of spoiled ballots is unknown
           and varies by election and possibly by ballot style: historical data do not
           help much. Hence, there is no way to calibrate a threshold for passive
           testing, e.g., to guarantee at least a 95% chance of noticing that 5% of
           the votes were altered, with at most a 5% false alarm rate. (vi) Even
           if the distribution of spoiled ballots were known to be Poisson, the vast
           majority of jurisdictions do not have enough voters for passive testing
           to have a large chance of detecting problems but only a small chance of
           false alarms.


           Keywords: Logic and accuracy testing         · Parallel testing · Live testing

    1    Introduction
    BMDs print votes, often as barcodes or QR codes, together with a human-
    readable text summary (some BMD printout resembles a hand-marked paper
    c The Author(s) 2022
    R. Krimmer et al. (Eds.): E-Vote-ID 2022, LNCS 13553, pp. 122–138, 2022.
    https://doi.org/10.1007/978-3-031-15911-4_8
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      ballot, HMPB). Jurisdictions including the U.S. state of Georgia, Los Angeles
      County, California, and Philadelphia, Pennsylvania, recently purchased BMDs
      for all in-person voters to use.
          Bugs, misconﬁguration, or malware can make the printed votes and QR codes
      diﬀer from each other and from the voter’s selections. Some have argued that
      this does not compromise election integrity because voters have the opportunity
      to inspect BMD printout and to start over if the printout does not match their
      intended selections; and that since voters can make mistakes hand-marking bal-
      lots, HMPBs are no more secure or reliable than BMD printout [19]. We ﬁnd
      those arguments unpersuasive:
       – In some jurisdictions, the oﬃcial record of the vote for counts and recounts
         is the QR code, which voters cannot check.1
       – The arguments equate holding voters responsible for their own errors with
         holding voters responsible for the overall security of the system [1,2].
       – Most voters do not inspect BMD printout [3,5,10]. Those who do rarely
         detect actual errors [3,13]. To reliably detect errors entails voters taking 3–6
         minutes to compare a written slate of candidates with the printed selections
         [12], but voters generally spend less than 3 seconds reviewing BMD printout
         [5,10].
       – If a BMD misprints a voter’s selections, only the voter can get evidence of
         the problem: elections conducted using BMDs are not contestible [1].
       – If BMDs misbehave, there is no way to determine the correct election outcome
         because there is no trustworthy paper record of the vote: BMDs are not
         strongly software independent [21].
      Concerns about BMDs are not merely hypothetical: BMDs have caused scanners
      to fail to count votes accurately, to allow voters to vote, and to present all voting
      options to voters, even after passing LAT [4,6,9,15,18,20,23,24,30,33].
          BMD advocates also claim BMDs eliminate ambiguous marks, prevent over-
      votes, and warn about undervotes (e.g., [19]). But that presumes BMDs function
      correctly; the rate of truly ambiguous handmade marks is minuscule [1]; and
      precinct-based optical scanners also protect against undervotes and overvotes
      (the Voluntary Voting Systems Guidelines, VVSG, require it).2 Regardless, elec-
      tions conducted using BMDs are not trustworthy unless there is a way to ensure
      that BMD misbehavior did not change any outcome. (If the paper trail itself
      is not trustworthy, risk-limiting audit procedures do not help because even an
      accurate full hand count may not reveal who really won.) Elections—and hence
      BMDs—need to be protected against malicious, technically capable attackers,
      such as nation states.3 If testing has a high chance of detecting that an outcome
       1
           See https://rules.sos.ga.gov/gac/183-1-15-.03?urlRedirected=yes&data=admin&
           lookingfor=183-1-15-.03 (last visited 5 May 2022). Audits in Georgia rely on the
           human-readable text, but legally cannot correct outcomes, and are conducted only
           for one contest every two years.
       2
           Such protection has been required since VVSG 1.0; see Sect. 2.3.3.2 of [27].
       3
           The U.S. Senate Intelligence Committee, the Department of Homeland Security, and
           the FBI concluded that Russian state hackers attacked U.S. elections in 2016 [31].
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    was altered by a skilled attacker, it also protects against misconﬁguration and
    bugs—which attackers could mimic.


    2     Prior Work

    Vulnerabilities of particular BMDs are discussed in depth in expert declarations
    by J. Alex Halderman in Curling et al. v. Raﬀensperger et al.. Theoretical vulner-
    abilities of various BMD designs are discussed in [1]. [7,32] discuss testing BMDs;
    here, we quantitatively investigate their heuristic claims. Three approaches to
    testing BMDs have been proposed: pre-election logic and accuracy testing (LAT),
    “live” or “parallel” testing during the election, and “passive” testing by monitor-
    ing the spoiled ballot rate. In LAT and parallel testing, auditors make selections
    on a BMD then check whether the printout accurately reﬂects those selections.
    The primary diﬀerence is that LAT happens before the election and parallel
    testing happens during the election. Passive testing uses the spoiled ballot rate:
    if more voters than usual request a do-over, that might be because the machines
    are malfunctioning.


    3     How Much Testing is Enough?

    If the paper trail accurately reﬂects who won, accurate full hand counts and risk-
    limiting audits (RLAs) can catch and correct wrong outcomes. Here, we study
    whether testing can establish with high conﬁdence that a paper trail printed by
    BMDs accurately reﬂects who won. If not, a recount need not show who really
    won, and a genuine RLA is impossible.


    3.1   Threats and Defenses

    We make the following assumptions about BMD threats and defenses:

    1. Attackers seek to alter the outcome of one or more contests without being
       detected. (Some might want to be detected, to undermine public conﬁdence.)
    2. Attackers know the testing strategy. This does not preclude the possibility
       that the strategy will be adaptive or have a random element.
    3. Attackers have access to the state history of each BMD, including votes,
       machine settings, etc.; auditors do not.
    4. Attackers have an accurate model of voter behavior in past elections, includ-
       ing political preferences, voting speed, BMD settings, and so on; auditors
       generally do not, because it would require monitoring voters illegally.
    5. Auditors seek to ensure that if any outcome is altered, there is a high chance
       of detecting it, while keeping the chance of false alarms small.
    6. Auditors do not know which contest(s), if any, were altered.
    7. Auditors must obey the law and protect voter privacy.
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      3.2     Jurisdiction Sizes, Contest Sizes, and Margins

      U.S. elections are typically administered by counties, townships, or other political
      units smaller than states. A ballot style corresponds to the collection of contests a
      given voter is eligible to vote in. Typically in the U.S., some contests are on only
      a fraction of ballot styles in a jurisdiction, in part because many small political
      units have elections for various oﬃces and measures. Many contests of all sizes
      are decided by small margins. For instance, in Georgia, U.S., the reported margin
      in the 2020 presidential election was about 0.2%.
          Few votes need to be changed to alter the outcome of small contests and con-
      tests with small margins. Conversely, the number of voters in a jurisdiction is an
      upper bound on the number of passive tests that can be performed and on the
      sample size to “learn” voter behavior for eﬃcient parallel testing. Thus, jurisdic-
      tion size is an important constraint on BMD testing. Since ballot layout, contests,
      equipment, demographics, political preferences, and other variables vary across
      and within jurisdictions and malware could aﬀect only some equipment or ballot
      styles, it is not possible to pool data across jurisdictions to get more power.
          Changing votes on 1% of ballots in a jurisdiction can alter the margin of a
      jurisdiction-wide plurality contest by 2% if there are no undervotes or invalid
      votes in that contest. If the undervote rate is 30%, then changing votes on 1%
      of the ballots can change the margin by 0.02/0.7 = 2.9%. If a contest is only
      on 10% of the ballots and the undervote rate in the contest is 30%, altering the
      votes on 1% of ballots could change the margin in that contest by nearly 29%.
          As of 2020, only 1,629 U.S. cities had populations of 100,000 or more, of over
      81,363 incorporated places [26]. The 2020 median population of U.S. incorpo-
      rated areas is 1,201, so about half of the 81,363 incorporated places have turnout
      of 1,201 or fewer voters. Thus, an attacker does not have to change many votes
      to alter the outcome of a typical contest for an elected oﬃcial in a U.S. city or
      incorporated township. According to [29] the 2020 median turnout in the 6,405
      U.S. counties with recorded active voter data was 4,470 voters, and turnout was
      less than 11,500 voters for more than 2/3 of jurisdictions. In 65.5% of states,
      more than 50% of counties have fewer than 30,000 active voters. In 85.5% of
      states, more than 50% of counties have fewer than 100,000 active voters.


      3.3     Voting Transactions

      We shall call a voter’s interaction with a BMD a voting transaction or transaction
      (see Table 1). Transactions are characterized by many variables, including:

       –   when the transaction starts
       –   time since the previous voter ﬁnished (a measure of polling-place congestion)
       –   number of transactions before the current transaction
       –   the voter’s sequence of selections and revisions of selections
       –   the time to make each selection before taking another action
       –   whether the voter looks at every page of options in each contest
       –   the time the voter spends reviewing and revising selections
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                                                                        WA                                 ND
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                                                                                                                TX
                                                                                                                                    LA

                                                        −log(turnout)


                                                             −8                                                                                                FL

                                                             −10


                                                             −12




    Fig. 1. 2020 turnout by jurisdiction in             Fig. 2. Median 2020 turnout by juris-
    3073 counties [29]. Turnout was below               diction in the U.S. [29]
    10,000 in ≈50% of counties.




     – precisely where voter touches the screen
     – BMD settings, including font size, language, use of audio, volume, tempo,
       pausing, rewinding, use of the sip-and-puﬀ interface, inactivity warnings
    Table 1 lists some of the variables and the number of values they can take.4
    The huge number of possible transactions helps an attacker pick a subset large
    enough to change an outcome but that auditors are unlikely to probe.


     4
         Table 1 assumes all contests are “vote-for-one.” Ranked-choice voting and multi-
         winner plurality contests yield more possible transactions. Continuous variables were
         binned into a few options. VVSG 1.1 [28] requires: (a) Alternative language access is
         mandated under the Voting Rights Act of 1975, subject to certain thresholds (e.g., if
         the language group exceeds 5% of the voting age population). (b) The voting system
         shall provide the voter the opportunity to correct the ballot for either an undervote or
         overvote before the ballot is cast and counted. (c) An Acc-VS with a color electronic
         image display shall allow the voter to adjust the color saturation throughout the
         transaction while preserving the current votes. (d) At a minimum, two alternative
         display options listed shall be available: 1) black text on white background, 2) white
         text on black background, 3) yellow text on a black background, or 4) light cyan text
         on a black background. (e) A voting system that uses an electronic image display shall
         be capable of showing all information in at least two font sizes. (f) The audio system
         shall allow the voter to control the volume throughout the voting transaction while
         preserving the current votes. (g) The volume shall be adjustable from a minimum of
         20dB SPL up to a maximum of 100 dB SPL, in increments no greater than 10 dB.
         (h) The audio system shall allow the voter to control the rate of speech throughout
         the voting transaction while preserving the current votes. (i) The range of speeds
         supported shall include 75% to 200% of the nominal rate.
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      Table 1. Some parameters of BMD transactions and their number of possible values.

                           Parameter                   Optimistic   More realistic
                           Contests                    3            20
                           Candidates per contest      2            4
                           Languages                   2            13
                           Time of day                 10           20
                           Number of previous voters   5            140
                           Undervotes                  23           220
                           Changed selections          23           220
                           Review                      2            2
                           Time per selection          2            520
                           Contrast/saturation         –            4
                           Font Size                   2            4
                           Audio Use                   2            2
                           Audio tempo                 –            4
                           Volume                      5            10
                           Audio pause                 -            220
                           Audio + video               –            2
                           Inactivity warning          2            220
                           Total combinations          6.14 × 106   3.4 × 1048




      4   Passive Testing
      Passive testing sounds an alarm if the number of spoiled ballots exceeds some
      threshold, t. To ensure that passive testing has a false negative rate (failing to
      detect altered outcomes) of at most X%, we need to know that the chance that
      the number of spoiled ballots is greater than or equal to t is at least X% if BMDs
      altered any outcome. Conversely, to limit the false alarm rate to at most Y %,
      we need to know that the chance that the number of spoiled ballots is greater
      than or equal to t is at most Y % if BMDs function correctly.
          Finding such a value of t is impossible in practice because the distribution
      of spoiled ballots may depend on ballot design, voting rules, the number of
      contests, and other things that vary from election to election and place to place—
      and when BMDs misbehave, also on the number of altered transactions, and the
      voters and contests aﬀected. Hence, to lower-bound the diﬃculty, we will assume
      (optimistically) that the number of spoiled ballots has a Poisson distribution
      whether BMDs behave correctly or not; but with a rate that depends on the
      rate of altered transactions. We assume either that 7% of voters will notice
      errors and spoil their ballots, consistent with the ﬁndings of [3], or that 25% of
      voters will. We consider contest margins of 1%–5% and rates of false positives
      (false alarms) and false negatives (failing to notice altered outcomes) of 5% and
      1%. Results are in Table 2; software to calculate these numbers is in https://
      github.com/pbstark/Parallel19.
          Combining Table 2 and Fig. 1 shows that even if the probability distribution
      of spoiled ballots were known to be Poisson and the spoilage rate when equip-
      ment functions correctly were known perfectly, in 2020, in 58.2% of U.S. states
      fewer than half the counties had enough voters for passive testing to work, even
      in county-wide contests, on the assumption that 7% of voters whose votes are
      altered will spoil their ballots.
          If turnout is roughly 50%, jurisdiction-wide contests in jurisdictions with
      fewer than 60,000 voters—22 of California’s 58 counties in 2020 [29]—cannot in
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    Table 2. Minimum turnout for passive testing with a 5% false negative rate to have at
    most a 5% false positive rate (cols 3–5) or for passive testing with a 1% false negative
    rate to have at most a 1% false positive rate (cols 6–8), as a function of the the contest
    margin (col 1), the percentage of voters who would notice errors (col 2), and the base
    rate at which voters spoil BMD printout. The number of spoiled ballots is assumed
    to have a Poisson distribution, with known rate, absent malfunctions. Malfunctions
    increase the rate by half the margin times the detection rate.

            Margin   Voter detection rate   5% error rate                   1% error rate
                                            Base spoilage rate              Base spoilage rate
                                            0.5%     1%        1.5%         0.5%     1%           1.5%
            1%        7%                    451,411   893,176   1,334,897   908,590   1,792,330   2,675,912
                     25%                     37,334    71,911     106,627    76,077     145,501     214,845
            2%        7%                    115,150   225,706     336,160   233,261     454,295     675,242
                     25%                      9,919    18,667      27,325    20,624      38,039      55,442
            3%        7%                     52,310   101,382     150,471   106,411     204,651     302,864
                     25%                      4,651     8,588      12,445     9,870      17,674      25,359
            4%        7%                     30,000    57,575      85,227    61,385     116,631     171,908
                     25%                      2,788     4,960       7,144     5,971      10,312      14,681
            5%        7%                     19,573    37,245      54,932    40,156      75,671     110,989
                     25%                      1,838     3,274       4,689     4,036       6,849       9,650




    principle limit the chances of false positives and false negatives to 5% for margins
    below 4%, even under these optimistic assumptions. For contests that involve
    only part of a jurisdiction, the situation is worse.

    4.1   Targeting Vulnerable Voters
    The analysis above assumes that all voters are equally likely to detect errors
    and spoil their ballots. But an attacker can use BMD settings, state history, and
    session data to target voters who are less likely to notice problems.

    Voters with Visual Impairments. Approximately 0.8% of the U.S. population
    is legally blind; approximately 2% age 16 to 64 have a visual impairment [16].
    Current BMDs do not provide voters with visual impairments a way to check the
    printout. If an attacker only alters votes when the voter uses the audio interface
    or large fonts, detection may be very unlikely.

    Voters with Motor Impairments. Some BMDs allow voters to print and cast a
    ballot without looking at it, for instance the ES&S ExpressVote
                                                                   R
                                                                     with “Auto-
    cast,” aka “permission to cheat” [1]. The attacker can change every vote cast
    using Autocast, with zero chance of detection.

    Voters who use Languages other than English. U.S. law requires some jurisdic-
    tions to provide ballots in languages other than English. For instance, Los Ange-
    les County, CA, provides voting materials in 13 languages [14]. In 2013, roughly
    26% of voters in Los Angeles County spoke a language other than English at
    home [14]. It is our understanding that BMDs generally print only in English. If
    voters who use a foreign language on the BMD are unlikely to check the English-
    language printout, an attacker could change the outcome of contests with large
    margins with little chance of detection.
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      Fast and Slow Voters. An attacker can monitor how long it takes voters to
      make their selections, whether they change selections, how long they review
      the summary screen, etc. A voter who spends little time reviewing selections
      onscreen may be unlikely to review the printout carefully. Conversely, a voter
      who takes a very long time to make selections or changes selections repeatedly
      might ﬁnd voting diﬃcult or confusing and be unlikely to notice errors.
          Thus, it is in the attacker’s interest to target the same groups of voters BMDs
      are supposed to help: voters with visual impairments, voters with limited dex-
      terity, voters who use a language other than English, and voters with cognitive
      disabilities.


      4.2   FUD Attacks on Passive testing

      Even under ideal circumstances, passive testing does not produce direct evidence
      of problems; it does not identify which ballots or contests have errors; and it does
      not provide any evidence about whether problems changed outcomes. Relying
      on spoiled ballots as a sign of fraud opens the door to a simple, legal way to
      undermine elections: encourage voters to spoil ballots.


      5     LAT and Parallel Testing

      Suppose that malware alters one or more votes with probability p, independently
      across transactions, uniformly across voters—regardless of the voter’s selections
      or any aspect of the transaction that the attacker can ascertain. Then if auditors
      make n tests, the chance that the BMD will alter at least one of the votes in
      at least one of the tests—and the attack will be detected—is 1 − (1 − p)n . For
      p = 0.01, n = 300 tests would give a 95% chance of detecting a problem.
          A BMD can handle roughly 140 transactions per day. Testing enough to have
      a 95% chance of detecting a 1% problem on one BMD would leave no time for
      voters to use that BMD. Even for pre-election LAT, where capacity for actual
      voters is not an issue, conducting 300 “typical” tests would take about 25 h.
          If there were a large number of machines known to have been
      (mis)programmed identically, tests could be spread across them. But there are
      many small contests that need to be tested in conjunction with all other contests
      that appear on any ballot style that contains them, and there is no guarantee
      that all BMDs in a jurisdiction are programmed identically.
          This threat model is completely unrealistic. An attacker who wants Alice to
      beat Bob will not alter votes for Alice: it would needlessly increase the chance
      of detection. And as discussed in Sect. 4.1, rather than randomly changing votes
      for Bob into votes for Alice, an attacker can target transactions that auditors
      are unlikely to probe.
          Setting aside speciﬁc machines for testing facilitates a “Dieselgate” type
      attack [11], as does conducting tests on a schedule, as suggested by [7]. Tests
      need to be unpredictable—with respect to the speciﬁc BMDs tested, time, vote
      pattern, duration, and other characteristics of voting transactions—or attackers
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    can avoid detection by altering only transactions that do not correspond to any
    test. There may be pressure to reduce testing when BMDs are busy, to reduce
    waiting times. Because malware can monitor the pace of voting, reducing testing
    when machines are busy makes it easier to avoid detection.
        An attacker need not alter many transactions to change the outcome of small
    contests and contests with small margins. The fewer votes altered, the more tests
    required to ensure a large chance of detection. To test eﬃciently, tests should
    sample more common transactions with higher probability. Attackers might be
    able to estimate of the distribution of transactions using malware installed on
    BMDs in previous elections, but testers will not, since it involves tracking voter
    behavior at a level of detail that violates voter privacy. See assumptions 4 and
    7 and Sect. 5.2.
        Auditors do not know which contest(s) and candidate(s) are aﬀected. To
    have a large chance of detecting interference, there needs to be a large chance of
    testing a transaction the attacker alters. Attackers can target transactions that
    are intrinsically expensive to test, e.g., transactions that take longer than 10 min,
    transactions in which the voter changes some number of selections, transactions
    that display the ballot in a language other than English, transactions that use
    the audio interface at a reduced tempo, etc.


    5.1   Lower Bounds on the Diﬃculty of Parallel Testing

    We now study an idealized version of parallel testing, where auditors can tell
    whether a random sample of BMD printouts accurately show the voters’ selec-
    tions. Suppose a contest has 4,470 voters, the median jurisdiction turnout in
    2020. Suppose that malware alters votes in 23 transactions, which could change
    a margin by more than 1% in a jurisdiction-wide contest. How many randomly
    selected printouts would need to be checked to have at least a 95% chance of
    ﬁnding at least one with an error? The answer is the smallest n such that

                  4470 − 23 4469 − 23     4470 − (n − 1) − 23
                           ·          ···                     ≤ 0.05,                (1)
                    4470      4469          4470 − (n − 1)

    i.e., n = 546 printouts, about 12.2% of the transactions, corresponding to testing
    each BMD several times per hour.
         Conversely, suppose auditors randomly check 13 printouts per day per
    machine (on average, testing hourly for a 13-hour day, ≈9.2% of BMD capacity).
    To have at least a 95% chance of detecting that the outcome of a contest with a
    1% margin was altered, there would need to be at least 6,580 voters in the contest
    (almost 150% the median turnout in jurisdictions across the U.S.), corresponding
    to 47 BMDs, even under these unrealistically optimistic assumptions.


    5.2   Building a Model of Voter behavior

    In practice, auditors cannot check whether voters’ BMD printout is correct.
    Instead of sampling voters’ actual transactions in the election, they will have
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      to come up with their own test transactions. Testing transactions uniformly at
      random from all possible transactions is doomed because the number of possible
      transactions is so large. To mimic voters, auditors might consider sampling from
      P , the population distribution of voting transactions, i.e., the fraction of voters
      who use the BMD in each of the S = 6.14 × 106 ways in the optimistic estimate
      in Table 1. Suppose an attacker wants to change the outcome of a contest with a
      margin of m, expressed as a fraction of ballots cast (rather than as a number of
      votes). The attacker only needs to change a fraction m/2 of the transactions to
      change the margin by m. To have probability at least 1 − α of detecting a change
      to the outcome of any contest with true margin m, auditors must test in a way
      that has probability at least 1 − α of sampling at least once from every subset of
      transactions that contains a fraction m/2 of the transactions. If auditors could
      sample transactions independently at random from P , each sample transaction
      would have probability 1 − m/2 of not being one of the altered transactions.
      The chance that t randomly selected transactions would not include one that is
      altered would be (1 − m/2)t . Thus the number of transactions auditors would
      need to test is the smallest t for which

                                     (1 − m/2)t ≤ α, i.e.,                              (2)
                                                log α
                                       t≥                .                              (3)
                                            log(1 − m/2)
      This is essentially Eq. 1 for sampling with replacement; the two are indistinguish-
      able when t is small compared to the total number of possible transactions. A
      key diﬀerence is that in Eq. 1, auditors are sampling from the actual transactions
      in the election, while in Eq. 3, auditors are sampling from a model, the frequency
      distribution of of transactions.
          In practice, the auditors do not know P —they will have to estimate it by
      monitoring voters. In reality, this is impossible to do well: (i) In a given election,
      P will depend on the particular contests on the ballot and the particular voters
      who participate, both of which change from election to election. (ii) The variables
      that characterize a voting transaction include the voter’s selections and details
      about how the voter uses the BMD, so collecting the data would violate voter
      privacy illegally. To get a sense of the statistical diﬃculty of the problem, we
      ignore these practical diﬃculties. If auditors could select voters at random (with
      replacement) and observe in detail how they use the BMD—all the variables in
      Table 1—that would yield independent, identically distributed (IID) draws from
      P , which could be used to make an estimate, P̂ . If P̂ diﬀers too much from P ,
      no number of tests will suﬃce, because P̂ might estimate that the frequency of
      a transaction is zero when in fact it is suﬃciently frequent that altering it could
      change an outcome. (By assumption 4, above, the attacker knows P and hence
      can exploit diﬀerences between P̂ and P .) How many voters would auditors
      have to observed to ensure (with suﬃciently high probability) that P̂ is accurate
      enough for parallel testing?
          The L1 distance between two distributions bounds the diﬀerence in the prob-
      ability they assign to any set (|P̂ (A) − P (A)| ≤ P̂ − P 1 /2). If P̂ − P 1 ≥ m,
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    there may be a set A of transactions for which P (A) = m/2 but P̂ (A) = 0, so
    changing votes for transactions in A could alter some margin5 by m, with zero
    chance of detection, no matter how many tests are performed, if the tests are
    drawn from P̂ rather than P .
        We cannot guarantee that P̂ − P 1 ≤ ε with certainty, but by observing
    enough randomly selected voters, we can ensure that the chance that P̂ −P 1 >
    ε is at most β. If α ≤ β, even an inﬁnite number of tests drawn from P̂ may
    not suﬃce to guarantee chance at least 1 − α of detecting outcome-changing
    manipulations. If α > β, to guarantee chance at least 1 − α of catching an
    outcome-changing error, the minimum number of tests required is
                                                           
                                                      α−β
                         min t : (1 + ε/2 − m/2)t ≤           .                  (4)
                                                      1−β

    Minimax Lower Bounds. Suppose auditors draw an IID sample of n transactions
    from P , a frequency distribution on S possible transactions. Let MS denote the
    collection of all frequency distributions for those transactions. Then the training
    sample size n must be at least large enough to ensure that the L1 error of the
    best estimator P̂ is unlikely to exceed ε, provided P ∈ MS :

                              inf sup Pr{P̂ − P 1 ≤ ε} ≥ 1 − β.                         (5)
                              P̂ P ∈MS P

    Theorem. ([8]) For any ζ ∈ (0, 1],
                                                                        
                                     1          eS         (1 + ζ)n     e
             inf sup EP P̂ − P 1 ≥                   1            >
              P̂ P ∈MS               8       (1 + ζ)n         S        16
                                                                                
                                                   2(1 + ζ)n        (1 + ζ)n     e
                                         + exp −                1            ≤
                                                        S              S        16
                                                2                             
                                                   ζ n                    ζ S
                                                                           2
                                         − exp −          − 12 exp −               ,      (6)
                                                    24                 32(ln S)2

    where the inﬁmum is over all MS -measurable estimators P̂ .

    Lemma. Let X be a random variable   with variance VarX ≤ 1, and let β ∈ (0, 1).
    If Pr{X ≥ EX + λ} ≤ β then λ ≥ − β/(1 − β).
                                        
    Proof. Suppose λ ≥ 0. Then λ ≥ − β/(1 − β). Suppose λ < 0. By Cantelli’s
    inequality and the premise of the lemma,

                                                     σ2         λ2        λ2
                 β ≥ Pr{X ≥ EX + λ} ≥ 1 −                  =          ≥        .          (7)
                                                  σ 2 + λ2   σ 2 + λ2   1 + λ2

     5
         The set of undetectable shifts of m/2 votes might not include the one that any
         particular attacker seeks; this bound is worst-case across hypothetical attackers and
         distributions of transactions.
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      Solving for λ yields the desired inequality. .
          Now 0 ≤ P̂ − P 1 ≤ 2, so VarP̂ − P 1 ≤ 1. By the lemma, we need
      λ ≥ − β/(1 − β) to ensure that Pr{P̂ −P 1 ≥ EX +λ} ≤ β. If P̂ −P 1 ≥ 2r,
      there can be a set of transactions τ such that P (τ ) = m/2 but P̂ (τ ) = 0,
      so if tests are generated randomly according to P̂ there is zero probability of
      testing any transaction in τ , no matter how many tests are performed. Thus
      if Pr{P̂ − P 1 ≥ m} > α, even an inﬁnite number of tests cannot guarantee
      chance at least 1 − α detecting that a fraction m/2 of the transactions were
      altered, enough to wipe out a margin of m. By the lemma,    that is the case if
      m < EP̂ − P 1 − α/(1 − α), i.e., if EP̂ − P 1 > m + α/(1 − α).
          The theorem gives a family of lower bounds on EP̂ − P 1 in terms of n. If
      the lower bound exceeds m + α/(1 − α), testing by drawing transactions from
      P̂ cannot protect against all outcome-changing errors. The bound grows with S,
      the number of possible transactions. To be optimistic, we use an unrealistically
      small value S = 6.14 × 106 (Table 3).6
          To guarantee a 95% chance of detecting that m/2 = 5% of transactions
      were altered, which could change jurisdiction-wide margins by 10% or more, the
      training sample would need to include at least 1.082 million transactions, even
      if auditors could conduct an inﬁnite number of parallel tests. That is larger than
      the turnout in 99.7% of U.S. jurisdictions in 2020 [29]; it is roughly 0.5% of
      the U.S. voting population. To guarantee 99% chance of detecting that 0.5%
      of transactions were altered, which could change jurisdiction-wide margins by
      1% or more, would require observing 3.876 million voters in complete, privacy-
      eliminating detail—more than the turnout in 99.9% of U.S. jurisdictions in 2020
      [29], roughly 1.9% of the U.S. voting population.


      Table 3. Lower bound on the sample size (col 4) required to estimate the distribution
      of voting transactions well enough to ensure the probability (col 1) of detecting the
      manipulation of the fraction of transactions (col 3) using some number of tests (col 2),
      if the support of the distribution of transactions has S = 6.14 × 106 points.

                          Confidence level   Maximum tests   Altered votes   Bound (millions)
                          99%                2000            0.5%            3.87
                                                             1%              3.58
                                                             3%              2.69
                                                             5%              2.09
                          95%                2000            0.5%            1.67
                                                             1%              1.59
                                                             3%              1.31
                                                             5%              1.10
                          99%                Inf             0.5%            3.73
                                                             1%              3.46
                                                             3%              2.61
                                                             5%              2.04
                          95%                Inf             0.5%            1.65
                                                             1%              1.57
                                                             3%              1.29
                                                             5%              1.08




       6
           Software implementing the calculations is in https://github.com/pbstark/Parallel19.
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    Fig. 3. Minimum training sample sizes as a function of the fraction of altered votes.


    6     Complications

    Reality is worse than the optimistic assumptions in our analyses:

    Margins are not Known in Advance. Margins are not known until the election
    is over, when it is too late to do more testing if contests have narrower margins
    than anticipated. Testing to any pre-deﬁned threshold, e.g., a 95% chance of
    detecting changes to 0.5% of the votes in any contest, will not always suﬃce.

    Tests have Uncertainty. If the BMD printout reﬂects the wrong electoral out-
    come, a perfect full manual tally, recount, or risk-limiting audit based on BMD
    printout will conﬁrm that wrong outcome. Suppose one could design practical
    parallel tests that had a 95% chance of sounding an alarm if BMDs alter ≥ 0.5%
    of the votes in any contest. A reported margin of 1% or less in a plurality con-
    test is below the “limit of detection” of such tests. Would laws require a runoﬀ
    whenever a reported margin is below the limit of detection of the tests?

    Special Risks for Some Voters. As discussed above in Sect. 4.1, BMDs can be
    used to selectively disenfranchise voters with disabilities and voters whose pre-
    ferred language is not English. Indeed, the attacker’s best strategy is to target
    such voters, in part because poll workers might more likely to think that com-
    plaints by such voters reﬂect voter mistakes rather than BMD malfunctions.

    The only Remedy is a New Election. If a BMD is caught misbehaving, it should
    be removed from service and all BMDs in that jurisdiction should be investigated.
    But there is no way to determine the correct outcome or which votes were
    aﬀected: BMDs are not strongly software independent [21].
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      7   Conclusion
      We show that to protect against outcome-altering BMD malfunctions requires
      orders of magnitude more testing than is feasible. To our knowledge, no jurisdic-
      tion has conducted any parallel testing of BMDs of the kind suggested by [7,32],
      much less enough to reliably detect outcome-changing errors, bugs, or hacks.
          Even if it were possible to test enough to get high conﬁdence that no more
      than some threshold percentage the votes were changed in any contest, fairness
      would demand a runoﬀ in contests decided by less than that threshold.
          Some BMDs may be the best extant technology for voters with particular
      disabilities to mark and cast a paper ballot independently. But many BMDs are
      poorly designed. Some have easily exploited security ﬂaws [1] and some do not
      enable voters with common disabilities to vote independently [22, pp. 68–90].
      To our knowledge, no VVSG-certiﬁed BMD system provides a means for blind
      voters to check whether the printout matches their intended selections.
          Using BMDs makes elections less trustworthy, less resilient, less transparent,
      more fragile, and more expensive [1,17]. BMDs have failure modes that hand-
      marked paper ballots do not have, and lack resilience when failures occur [1].
      BMDs shift the burden of ensuring that voting equipment functions correctly
      from oﬃcials to voters, but do not provide voters any way to prove that they
      observed problems, if they do; nor can election oﬃcials show that outcomes are
      correct despite any problems that might have occurred [1]. BMDs undermine
      the ability of election oﬃcials to provide aﬃrmative evidence that outcomes are
      correct, the fundamental principle of “evidence-based elections” [2,25].
          Voters who use BMDs should be urged to bring a written list of their selec-
      tions to the polls to check against BMD printout, and to request a fresh ballot
      if the printout does not match their intended selections. Election oﬃcials should
      track spoiled BMD printouts. There should be research on how to encourage vot-
      ers to check BMD printout and report discrepancies, how to ensure the checks
      are accurate, and how to ensure that any reported problems are accountably and
      transparently recorded, addressed, and publicized; these issues also arise in end-
      to-end cryptographically veriﬁable (E2E-V) voting systems. For the foreseeable
      future, prudent election administration requires keeping the use of BMDs to a
      minimum.

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   There is no Reliable Way to Detect Hacked
             Ballot-Marking Devices

                                       Philip B. Stark
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                                         21 August 2019


    Abstract. Election system vendors are marketing ballot-marking devices (BMDs) as a
    universal system, and some states are deploying them for all voters, not just those who
    need a BMD to vote independently. Like all devices with CPUs, BMDs can be hacked,
    misprogrammed, or misconfigured. BMD printout might not reflect what the BMD screen
    or audio confirmed. If a voter complains that the BMD altered votes, oﬀicials have no way
    to tell whether there was a BMD malfunction, the voter erred, or the voter is attempting
    to cast doubt on the election. Pre-election logic and accuracy (L&A) tests have little
    ability to detect outcome-changing problems, in part because BMDs know the time and
    date, and in part because it is in practice impossible to simulate the full range of voter
    interactions with the device. Parallel or live tests of BMDs on election day address the
    first problem but not the second. In practice, neither L&A nor parallel tests can probe
    all combinations of voter preferences, device settings, ballot language, duration of voter
    interaction, input and output interfaces, and other variables that could include a enough
    votes to change election outcomes. Even if less parallel testing suﬀiced, it would still
    require extra BMDs, new infrastructure for creating test patterns, new infrastructure for
    reporting test results, additional polling-place staff, and additional staff training. And
    if parallel testing discovers an error, the only remedy is to hold a new election: there
    is no way to reconstruct the correct election result from an untrustworthy paper trail.
    Minimizing the number of votes cast using BMDs is prudent election administration.



    Keywords: elections, logic and accuracy testing, parallel testing, live testing

        In theory there’s no difference between theory and practice, but in practice there
        is.

        — Jan L.A. van de Snepscheut



    1    Introduction
    Voting system vendors are promoting the use of ballot-marking devices (BMDs) for all
    voters, and several states are currently contemplating purchasing enough BMDs for all
    voters. While this option is more profitable for vendors, deploying BMDs for all voters
    is more expensive and less reliable than using BMDs as needed for accessibility (Perez
    2019) and letting voters who are able to hand mark a ballot mark their ballots by hand.

    It is commonly argued that security problems in BMDs are not an issue for election
    integrity because voters have the opportunity to inspect the BMD printout before casting
    it, and to spoil the printout and start over if the printout does not match their intended
    selections. It is also commonly argued that since voters can make mistakes marking a
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            ballot by hand, hand-marked ballots are no more secure or reliable than BMD printout.
            Both arguments are myopic: they do not take the overall security of the election into
            account, and confuse holding a voter responsible for the voter’s own errors with holding
            voters responsible for the overall security of a vulnerable electronic system.

            Current BMDs and the protocols for their use make voters responsible for testing BMD
            security, but do not give them the tools they need to do it. In particular, (Stark 2019)
            and (Appel, DeMillo, and Stark 2019) point out an intrinsic security gap in current
            ballot-marking devices: if what the device prints on the paper differs from what the voter
            expressed to the device or confirmed on a review screen, only the voter knows for sure. The
            system does not generate any evidence the voter can present to a pollworker or election
            oﬀicial to prove there was a discrepancy.1 There is no way for an election oﬀicial to tell
            whether a complaint that a BMD altered selection indicates a machine error, a voter
            error, or a cry of “wolf” intended to cast doubt on election results.

            As a result, error or malfeasance could change a large percentage of votes without inducing
            election oﬀicials to act, beyond possibly offering voters who notice errors another chance
            to mark a ballot. Worse, if a problem is detected, the only remedy is to hold a new
            election: there is no way to figure out which printed votes were affected, nor what should
            have been printed.

            Pre-election “logic and accuracy” (L&A) testing should be a routine precaution, but it
            is not well suited to discovering malware or subtle bugs. It is not generally possible to
            probe many of the possible vote combinations during L&A testing: to do so would take
            far too long. There are a number of ways a BMD could “know” that it is being tested,
            for instance, if the test is not during polling hours on election day. Even if one resets
            the internal clock on a BMD, the way L&A testers interact with the device is unlikely to
            closely match how voters interact with the device. The difference can be used as “cryptic
            knock” like that at the root of the VW “dieselgate” scandal: the device could behave one
            way when it is being tested, and differently when used by actual voters.

            In to address some of the shortcomings of L&A testing, some computer scientists have pro-
            posed using “parallel testing” or “live testing.” In parallel testing, pollworkers or trusted
            agents (testers) use a BMD to mark ballots on election day, but do not cast those ballots.
            Their input selections are compared to what the BMDs printed. Even a single discrepancy
            is evidence of a serious problem: that BMD alters votes, and others might, too.

            Because BMDs within a jurisdiction are expected to be running the same software and to
            be configured identically, a discrepancy on one machine casts doubt on an entire election.2

            How much testing is required? Juan Gilbert suggests testing once per hour.3 Dan Wallach
            suggests testing approximately at random, with no detail about how and when to test
            (Wallach 2019). While “enough” suitably designed random testing can provide assurance,
    1
        Voters could take “ballot selfie” videos of the interaction with the BMD, the review screen, and
        the printed output, but that would compromise voter privacy and is illegal in many jurisdictions.
        Moreover, it would not be hard for malicious voters to fake problems by revising their selections before
        printing, or by constructing a “deep fake.” That opens elections to attacks on public confidence by
        spreading unwarranted fear, uncertainty, and doubt (FUD).
    2
        However, BMDs cannot be assumed to be programmed and configured identically: if one BMD
        behaved correctly, that does not mean every BMD behaved correctly. An attacker might hack only
        some of the machines, and hacking might be designed to affect different machines differently. Indeed,
        examples below show how that can help an attacker avoid detection.
    3
        http://www.juangilbert.com/BallotMarkingVerificationProtocol.pdf, last visited 15 August 2019.
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         “enough” turns out to be too much to be practical, both for parallel testing and for L&A
         testing.4


         2    A Naive Calculation
         Gilbert and Wallach seem to have the following calculation in mind. (Indeed, the calcu-
         lations in section 5.1 of (Wallach 2019) are exactly of this form.)

         Suppose that a BMD alters one or more votes on a ballot with probability p, independently
         across ballots—regardless of the selections made on the BMD, the time of day, or any of
         the BMD settings (e.g., whether the audio interface is being used, the language the ballot
         is displayed in, the font size, etc.) and without regard for aspects of voter behavior that
         the BMD can monitor (e.g., how long the voter takes to make selections, whether the
         voter changes any selections, whether the voter backs up to previous pages, etc.). Then if
         testers make n tests, the chance that the BMD will alter at least one of the votes on one of
         the test ballots—and thus that parallel testing would detect the problem—is 1 − (1 − p)n .

         For p = 0.01 (i.e., a 1% chance that the BMD alters votes on each ballot, independently
         across ballots), marking n = 50 test ballots would give a 39% chance of catching the
         BMD. To have a 95% chance of catching the problem, the sample size would need to be
         n = 300 test ballots.

         I understand that a BMD can handle about 140 voting transactions on election day.
         Testing enough to have a 95% chance of detecting a 1% problem, i.e., 300 tests, would
         leave no time for voters to use the BMD. Even for pre-election L&A testing, where capacity
         for actual voters is not an issue, conducting 300 tests would take about 25 hours.

         (Wallach 2019) argues that considering p = 0.01 is unrealistic, that a malicious actor
         would always attempt to “cheat” by a large amount (p rather greater than 1%). But
         an attacker seeking to avoid detection would not try to alter more votes than necessary
         (with some room for error). Changing votes on 1% of ballots can alter the margin of a
         jurisdiction-wide contest by 2%, if there are no undervotes, and by more than 2% if there
         are undervotes.5

         Many contests are decided by less than that. Indeed, the margin in the 2016 U.S. pres-
         idential election was 0.22% in Michigan, 0.37% in Rhode Island, 0.72% in Pennsyvania
         (one of the states poised to buy BMDs to serve all voters), and 0.76% in Wisconsin. If the
         results had been different in Michigan, Pennsylvania, and Wisconsin Trump would have
         received fewer than 270 electoral votes, the number required to win.

         Moreover, altering the votes on 1% of ballots overall can change the margin of smaller
         contests by far more than 2%. For instance, if a contest is only on 10% of the ballots,
 4
     Those who claim that L&A testing is a reliable means of discovering malware, bugs, and miscon-
     figuration do not seem to have accounted for the vast number of combinations of things that could
     trigger a problem, as illustrated below.
 5
     The usual way of reporting margins ignores undervotes: it is the difference between the number of
     votes the winner and runner-up received, divided by the number of valid votes in the contest. The
     “diluted margin” is the difference between the number of votes the winner and runner-up received,
     divided by the total number of ballots cast in the contest, rather than the total number of votes
     cast in the contest. The diluted margin is never larger than the margin, but it can be much smaller.
     Changing the votes on x% of the ballots can change the diluted margin by up to 2x%, but can change
     the ordinary margin more. For instance, if the undervote rate is 30%, then changing votes on 1% of
     the ballots can change the margin by 0.02/0.7 = 2.9%.
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            altering votes on 1% of all ballots could change the margin in that particular contest by
            20% if there are no undervotes. If the undervote rate in the contest is 30%, altering the
            votes on 1% of all ballots could change the margin in that particular contest by nearly
            29%.

            The sample size calculations above are based on an unrealistic model for how a malicious
            adversary would alter votes. An adversary has better strategies to avoid detection than
            these pro forma calculations—and those in (Wallach 2019)—assume. We now explore
            some of the options available to an attacker, illustrating that effective parallel testing
            requires sample sizes that are impossible in practice.


            3    What is the threat model?
            Suppose Alice, Bob, Carol, and Dan are running against each other in a plurality (whoever
            gets the most votes wins) contest. A malicious actor, Mallory, wants Alice to win. Mallory
            is not going to alter ballots at random. Mallory is not going to turn votes for Alice into
            undervotes or votes for a different candidate: it would only make Mallory’s job harder.
            Mallory would need to alter even more votes, which would increase the risk of detection.
            Rather, Mallory is going to turn some undervotes or votes for other candidates into votes
            for Alice.

            Is Mallory going to cause every machine to alter some votes? Only some machines? Only
            machines in precincts where Alice is already expected to win, to keep the precinct totals
            unsuspicious? Will the programming cause the machine to alter votes all day, or only, say,
            in the last hour of voting, or when the lines for voting are predicted to be longest (when
            testers might be reluctant to conduct tests, because it would slow down voting)? Will the
            programming only alter votes if the voter is using the audio interface?6 Only if the voter
            takes a long time to vote?7 Only if the voter changes selections repeatedly?8

            Will Mallory hack the BMD to make every vote for other candidates equally likely to be
            altered into a vote for Alice? Or will Mallory make the machine alter votes only when
            some other pattern of votes occurs in other contests on the ballot, e.g., only when the
            voter does not make any selections in some set of contests?9

            To have a large chance10 of detecting a particular problem, testers need to use “enough”
            tests under the conditions that trigger the vote alterations. That might mean testing
            particular machines using particular vote pattern or patterns at particular times of day
            when the machines have been used in a particular way, and using the machines in a
            particular way.11

            The malware might or might not change votes at random: if we knew what the malware
            did, we wouldn’t need testing. To talk about the probability of detecting a problem, we
    6
        That might signal that the voter is less likely to check the printed selections.
    7
        That might signal that the voter is elderly or has trouble reading.
    8
        That might signal that the voter is less likely to remember the final selections, and more likely to
        assume that any discrepancy is their own fault.
    9
        That might signal that the voter is not very interested in those contests, and thus might not be alert
        to changes.
10
        Here, “chance” is meant in a non-technical sense: see below.
11
        For instance, using the audio interface, changing the font size, displaying the ballot in a language
        other than English, taking a short or a long amount of time to vote, etc. The possible strategies are
        endless.
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    need to assume that the testers are testing at random. For instance, testers could test
    randomly selected machines at times randomly selected during the day, using randomly
    selected test patterns. They could choose randomly whether to use the touchscreen inter-
    face, the audio interface, or the sip-and-puff interface; whether to change the font size,
    whether to display the ballot in a language other than English; whether to vote slowly or
    quickly; whether to revise selections and how many times; and so on.


    3.1    Attacks using vote patterns and time of day
    There is an enormous number of possible voting patterns. For instance, if there are 5
    contests, each with 4 candidates, there are 55 = 3125 possible vote patterns, including
    the possibility of undervotes. In our hypothetical example where the contest between
    Alice, Bob, Carol, and Dan is one of the 5 contests on the ballot, there are 4 × 54 = 2500
    patterns that do not already have a vote for Alice. Mallory will alter votes when the voter
    selects some subset of those patterns, possibly at random, possibly only at particular
    times of day, and possibly only when the BMD is being used in a particular way, e.g.,
    when it is busiest or when the voter takes a long time. The malware might never alter
    votes if the BMD has been idle for more than 5 minutes, on the assumption that testing is
    more likely to take place when the polling place is “calm.” The malware might never alter
    votes unless the user takes more than 10 minutes to mark the ballot, on the assumption
    that testers will be in a hurry and will only rarely tie up a BMD for that long for a single
    test. There is a very large space of strategies available to Mallory.

    To illustrate the diﬀiculty of detecting problems, suppose that Mallory alters every ballot
    on which the voter selected Bob, but only if the the voter also selects the candidate from
    Bob’s party in the next two contests on the ballot. And Mallory only alters votes for 30
    minutes a day—at the time predicted to be busiest, say 12:15-12:45pm.

    Suppose that 10% of voters vote during that half hour. Since many people vote along party
    lines, Mallory might expect a large fraction of voters who choose Bob will pick someone
    in Bob’s party in the next two contests, too. For simplicity, let’s suppose everyone who
    votes for Bob does just that.

    Suppose that 10% of all voters vote during that half hour, and that 40% of those voters
    vote for Bob (and for the candidates in Bob’s party in the two following contests). Then
    Mallory will flip votes on 10% × 40% = 4% of the ballots, changing the margin between
    Alice and Bob by 8% for ballots marked using that BMD. Hacking 25% of all BMDs in
    the same way would change the overall margin by 2%.


    3.2    What is the chance Mallory gets caught?
    Suppose the jurisdiction has 400 BMDs in all, of which 100 were hacked.

    In the scenario described above, tests of the 75% of machines that were not hacked will
    not find any error whatsoever. Any tests using 60% of vote patterns that don’t trigger
    the hack will not find any error whatsoever. Any tests run outside the critical 12:15–12:45
    window will not find any error whatsoever.

    Since that is (by assumption) the busiest time, the testers might not run any tests at all
    in that half hour. Let’s assume that they run one test between 12:15 and 12:45, on an
    affected machine, using a random test pattern.

    What is the chance that any of the tests finds a discrepancy? Of the 3125 possible test
    patterns, only 52 = 25 will trigger the malware. That is, there is only a 25/3125 = 0.8%
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         chance that the testers will catch that BMD, no matter how many times they test it
         outside the window 12:15–12:45.

         Suppose every machine is tested in the same way, using test patterns selected indepen-
         dently at random, and all happened to be tested between 12:15 and 12:45. Even though
         100 machines have been infected and the margin has been changed by 2%, the chance that
         none of the tests of any of the 400 machines finds a discrepancy is (1 − 0.008)100 = 45%.

         This strategy for altering votes is not a worst-case scenario, just one of countless possible
         attacks. In particular, this attack mentioned does not use information about BMD settings
         or voter interaction with the BMD.


         3.3    Attacks using BMD settings and voter interaction
         BMDs are a perfect device to disenfranchise voters with disabilities, older voters, and
         voters whose preferred language is not English. That is because the BMD “knows” whether
         the voter is using the audio interface or the sip-and-puff interface, whether the voter has
         changed the font size, whether the BMD is displaying the ballot in English, how long
         the voter is taking to vote, and whether the voter is changing selections or reviewing
         ballot pages. It can therefore be programmed—deliberately or accidentally—to alter the
         selections of just such voters.

         Thus, parallel tests need to probe not only vote patterns and time of day, but also BMD
         settings and voter interactions with the BMD: anything known before the election or that
         the BMD can monitor on election day can be used to target votes to alter.

         For instance, suppose that 5% of voters take more than 2 minutes per page to vote. Then a
         substantial number of the live tests in every polling place need to take more than 2 minutes
         per page. Otherwise, if the malware only alters votes when the voter takes longer than 2
         minutes, it could change some margins by up to 10% with no possibility of detection.12
         Note that this means testing cannot (always) be fast. Gilbert’s proposed testing protocol13
         assumes that tests will take about 4 minutes each, and does not contemplate the possibility
         that an attack could be targeted using the duration of the voting session. The attack
         described here has no possibility of being detected by his proposed protocol.

         Similarly, suppose that 5% of voters change at least two of their selections. Then a substan-
         tial number of the live tests in every polling place need to change at least two selections.
         Otherwise, if the malware only alters votes if the voter changes two or more selections, it
         could change some margins by 10% with little or no possibility of detection.

         Similarly, if 0.8% of voters use the audio interface,14 a substantial number of tests in every
         polling place need to use the audio interface. Otherwise, if malware only alters votes when
         the voter uses the audio interface, it could change some margins by 1.6% with little or no
         possibility of detection.
12
     In this example and the ones that follow, the maximum change depends in part on what the true
     voter preferences in each contest are. For instance, if all such voters voted for Bob, changing their
     votes to votes for Alice would alter the margin by 10%. If votes in that group were evenly split
     between Alice and Bob, changing the votes for Bob into votes for Alice votes would alter the margin
     by 5%. If none of them voted in the contest in question, changing their votes to votes for Alice would
     alter the margin by 5%. If all of them voted for Alice in the first place, no change to those votes
     could increase Alice’s margin.
13
     http://www.juangilbert.com/BallotMarkingVerificationProtocol.pdf, last visited 18 August 2019.
14
     Approximately        0.8%      of      the       U.S.       population      is      legally      blind.
     https://www.nfb.org/resources/blindness-statistics, last visited 15 August 2019.
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         If 25% of voters display the ballot in a language other than English,15 a substantial number
         of tests in every polling place need to set the BMD to use a language other than English.
         Otherwise, the BMD could change some margins by 50% with little or no possibility of
         detection.

         Live tests need to probe every subset of voter preferences, BMD settings, and voter
         interactions with the BMD that could alter any contest outcome, and they need to probe
         every such subset enough to have a high probability of detecting any changes to selections
         in that subset.

         For illustration, imagine a single contest expected to be neck-and-neck across all four
         candidates, Alice, Bob, Carol, and Dan. Mallory knows from past experience that about
         5% of voters in those precincts will display the ballot in English, take more than 10
         minutes to vote, and change at least two of their selections before printing, and that this
         behavior is not associated with voter preferences.16

         Mallory rigs the machines that contain the contest identically: they will all randomly flip
         votes for Bob into votes for Alice with 50% probability, but only if the voter displays the
         ballot in English, takes more than 10 minutes to vote, and changes at least two selections.
         That will make Alice’s margin over Bob 2.5%, and her margin over Carol and Dan 1.25%.

         To have a 95% chance of finding this problem, there need to be 5 tests in those precincts
         where the testers display the ballot in English, select Bob in that contest, take more than
         10 minutes to vote, and change their selections at least twice (1 − (1 − 0.5)5 = 0.968).
         This alone would tie up BMDs for more more than 50 minutes. Since testers would not
         know ahead of time that Mallory is trying to rig the election in favor of Alice, to protect
         just that single contest against the same hack in favor of the other candidates, they would
         also need to do those tests but with votes for Alice, votes for Carol, votes for Dan, and
         undervotes. That would tie BMDs up for 5 × 50 = 250 minutes, i.e., 4 hours and 10
         minutes.

         Of course, Mallory might have hacked the BMDs to change votes for Carol into votes for
         Alice, but only for voters who display the ballot in English, take 5-7 minutes to vote,
         and do not change any selections. If voters who display the ballot in English, take less
         than 5-7 minutes to vote, and do not change any selections comprise 10% of voters, then
         Mallory would only have to flip 25% of the votes for Carol in that group to votes for Alice
         to get the same margins. To have 90% chance of detecting the problem, there need to
         be 11 tests in those precincts where testers selected Carol, took 5-7 minutes to vote, and
         did not change any selections (1 − (1 − 0.25)1 1 = 0.958). Those 11 tests take at least 55
         minutes, and again, since the testers would not know in advance that Mallory was using
         votes for Carol to benefit Alice, they also need to do those tests, using votes for Alice, for
         Bob, for Dan, and undervotes. That would tie BMDs up for 5 × 55 = 275 minutes, i.e., 4
         hours and 35 minutes.

         Because the conditions that trigger those two attacks are mutually exclusive, testing for
         one does not test for the other: we have to test for both. This brings us to 8 hours and
15
     In 2013, roughly 26% of voters in Los Angeles County, CA, spoke a language other than English
     at home. http://rrcc.lacounty.gov/VOTER/PDFS/PUB/2013_Multilingual_Access_Elections.pdf,
     last visited 15 August 2019.
16
     Such things could be measured by malware on BMDs deployed in previous elections, or possibly
     inferred from BMD internal logs from previous elections. It is not likely to be something that an
     election oﬀicial knows or could measure legally or ethically: taking such measurements would likely
     compromise vote anonymity.
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         45 minutes of testing, just for these two possible attacks on that single contest, among
         many other possible attacks.

         For instance, Mallory might instead have changed votes for Bob into votes for Alice, but
         only when the voter displays the ballot in a language other than English and takes 10
         minutes or more to vote. If such voters comprise 10% of all voters, the calculation two
         paragraphs above shows that to have a 95% chance of detecting this attack requires at
         least another 4 hours and 35 minutes of testing. We are now at 13 hours and 20 minutes
         of testing.

         But we have not exhausted the possible attacks, even on that one contest. For instance,
         Mallory could have hacked the BMDs to change votes for other candidates into votes
         for Alice only under other, mutually exclusive conditions, which could depend on other
         variables as well, such as votes in other contests, time of day, recency of the last voter’s
         session, BMD load, etc. The 13 hours of tests already described cannot not reveal such
         hacks—even in principle—because the attacks involve mutually exclusive conditions.

         And all of this testing is just for one contest. Once additional contests are on the ballot,
         there need to be tests for attacks against them, too. In practice, live testing cannot provide
         much protection against malware.



         4     A little math
         4.1    Mallory’s goal
         Let i denote a set of conditions that could apply to a voter’s interaction with a BMD,
         including patterns of possible preferences in the elections on the ballot, time of day,
         duration of voting session, BMD user settings such as language and font size, whether the
         voter revised selections and which were revised, etc. Let fi be the frequency with which
         actual voter sessions meet
                                 ∑ those conditions; we assume there is a complete enumeration
         of conditions, so that     i fi = N , the total number of ballots marked by voters. To
         alter the margin between Alice and Bob by m votes, Mallory needs to alter votes on
         a fraction
              ∑     πi ∈ [0, 1] of the sessions that satisfy the set of conditions i, in such a way
         that i∈I πi fi ≥ m/2. (The bound is sharp only if all the conditions i for which πi > 0
         already have a vote for Bob and not for Alice; otherwise, more than m/2 ballots need to
         be altered.)

         Suppose that, given the fraction πi , Mallory picks the particular πi fi sessions that satisfy
         condition i to alter randomly, independently of anything the tester does, and indepen-
         dently across i. Then, if the tester tries condition i, the conditional probability that
         Mallory will alter any votes in that session—and hence that the tester will detect that
         Mallory interfered—is πi .

         Suppose the testers know {fi }, i.e., they know how many sessions   ∑ satisfy each set of
         conditions.17 If the testers test condition i with probability fi /( j fj ), the probability

17
     If this were literally true, the testers would already know the correct outcome of every contest, and
     thus could detect any interference by Mallory simply by looking at the overall totals: there would
     be no need to audit—or even to conduct the election. Moreover, to estimate or measure fi would
     require capability that is not currently (supposed to be) part of voting systems, because it would
     compromise vote anonymity. Mallory could, however, estimate fi well using malware previously
     installed on BMDs.
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    that a given test will reveal Mallory’s attack is
                                          ∑
                                              πi fi    m
                                           ∑i       ≥    .
                                              i fi    2N

    In general Mallory will be able to alter outcomes by changing votes randomly for sessions
    that share some set of characteristics that any given auditing strategy is unlikely to probe
    enough to detect.


    4.2    Auditing as an adversarial game
    The auditing problem can be viewed as a two-player game, tester versus Mallory: the
    tester picks an auditing strategy, which must be public. With knowledge of that strategy,
    Mallory picks a (possibly random) rule for altering votes to in a way that has a large chance
    of changing the outcome of one or more contests. If Mallory can keep the probability that
    the audit will find any changed votes low, Mallory wins. If the auditing strategy ensures
    that if Mallory altered the outcome of one or more contests, the audit has a large chance
    of sounding an alarm, the tester wins.

    Nothing in this paper should be construed to imply that parallel tests only need to detect
    malicious attacks. Bugs, misconfiguration, and other problems can also alter votes. Parallel
    testing does not solve the BMD security problem unless it has a suﬀiciently large chance
    of detecting outcome-changing faults, whatever their cause.


    4.3    The curse of dimensionality
    Several features of this problem make random testing require large sample sizes to be
    effecctive:

     1. The testers do not know which contest(s) may be affected, nor which candidate(s) in
        those contests.

     2. The outcome of a small contest or a contest with a narrow margin can be changed
        by altering only a small fraction of votes—depending on actual voter preferences, an
        arbitrarily small fraction of votes.

     3. Malware or errors can be triggered by a vast number of combinations of many vari-
        ables.

    The high dimension requires exponentially more sampling, in general. As a statistical
    problem, auditing election outcomes using a trustworthy paper trail (e.g., checking out-
    comes using a risk-limiting audit (Stark 2008) (Stark 2009) (Lindeman and Stark 2012))
    is easier than parallel testing of BMDs, in part because such audits only need to detect
    errors that favored the reported winner(s), and in part because whether anything affected
    the tabulation of the cast ballots is evident by looking at the cast ballots—provided the
    paper trail is trustworthy. In contrast, parallel BMD testing needs to detect errors that
    favor any candidate and to catch the malware in the act, by trying the right input to the
    right BMD at the right time.


    4.4    An oracle bound
    Suppose the tester could ask an oracle whether a particular cast BMD printout had
    an error. This would obviate the need even to know what variables characterize voters’
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        interactions with the BMD, much less to know how often voters interact with the BMD
        in any particular way (vote preferences, time of day, speed of voting, interface, language,
        etc.).

        Suppose a contest was on the ballot on 20 BMDs, which printed a total of 20×140 = 2800
        ballots on election day. Suppose that the BMDs altered 14 of the ballots, which could
        change the outcome of the contest in question by 1% if there were no undervotes, and by
        more if there were undervotes. (For instance, if the undervote rate is 50%, then changing
        votes on 0.5% of the ballots could change the margin by 2%.)

        The tester will ask the oracle whether a set of randomly selected cast BMD printouts had
        any errors. How big would that set need to be in order to have at least a 95% chance of
        finding at least one printout with an error? The answer is the smallest value of n such
        that
                           2800 − 14 2799 − 14       2800 − (n − 1) − 14
                                      ·          ···                     ≤ 0.05,
                             2800        2700           2800 − (n − 1)
        i.e., n = 539 voters, about 20% of the capacity of those machines. This would mean testing
        each BMD about 27 times on election day, on average: several times an hour, even under
        these counterfactual, optimistic assumptions.

        We can turn the oracle bound around to ask how large a contest would need to be so
        that oracle-based testing would have at least a 95% chance of detecting a change to 0.5%
        of the ballots cast in the contest using not more than 13 tests per day per machine, on
        average. (That corresponds to testing a machine once per hour for a 13-hour day, and
        to using roughly 9.2% of BMD capacity for testing rather than voting.) The answer is
        that it would need to be on at least 47~BMDs, i.e., at least 6,580 votes, even under these
        impossibly optimistic assumptions.

        But in reality, testers cannot look over voters’ shoulders to see whether the BMD printed
        what it was supposed to. Testers do not know what variables characterize voters’ inter-
        actions with BMDs, nor how often votes fall into any range of values of those variables:
        they could not measure these things without collecting data that would compromise the
        anonymity of votes. There would need to be more tests to compensate for that lack of
        information—many more. In reality, tests have to be in addition to actual voters’ use of
        the BMDs, so the jurisdiction would need more machines (at least 24 machines instead of
        20 in the first example; at least 52 instead of 47 in the second example) to accommodate
        the testing. In reality, contests can be decided by less than 1% of the ballots, so there
        would need to be more checks. And in reality, some contests are on fewer machines, which
        also increases the amount of testing required.


        5     Complications
        5.1     The only remedy is a new election
        If testing catches a BMD altering votes, it is clearly appropriate to remove that BMD
        from service and conduct a forensic investigation of that BMD—and all the other BMDs
        used in the jurisdiction.18 But what about this election? There is no way to figure out
        which ballots were affected, nor even how many ballots were affected. There is not even a
        way to tell how many BMDs were affected, especially because malware could erase itself
        after election day, leaving no forensic evidence.
18
     It’s also appropriate to contact DHS and the FBI.
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         Thus, there is no way to know whether the election outcome reflected by the printed output
         is the same as the outcome according to what the BMDs told voters on confirmation
         screens (or through audio confirmation). Conducting a new election is the only way to
         rectify the damage.


         5.2    Margins are not known
         Margins are not known until the election is over, when it is too late to do more testing if
         contests have narrower margins than anticipated. Testing to a pre-defined threshold, e.g.,
         to ensure a 95% chance of detecting errors in 0.5% or more of the votes in any contest,
         will sometimes turn out not to suﬀice. See below.


         5.3    Tests have uncertainty
         Relying on parallel testing to detect BMD faults has intrinsic uncertainties that should
         not be neglected.

         For instance, suppose it were possible to design practical parallel tests that had a 95%
         chance of sounding an alarm if BMDs alter 0.5% or more of the votes in any contest.
         A reported margin of 1% or less in a plurality contest19 would be below the “limit of
         detection”20 : morally, the outcome of such a contest would be a tie. Would we revise
         election law to require automatic runoff elections whenever a reported margin is below
         1%? If not, elections cease to be democratic and become an arbitrary means of deciding
         political contests.

         The principle of evidence-based elections (Stark and Wagner 2012) says that election
         oﬀicials should not only report the winners, but also provide persuasive evidence that the
         reported winners really won—or admit that they cannot, in which case there should be a
         new election. In this hypothetical, that would mean holding a new election if the reported
         margin were below 1%.

         And if a reported margin is greater than 1% (or the relevant limit of detection), we would
         still have only 95% “confidence” that BMD faults (bugs, misconfiguration, or hacking) did
         not cause the wrong candidate to appear to win. If the BMD output reflects the wrong
         electoral outcome, a perfect full manual tally, recount, or risk-limiting audit based on
         BMD printout will (with high probability) confirm that wrong outcome.


         5.4    Asymmetry of information
         The testing strategy will be public: it is a matter of regulation or law. But the attacker’s
         strategy is private. Thus, an attacker can adapt to the announced testing strategy, but
         the attacker does not have to announce its strategy. Even if the tests contain random or
         adaptive elements, testing must be limited to a small number of tests per machine per
         day, to leave time for actual voting. That limits the ability of testing to find problems
         that affect only a small fraction of votes.
19
     For non-plurality social choice functions such as ranked choice or instant runoff, there is more than
     one definition of the margin, and the margin can be diﬀicult to calculate. The relevant question is
     whether a change to 0.5% of the votes in a contest could cause the wrong candidate to appear to
     win, given the social choice function in that contest. If so, then the contest outcome is in doubt, and
     a new election seems like the appropriate remedy.
20
     If there are undervotes, the “limit of detection” measured as a margin would be even higher, as
     discussed above. That is, changing 0.5% of the votes could change the margin by more than 1%.
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     5.5    Malicious attacks are not the only risk
     Misconfiguration, malfunction, and bugs can also alter votes. One cannot assume, as
     (Wallach 2019) does implicitly, that the only problems parallel testing needs to detect are
     those that a clever opponent would engineer.


     5.6    Randomness is key
     The test patterns need to be unpredictable, or malware could simply leave the votes alone
     if the input pattern matches a known or likely test pattern. Similarly, the test times need
     to be unpredictable (not, for instance, during the first 5 minutes of each hour), or malware
     could simply leave votes alone when tests are expected.

     It is impractical to test at uniformly distributed random times, or after a random num-
     ber of voters have used each BMD. For instance, testers will probably not mark 5 test
     ballots in a row on the same BMD. More likely, the sampling plan would involve test-
     ing hourly or at other regular intervals. For instance, Gilbert suggests testing once an
     hour (http://www.juangilbert.com/BallotMarkingVerificationProtocol.pdf), which makes
     it easier for malware to evade the test. If the polling place is busy when the test is sup-
     posed to occur, there will be pressure on the testers not to slow down voting by testing
     the BMD. If there is less testing when BMDs are busy, it’s easier for malware to avoid
     the test.


     5.7    New systems and extra hardware would be needed
     Parallel testing requires new infrastructure to generate the random test patterns “just-
     in-time” and to signal the testers to conduct tests at random times. Infrastructure to log
     and report test results and to respond to discrepancies would also be needed.

     Parallel testing also requires deploying more BMDs, because some (or all) of the capacity
     will be taken up by the live testing, reducing (or completely exhausting) the capacity for
     actual voters.


     5.8    Extra staff and training would be needed
     Who will conduct these tests? Pollworkers or elections staff would need additional training.
     Tests would probably need to involve two people, to ensure that the tester did not make
     a mistake in inputting selections. Additional pollworkers or other staff would be needed
     in every polling place to perform the additional work. The most important time to test
     is when the polling place is busiest, because that’s when the most votes could be affected
     in the shortest time. Thus, effective testing is almost guaranteed to slow down voting.


     6 Can the number of spoiled ballots be used to
     detect problems?
     (Wallach 2019) also suggests comparing the rate of ballot “spoilage” to the expected
     background rate as a statistical test for BMD malfunction. Again, while this idea has
     heuristic appeal, numbers matter.

     The Poisson distribution is a standard model for independent rare events. Without worry-
     ing about whether it is a good model for voting errors, let’s use it as a guide to intuition.
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         Suppose that the background rate of ballot spoilage, based on previous elections, is 1%;
         that is, about 1% of voters request a fresh ballot. We suppose that the spoilage rate is
         the same for all machines in all precincts. We also suppose that about 100 voters use each
         BMD on election day.

         Imagine a contest that appears on 2,000 BMDs, collectively marking 200,000 ballots. If
         things are functioning properly, we would expect about 200000 × 0.01 = 2000 spoiled
         ballots. What observed number of spoiled would give 95% confidence that something
         unusual is going on? The answer is 2074: 2073 spoiled ballots would not sound an alarm. If
         10% of voters whose selections are mis-recorded notice the error and spoil their ballots,21
         that would correspond to 730 BMD errors. That means that malware, bugs, or other
         misconfiguration could alter the margin in this contest by 2 × 730/200000 = 0.73%. But
         it could alter the margin in a smaller contest by far more without creating a statistically
         suspicious number of spoiled ballots.

         The numbers depend strongly on the number of BMDs that contain the contest. For
         instance, if a contest includes 50 BMDs (5,000 voters), then under the same assumptions
         we would expect 50 spoiled ballots if everything is functioning correctly. It would take 62
         spoiled ballots to sound an alarm at 95% confidence, i.e., a 5% chance of a false alarm
         if everything is actually working properly. Finding 61 spoiled ballots would not sound an
         alarm. The 61 − 50 = 11 extra spoiled ballots signal 110 errors, which could shift the
         margin by 2 × 110/5000 = 4.4%. Smaller contests can be altered by even larger amounts
         without raising an alarm.

         Even under ideal circumstances, passive monitoring based on spoiled ballots does not pro-
         duce direct evidence of malfunction; it does not identify which ballots, if any, have errors;
         and it does not provide any evidence about whether the errors changed any outcomes. It
         seems implausible that an election oﬀicial would hold a new election simply because the
         number of spoiled ballots was a bit larger than expected.


         7    Can BMDs ever be secure?
         Current BMDs as currently deployed have an insurmountable security flaw described in
         (Stark 2019) and (Appel, DeMillo, and Stark 2019): the protocols make voters responsible
         for checking whether BMDs are performing correctly, voters cannot get any evidence to
         prove to others that a malfunction occurred. As a result, election oﬀicials will always be
         in a bind if voters complain of problems: there is no way to tell the difference between a
         misbehaving machine, voter error, and a cry of “wolf.”

         Some protocols developed for end-to-end cryptographically verifiable (E2E-V) elections
         can allow voters to prove that machines misbehaved in particular ways.22 While those
         protocols do not apply to BMDs, similar ideas might make it possible for a voter to
         obtain evidence of MBD malfunction that could be presented to others. None has been
         proposed.

         The design and use of BMDs needs to be re-thought from the ground up so that either

          a. voters get evidence of malfunctions that can be used to demonstrate to others that a
             malfunction occurred, or
21
     The work of (DeMillo, Kadel, and Marks 2018) suggests this is very optimistic.
22
     E.g., the “Benaloh challenge,” as described in (Benaloh 2006). The Benaloh challenge can provide
     proof that a machine encrypted a plaintext vote incorrectly, but it does not address what happens if
     the voting machine prints the wrong plaintext vote.
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         b. some other mechanism is in place that has a high probability of catching all BMD
            malfunctions that could alter election outcomes.

         Parallel testing is an attempt at (b). Unfortunately, it requires far more testing than
         is possible in practice. “Passive” testing by monitoring the number of spoiled ballots
         is also an attempt at (b). Unfortunately, the signal-to-noise ratio makes passive testing
         ineffective, especially for smaller contests. In any event, the only remedy if any BMD is
         discovered (or suspected) to have altered votes is a new election. Voting systems should
         instead be designed to be resilient, so that they can recover from errors without re-running
         the election. This is inherent in “strong software independence” (Rivest and Wack 2006).


         8    Conclusion
         While in theory parallel testing or logic-and-accuracy testing might help protect against
         malfunctioning or hacked BMDs, in practice, there are so many attack strategies (and
         possibilities for subtle bugs) that no reasonable amount of testing could guarantee even a
         modest chance of finding an outcome-changing problem. An attack (or bug) could depend
         on any number of variables, including, among others:

          – the current voter’s selections (including undervotes) in every contest
          – selections made by previous voters who used that BMD
          – time of day
          – BMD load
          – BMD user settings, such as font size, ballot language, whether the audio interface is
            in use, whether the sip-and-puff interface is in use
          – voter interaction with the BMD, such as how quickly the voter completes each page,
            whether and how often the voter revises selections, and whether the voter chooses to
            ignore/override undervote warnings

         Because there are so many possible outcome-changing problems that involve mutually
         exclusive sets of conditions and different contests, it’s effectively impossible to protect
         against malware or subtle bugs by parallel testing or logic and accuracy testing. The
         number of tests required to get a reasonable level of assurance is simply too high.

         Moreover, even if it were possible to get, say, 95% confidence that no more than 0.5% of
         the votes were changed in any contest, fairness would then demand a runoff election in
         any (plurality) contest with a diluted margin23 of 1% or less.24

         No jurisdiction has conducted parallel testing of this kind. Any parallel testing requires
         more BMDs (to leave enough capacity for actual voters), new infrastructure, new pro-
         cedures, and more pollworker training. Testing when the polls are busiest is especially
         important—and especially disruptive. The sample sizes required for testing to be effec-
         tive against outcome-changing errors are prohibitively large (the same is true for logic and
         accuracy testing): considerable time and labor are required. And if a problem is detected,
         the only safe response is to hold a new election: there’s no way to tell which votes were
         changed, nor even how many votes were changed.
23
     See footnote 5.
24
     For non-plurality social choice functions such as ranked choice or instant runoff, the margin can be
     quite diﬀicult to calculate. The relevant question would be whether a change to 0.5% of the ballots
     could cause the wrong candidate to appear to win, whatever the social choice function. If so, then
     the contest outcome is in doubt, and a new election seems like the appropriate remedy.
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         Absent some clever new design for a BMD-like device that enables voters to provide public
         evidence of any malfunctions they experience—without making elections vulnerable to
         false accusations and without compromising voter privacy—there is no way to ensure
         that BMDs have not misprinted enough votes to change election outcomes.

         Nonetheless, well-designed BMDs25 are arguably the best technology for voters with some
         kinds of disabilities to mark and cast a paper ballot independently. To my knowledge,
         existing commercial BMDs do not provide a means for blind voters to check whether the
         printed output matches their intended selections. It would not be technically challenging
         to add “verification stations” that speak a printed ballot to the voter, so the voter can
         spoil the ballot and start over if there is a discrepancy.

         If BMDs are deployed, they should undergo some pre-election logic and accuracy testing
         to screen for gross configuration errors. BMD printout should be designed to make it as
         easy as possible for voters to check whether the printout matches their intended choices.
         Voters who use BMDs should be urged to check whether the printout matches their
         intended choices, and to request another chance to mark a ballot if there’s a discrepancy.
         Voters with disabilities should be provided an accessible way to check BMD printout.
         And election oﬀicials should pay attention to the number and distribution of spoiled
         BMD printouts.

         But for the foreseeable future, prudent election administration also requires keeping the
         number of ballots marked by machines as small as possible—while ensuring that every
         voter is provided a means to mark, verify, and cast a paper ballot independently.


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25
     There      are     many     poorly    designed     BMDs        on      the     market,     includ-
     ing     designs    with     blatant,  easily    exploited      security    flaws.    See,     e.g.,
     https://tyt.com/stories/4vZLCHuQrYE4uKagy0oyMA/5YIEQxHW5qmWayG0kYCsy2                           or
     https://freedom-to-tinker.com/2018/09/14/serious-design-flaw-in-ess-expressvote-touchscreen-
     permission-to-cheat/ (both visited 20 August 2018). Moreover, recent testing in Pennsylvania
     suggests that some current BMDs do not enable voters with disabilities to vote independently
     (Secretary of the Commonwealth of Pennsylvania 2018, pp68–90)
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    GEORGIA VOTER VERIFICATION STUDY
                         JANUARY 22, 2021
                        [DRAFT VERSION 1.0]




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I. Study Objective
In 2019, the State of Georgia made the decision to replace its aged direct-recording electrical
(DRE) voting system with a new system produced by Dominion Voting Systems that would be
utilized across the state.1 For in-person voting (early or on election-day) this new voting system
provided ballot marking that was electronic but also provided a paper ballot output. Voters make
selections on a touch-screen and may review their selections before printing a paper ballot from a
printer attached to the ballot marking device. The printed ballots contain a QR code that can be
scanned and also displays in printed words all the selections made by the voter. Before leaving
the voting booth, voters are encouraged to review the choices on their printed ballot and, if there
are discrepancies, they may spoil their ballot and vote again. When ready, voters physically take
their printed ballot and insert it into a ballot tabulator. At this point the ballot is officially
recorded as being cast and the paper ballot is secured within the tabulator.

The statewide rollout for the new system was to have taken place during the 2020 presidential
preference primary. Due to the Covid-19 pandemic, this primary was canceled and rescheduled
to coincide with the May statewide primary election. Almost half of primary voters in May voted
absentee by mail and, consequently, did not have any interaction with the new system. For these
reasons, our study was delayed until the 2020 general election.

The purpose of the study is to examine the interaction of Georgia voters with the new ballot
marking system. More specifically, we are seeking to determine if voters check the choices
registered on their paper ballot before depositing (casting) them in the tabulator.

II. Study Design
In order to study the interaction of Georgia voters with the new Dominion ballot marking voting
system we recruited University of Georgia students to act as field observers at various precinct
locations. Student observers were compensated and were required to attend a one-hour in-person
training session. Seventy-four observers were assigned a precinct location and worked a six-hour
shift, either 7:00 am to 1:00 pm or 1:00 pm to 7:00 pm on election-day (November 5, 2020).2

Students were trained to record various observations related to voters and voter-interaction at
their assigned precinct. All observers used a common observation sheet [a copy of the
observation sheet is attached to this report]. Students were instructed to collect specific
observations for each voter including the time they entered the voting booth and the time they
completed the process. Basic demographic information was also collected using the following
categories:
     Age [Young, Middle, Older]3
     Sex [Male, Female, Unsure]
     Race [White, Black, Hispanic, Asian, Unsure]
At the voting booth, observers were to record whether the voter checked/reviewed the choices on
their printed ballot and, if so, the approximate amount of time they spent in this process.

1
  Dominion ImageCast x Prime Ballot Marking Device (Version 5.5.10.30).
2
  These students were given credential letters from the Secretary of State’s Office and worked with poll managers to
optimize their observations while also maintaining all rules governing public safety protocols and voter privacy.
3
  Observers were instructed to use the following age ranges as approximations for these categories: Young (18-29);
Middle (30-54); and Older (55+).

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Observers were trained to mentally note the number of seconds the voter examined their paper
ballot using the following categories:
     Brief Glance (Less than one second)
     Short Time (One to five seconds)
     Long Time (More than five seconds)

Students were also instructed to observe voter behavior at the tabulator where a precinct official
was stationed. Per instructions issued from the Secretary of State’s Office, these polling place
officials were to oversee the process of voters inserting their ballots into the tabulator. They were
also asked to remind voters to check the choices on their ballot before casting it, if they wished.
At this stage of the process student observers recorded whether or not the precinct worker
instructed the voter to check their ballot and, second, if the voter was provided instructions on
how to cast their ballot using the tabulator. We also recorded whether or not the voter checked
over their ballot while waiting to insert it into the tabulator.

Thirty-one precincts were selected at random from the following counties: Clarke (17), Oconee
(5), Oglethorpe (2), Madison (2), Jackson (1), and Barrow (5).4 These six counties are comprised
of the City of Athens (Clarke) and the immediate geographically proximate counties. In order to
assure racial/ethnic diversity among these counties, a stratified random sample of thirty precincts
was randomly selected from the 44 precincts that are majority non-Hispanic white in
composition.5 A further three precincts were randomly selected from the group of five majority-
minority precincts. In addition, a random sample of seven precincts was also drawn from
Gwinnett County. Gwinnett County is part of the Atlanta metro area. Of these, six were majority-
minority and one was majority non-Hispanic white [A list of precincts where observations were
taken is appended to this report].

This study also included an embedded experiment where voters at four randomly selected
precincts were given a paper reminder (see below) to check their ballot after printing.6 The
reminder was patterned directly on a public relations campaign from the Secretary of State’s
Office. Upon completion of the observational study, we can compare voters at treatment
(received reminder) and control precincts (did not receive reminder) in order to determine if
handing individuals a reminder will produce any perceivable effect on voter behavior.




4
  In order to ensure a steady stream of observations precincts with fewer than 2,000 registrants were not considered
for random selection.
5
  Race/ethnicity of registrants is recorded in Georgia. Precinct racial composition was obtained from the Georgia
Secretary of State.
6
  The four precincts where voters received a reminder are as follows: Covenant Life Sanctuary (4)-Barrow County;
Judia J. Harris Elementary School (2A)-Clarke County; Athens Transit Multi-Modal Center (4A)-Clarke County;
and Bishop Baptist Church (4&5)-Oconee County.

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                        After printing your paper ballot,
                              REVIEW your choices
                         to make sure they are correct.


III. Analysis and Findings
Following the general election, observation sheets were collected and data were entered digitally
in preparation for analysis. In total, there were 4,024 usable observations. The following
discussion of findings relies on the aforementioned observation data.

Voter Behavior at the Voting Booth
This section discusses the behavior of voters at the voting booth after printing their paper ballot.
The results of our analysis indicate that 80.1% of the voters observed checked their ballot,
compared to a fifth (19.9%) who did not.

Given that some voters in the brief glance category only undertook a very cursory examination
of their ballot, a fairer assessment on the question of whether voters checked the choices on their
paper ballot is found in Table 1. Here we see that just under a third of the voters observed
(31.3%) only glanced at their ballot after printing it.

Combining this group with those who failed to look at their ballot at all, we see that more than
half (51.3%) of voters undertook an insufficient check of their ballot from the standpoint of
being able to adequately determine if their choices had been correctly documented on the paper
ballot. On the other hand, approximately half (48.7%) the voters observed did spend at least
some time examining their ballot. Approximately three of ten voters (29.9%) spent a short time
looking over the choices on their paper ballot, while close to one-fifth (18.8%) spent a longer
period of time examining their ballot.

Table 1. Voter Behavior Observed at the Voting Booth
 Category                                   Percentage
 Did not check                                20.0%
 Brief glance                                 31.3%
 Short time                                   29.9%
 Long time                                    18.8%




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Voter Behavior at the Tabulator
In this section we examine voter behavior as voters moved from the voting booth to deposit their
ballot in the tabulator.7 At this stage of the process, student observers recorded that 23.8% of
voters were instructed to check their ballot by precinct workers. This would appear far short of
the goal set by the Secretary of S that all voters be informed at this stage in the process that they
should examine the choices on their paper ballot before casting it. On the other hand, almost all
voters (86.7%) were given instructions by precinct workers on inserting their ballot into the
tabulator.

Of the cases where observers were able to hear voters being instructed to check their ballots,
62.3% did so at this point in the voting process, while 37.7% did not. This 62%, however,
equates to only 14.2% of the total number of voters observed in the study. Most voters then did
not check their ballot at this stage in the voting process.8 Of those voters who did check over
their ballots before the tabulator, 85.7% had also been recorded as having done so at the voting
booth. (85.7%). Only 80 voters, or 2.0% of the total number of voters observed, checked their
ballots at the tabulator stage having not done so at the voting booth.

Voter Behavior and Demographics
In this section we will discuss the demographic breakdown of the voters in our observation
study, and how our primary observation of interest (checking one’s ballot at the voting booth)
varied by demographic category. The breakdown of race, sex, and age for the observation set is
detailed in Table 2 below.




7
  Student observers were instructed to position themselves at the precinct where they could observe voter behavior
both at the voting booth as well as the tabulator. In some locations, this was difficult to achieve and, as a
consequence, it was not possible to always track voter behavior at the tabulator. The results presented in this section
are based on the data that are available.
8
  It should be noted that in most precincts it was a very short distance from voting booths to the tabulator. Those
voters who did check their ballot in the voting booth, therefore, may have opted out of checking their ballot again
only seconds later.

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Table 2. Demographic Breakdown of Voters Observed
                               Percentage
    Race:
        White                    67.4%
        Black                    21.9%
        Hispanic                  5.9%
        Asian                     2.9%
        Unknown                   1.9%

    Sex:
           Male                  49.4%
           Female                50.2%
           Unknown                0.4%

    Age:
        Young                    37.1%
        Middle                   42.9%
        Older                    18.4%
        Unknown                   1.6%

Next, we provide a series of contingency tables in order to determine if the decision of voters to
check their ballot at the voting booth varied by race, sex, and age.9 For the contingency tables
presented, we collapse the Did not check and Brief glance categories into a single category and
the Short time and Long time categories into a single category. Looking at Table 3, white voters
were slightly more likely to have checked their ballot as compared to minority voters. The
difference between white and black voters on this metric is 6.0 points (50.5% of white voters
were recorded as having checked their ballot versus 44.5% of black voters). The difference
between white and Hispanic voters is 4.9 points and for Asian voters it is 6.2 points. The
distribution of voters who checked their ballot across racial categories in Table 3 is statistically
significant, an indication the denoted pattern is not due to random chance.

Table 3. Voter Behavior by Race

    Category                          White                 Black               Hispanic          Asian
    Did not check/glance              49.5%                 55.5%                54.4%            55.7%
    Short/long time                   50.5%                 44.5%                45.6%            44.3%
Notes: Entries are column percentages. Chi-square: 11.35 (p<.01)

Table 4 displays the same information by Sex. Here we see a bare majority (50.5%) of male
voters checked over their ballots at the voting booth compared to 46.6% of female voters. The
difference between these two groups, at 3.9 points, is statistically significant.




9
    Voters who could not be classified by observers (unknown) are excluded from these analyses.

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Table 4. Voter Behavior by Sex

 Category                              Male             Female
 Did not check/glance                  49.5%            53.4%
 Short/long time                       50.5%            46.6%
Notes: Entries are column percentages. Chi-square: 5.90 (p<.05)

Finally, Table 5 examines the results by age category. Here we see that the likelihood of
checking one’s ballot at the voting booth is positively associated with age. Less than a majority
of younger voters (45.3%) were observed checking their ballots, compared with 49.2% of
middle-aged voters, and 53.2% of older voters. The difference between younger and older voters
is 7.9 points. The distribution of responses presented in Table 5 across age categories is
statistically significant.

Table 5. Voter Behavior by Age

 Category                             Young             Middle       Older
 Did not check/glance                 54.7%             50.8%        46.8%
 Short/long time                      45.3%             49.2%        53.2%
Notes: Entries are column percentages. Chi-square: 12.67 (p<.01)

To summarize, the profile of a voter who checked their ballot at the voting booth was associated
by demographic characteristics. White voters, male voters, and older voters were all more likely
to have spent time checking their paper ballots after printing.

Embedded Experiment
Table 6 below compares the behavior of voters in the treatment and control precincts based on
whether they checked their ballot at the voter booth after printing. There were a total of 511 voter
observations recorded at the four treatment precincts, or 13.1% of all observations. Those voters
in precincts that received a reminder (treatment) were 5.3 points more likely to have checked
their ballot as compared to voters that did not receive a reminder (control), 53.2% versus 47.9%
respectively. Although five points is a modest increase, the difference between the treatment and
control groups is statistically significant.10 Translated into English, the simple act of giving
voters a paper reminder at the check-in table increases the likelihood that they will check over
their ballot after printing.

Table 6. Results of Embedded Experiment

 Category                           Treatment           Control
 Did not check/glance                 46.8%              52.1%
 Short/long time                      53.2%              47.9%
Notes: Entries are column percentages.




10
     Mean difference: -0.528; t=-2.228; p<.05.

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IV. Conclusion
On election-day for the 2020 general, a largescale observational study was undertaken in north
Georgia to study the interaction of voters with the state’s new ballot marking system. More
specifically, we were tasked with observing whether or not voters checked to confirm the choices
on their paper ballot after printing. Using an objective measure, we found that half of the voters
observed spent some or a long period of time checking over their paper ballot. If voters did check
their paper ballot, it was at the voting booth, immediately after printing out their ballot. Few
voters rechecked their ballots at the tabulator and almost no voters checked their ballot for the
first time at the tabulator stage in the process. This finding may, in part, be due to the fact that
poll workers stationed at the tabulator did not consistently appear to be reminding voters to do
so, focused instead on the process of inserting the ballot correctly and explaining the process to
the voter. These same poll workers did, however, adequately instruct almost all voters on how to
cast their ballot at the tabulator. Providing voters a reminder of their ability to confirm their
choices on the paper ballot at the tabulator stage should be reemphasized during precinct poll
worker training. Distinctive demographic characteristics based on age, sex, and race were noted
for voters who checked their ballot at the voting booth. Finally, the results of our embedded
experiment demonstrate that handing out a simple reminder to voters can act to modify voter
behavior—in this case modestly increasing the probability they will check their ballot choices
after printing.




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                    Appendix A: Observation Sheet
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GEORGIA VOTING BEHAVIOR CODE SHEET                                                             Coder name: ______________________________
Date: ______________ Start Time: ___________ County: _______________ Precinct: _________________ Assigned Voter Booths: ______




  Start                                                 Voter        Length of check           Voter Behavior             Other Observations:
  Time/       Sex        Race                         Behavior         [in seconds]             at Tabulator              [Required poll worker
  Stop                                  Age           at Voting                             [Check all that apply]        assistance at voting booth;
  Time                                                  Booth                                                             requested new ballot, etc.]

           Male        White       Young [18-29]    Checked ballot   Brief glance <1   __Instructed to check ballot
           Female      Black       Middle [30-54]   Did not check    Short time 1-5      __Checked ballot
                       Hispanic    Older [55+]                       Long time >5        __Did not check ballot
                       Asian                                                           __Instructed to insert ballot
           Unsure      Unsure      Unsure           Unsure           Unsure
                                                                                       Other obs. [note in next column]
           Male        White       Young [18-29]    Checked ballot   Brief glance <1   __Instructed to check ballot
           Female      Black       Middle [30-54]   Did not check    Short time 1-5      __Checked ballot
                       Hispanic    Older [55+]                       Long time >5        __Did not check ballot
                       Asian                                                           __Instructed to insert ballot
           Unsure      Unsure      Unsure           Unsure           Unsure
                                                                                       Other obs. [note in next column]
           Male        White       Young [18-29]    Checked ballot   Brief glance <1   __Instructed to check ballot
           Female      Black       Middle [30-54]   Did not check    Short time 1-5      __Checked ballot
                       Hispanic    Older [55+]                       Long time >5        __Did not check ballot
                       Asian                                                           __Instructed to insert ballot
           Unsure      Unsure      Unsure           Unsure           Unsure
                                                                                       Other obs. [note in next column]
           Male        White       Young [18-29]    Checked ballot   Brief glance <1   __Instructed to check ballot
           Female      Black       Middle [30-54]   Did not check    Short time 1-5      __Checked ballot
                       Hispanic    Older [55+]                       Long time >5        __Did not check ballot
                       Asian                                                           __Instructed to insert ballot
           Unsure      Unsure      Unsure           Unsure           Unsure
                                                                                       Other obs. [note in next column]
           Male        White       Young [18-29]    Checked ballot   Brief glance <1   __Instructed to check ballot
           Female      Black       Middle [30-54]   Did not check    Short time 1-5      __Checked ballot
                       Hispanic    Older [55+]                       Long time >5        __Did not check ballot
                       Asian                                                           __Instructed to insert ballot
           Unsure      Unsure      Unsure           Unsure           Unsure
                                                                                       Other obs. [note in next column]
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                 Appendix B: Precincts Included in Study
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                                                Precincts used in Study

County   Precinct ID    Polling Place                         Address                                      Observer       Shift
BARROW       1          BETHLEHEM COMMUNITY CENTER            750 Manger Avenue Bethlehem, GA 30620           1       7 am to 1 pm
                                                                                                              2       1 pm to 7 pm
BARROW       4          COVENANT LIFE SANCTUARY               115 Patrick Mill Rd SW Winder, GA 30680         1       7 am to 1 pm
                                                                                                              2       1 pm to 7 pm
BARROW       5          FIRE STATION 1 (STATHAM)              1625 Bethlehem Road Statham, GA 30666           1       7 am to 1 pm
                                                                                                              2       1 pm to 7 pm
                                                                                                              3       1 pm to 7 pm
BARROW       13         WINDER COMMUNITY CENTER               113 E. Athens Street Winder, GA 30680           1       7 am to 1 pm
                                                                                                              2       7 am to 1 pm
                                                                                                              3       1 pm to 7 pm
BARROW       16         THE CHURCH AT WINDER                  546 Treadwell Road Bethlehem, GA 30620          1       7 am to 1 pm
                                                                                                              2       1 pm to 7 pm
CLARKE       1A         WINTERVILLE TRAIN DEPOT               125 NORTH CHURCH ST., WINTERVILLE GA 30683      1       1 pm to 7 pm
                                                                                                              2       7 am to 1 pm
CLARKE       1D         WHIT DAVIS ELEMENTARY SCHOOL          1450 WHIT DAVIS RD., ATHENS GA 30605            1       1 pm to 7 pm
                                                                                                              2       7 am to 1 pm
CLARKE       2A         JUDIA J. HARRIS ELEM. SCHOOL          2300 DANIELSVILLE RD., ATHENS GA 30601          1       1 pm to 7 pm
                                                                                                              2       7 am to 1 pm
                                                                                                              3       1 pm to 7 pm
                                                                                                              4       7 am to 1 pm
CLARKE       3B         THOMAS N. LAY PARK                    297 HOYT ST., ATHENS GA 30601                   1       7 am to 1 pm
CLARKE       4A         ATHENS TRANSIT MULTI-MODAL CTR        775 E BROAD ST., ATHENS GA 30601                1       7 am to 1 pm
                                                                                                              2       1 pm to 7 pm
CLARKE       4B         MEMORIAL PARK                         293 GRAN ELLEN DR., ATHENS GA 30606             1       7 am to 1 pm
                                                                                                              2         12 to 6 pm
CLARKE       5A         OGLETHORPE AVENUE ELEMENTARY SCHOOL   1150 OGLETHORPE AVE., ATHENS GA 30606           1       7 am to 1 pm
                                                                                                              2       1 pm to 7 pm
CLARKE       5B         WHITEHEAD RD ELEM SCHOOL              555 QUALWOOD DR., ATHENS GA 30606               1       7 am to 1 1:30
                                                                                                              2       7 am to 1 pm
                                                                                                              3       1 pm to 7 pm
                                                                                                              4       1 pm to 7 pm
CLARKE       5D         ACC FLEET MGMNT BLDG                  225 NEWTON BRIDGE RD., ATHENS GA 30607          1       7 am to 1 pm
                                                                                                              2       7 am to 1 pm
                                                                                                              3       1 pm to 7 pm
CLARKE       6A         CLEVELAND RD ELEM SCH                 1700 CLEVELAND RD., BOGART GA 30622             1       7 am to 1 pm
                                                                                                              2       1 pm to 7 pm
CLARKE       6C         TIMOTHY RD ELEM SCHL                  1900 TIMOTHY RD., ATHENS GA 30606               1       1 pm to 7 pm
CLARKE       7A         UNITARIAN UNIVERSALIST FELLOWSHIP     780 TIMOTHY RD., ATHENS GA 30606                1       1 pm to 7 pm
CLARKE       7B         ATHENS REGIONAL LIBRARY               2025 BAXTER ST., ATHENS GA 30606                1       7 am to 1 pm
                                                                                                              2       1 pm to 7 pm
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                                                        Precincts used in Study

County         Precinct ID      Polling Place                       Address                                           Observer       Shift
CLARKE              7C          FIRESTATION #3                      1198 SOUTH MILLEDGE AVE., ATHENS GA 30605            1       7 am to 1 pm
                                                                                                                         2       1 pm to 7 pm
CLARKE              8A          GAINES ELEMENTARY SCHOOL            280 GAINES SCHOOL RD., ATHENS GA 30605               1       1 pm to 7 pm
CLARKE              8B          CEDAR SHOALS HIGH SCHOOL            1300 CEDAR SHOALS DR., ATHENS GA 30605               1       7 am to 1 pm
                                                                                                                         2       1 pm to 7 pm
CLARKE              8C          FIRESTATION #7                      2350 BARNETT SHOALS RD., ATHENS GA 30605             1       7 am to 1 pm
                                                                                                                         2       1 pm to 7 pm
JACKSON      3 (Central Jackson) HOPE CROSSINGS CHURCH              2106 Old Pendergrass Rd, Jefferson, GA 30549         1       7 am to 1 pm
                                                                                                                         2       7 am to 1 pm
                                                                                                                         3       1 pm to 7 pm
MADISON         Danielsville    MADISON COUNTY BOARD OF ELECTIONS   94 Spring Lake Drive Danielsville, GA 30633          1       1 pm to 7 pm
                                                                                                                         2       7 am to 1 pm
MADISON            Hull         HULL COMMUNITY CENTER               1346 Old Elberton Rd Hull, GA 30646                  1       7 am to 1 pm
                                                                                                                         2       1 pm to 7 pm
OCONEE               1          WATKINSVILLE CITY HALL              191 VFW Drive Watkinsville, GA 30677                 1       1 pm to 7 pm
                                                                                                                         2       7 am to 1 pm
OCONEE               9          BOGART COMMUNITY CENTER             141 East Thompson St. Bogart, GA 30622               1       1 pm to 7 pm
                                                                                                                         2       7 am to 1 pm
OCONEE              12          OCONEE COUNTY CIVIC CENTER          2661 Hog Mountain Rd. Watkinsville, GA 30677         1       1 pm to 7 pm
                                                                                                                         2       1 pm to 7 pm
                                                                                                                         3       7 am to 1 pm2
OCONEE             4&5          BISHOP BAPTIST CHURCH               1110 Old Bishop Rd. Bishop, GA 30621                 1       1 pm to 7 pm
                                                                                                                         2       7 am to 1 pm
OCONEE             6 &7         GRACE FELLOWSHIP CHURCH             1120 Malcom Bridge Rd. Bogart, GA 30622              1       7 am to 1 pm
                                                                                                                         2       1 pm to 7 pm
OGLETHORPE      Beaverdam       SONLIGHT BAPTIST CHURCH             1134 Hargrove Lake Road Colbert, Georgia 30628       1       7 am to 1 pm
                                                                                                                         2       1 pm to 7 pm
OGLETHORPE       Crawford       CRAWFORD DEPOT                      1158 Athens Road Crawford, Georgia 30630             1       7 am to 1 pm
GWINNETT            88          BETHANY BAPTIST CHURCH              2306 Bethany Church Road Snellville GA 30039         1       7 am to 1 pm
GWINNETT            59          LANDMARK CHURCH                     3737 Holcomb Bridge Road Norcross GA 30092           1       1 pm to 7 pm
GWINNETT            57          B B HARRIS ELEM SCHOOL              3123 Claiborne Drive Duluth GA 30096                 1       1 pm to 7 pm
GWINNETT            123         IGL BAUTISTA NUEVA JERUSALEN        5300 Williams Road Norcross GA 30093                 1       1 pm to 7 pm
GWINNETT            155         EPIPHANY LUTHERAN CHURCH            1350 Peachtree Industrial Blvd Suwanee GA 30024      1       1 pm to 7 pm
GWINNETT            51          IGLESIA METROPOLITANA SDA CHURCH    5990 Oakbrook Parkway Norcross GA 30093              1       7 am to 1 pm
GWINNETT            119         KNIGHT ELEMENTARY                   401 North River Dr Lilburn GA 30047                  1       7 am to 1 pm
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September 8, 2022

Georgia State Elections Board
Mr. William S. Duffey, Jr., Chair
Mr. Matthew Mashburn, Member
Mrs. Sara Tindall Ghazal, Member
Mr. Edward Lindsey, Member
Dr. Janice W. Johnston, Member
Secretary of State Brad Raffensperger, Ex Officio
214 State Capitol
Atlanta, Georgia 30334

Dear Chair Duffey and Members of the State Elections Board:

Media reports have recently confirmed allegations that Georgia’s voting system
software was accessed and copied by several unauthorized individuals These
individuals handled the sensitive files in a reckless manner, transferring them to
numerous people over the internet, who also have no authority to possess the
state’s voting software and data.1

As members of the computer science, cybersecurity, and election integrity
communities,2 we are writing to provide important context regarding the serious
threats this security breach poses to Georgia’s elections, and to urge you to address
the issue by taking specific actions to mitigate the heightened risks.

The immediate concern

The Secretary of State claims that his office has adequately addressed this security
breach by replacing one server in the one currently known affected county.
Replacing the server does not mitigate the breach, for reasons we shall explain.

The illegal copying of software and data (“disk images”) from the Georgia election
management system (EMS) and voting device software, which occurred more than
1 Emma Brown, Jon Swaine, Aaron C. Davis, Amy Gardner, “Trump-allied lawyers pursued voting
machine data in multiple states, records reveal,” The Washington Post, August 15, 2022. Available
at: https://www.washingtonpost.com/investigations/2022/08/15/sidney-powell-coffee-county-
sullivan-strickler/
2 The undersigned are all experts in election cybersecurity. Each of us has well over a decade of

continuous experience in that field and a long history of conducting technical studies of voting
systems or voting system-related cybersecurity, as well as writing, speaking, testifying, making
media appearances on many aspects of election integrity.
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20 months ago, constitutes a serious threat to Georgia’s election security. Those
images, which include the EMS, and its installation environment, were accessed
improperly by individuals and entities that have engaged in a campaign aimed at
overturning the 2020 election results in Georgia and other key states.3 While it is
prudent to assume that other nation states have had that software for a long time,
now countless individuals with unknown affiliations, motives, and physical access
to voting systems have it also. This increases both the risk of undetected cyber-
attacks on Georgia, and the risk of accusations of fraud and election manipulation.
Without trustworthy, physical records of voter intent (recorded by the hand of the
voter, not with vulnerable, computerized ballot marking devices), rigorous chain of
custody of ballots, and rigorous post-election auditing, such allegations will be
difficult, if not impossible, to disprove.

Georgia’s elections have a higher risk of compromise due to the reliance on
computerized Ballot-Marking Devices (BMDs) to record vote selections for in-
person voting.

To ensure resiliency, auditability and transparency in an election, it is essential that
there be a reliable, trustworthy record of each voter’s selections; this provides
ground truth of voter intent.4 This record should be the record used for audits and
recounts. Having a trustworthy physical record of voter intent allows
administrators to check and confirm that the vote tabulation is correct, and to catch
and correct any errors that may have occurred—regardless of their source.

In 2020 Georgia finally abandoned its insecure, paperless, touchscreen Diebold
voting machines. Ignoring recommendations from election security experts5 and
public preference,6 the Secretary of State successfully pushed the State legislature
to approve a universal use BMD touchscreen voting system. The BMD system has
put Georgia’s elections at a higher risk for tampering, disruption, or allegations of

3 Tierney Sneed, “Judge sanctions pro-Trump lawyers who brought ‘frivolous’ lawsuits,” CNN,
August 26, 2022. Available at: https://www.cnn.com/2021/08/25/politics/judge-sanctions-powell-
wood-kraken-lawsuits/index.html
4 “Report of the Auditability Working Group,” National Institute of Standards and Technology, 2010.

Available at: https://www.nist.gov/document/auditabilityreportxml-7htm
5 Dr. Wenke Lee, the only computer security expert on Secretary Raffesperger’s “Secure, Accessible,

Fair, Elections (SAFE) Commission, vigorously opposed the universal use of ballot marking devices.
Dr. Lee’s position was supported by 24 computer security experts who urged the SAFE Commission
to recommend against the universal use of BMDs.
6 Mark Neisse, “AJC poll: Georgians support paper ballots and oppose voter purges,” Atlanta Journal

Constitution, January 21, 2019. Available at: https://www.ajc.com/news/state--regional-govt--
politics/ajc-poll-georgians-support-paper-ballots-and-oppose-voter-
purges/mkdeIgUXtzJL6TFVbM6BVP/
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manipulation because all votes cast in a polling location are recorded using
vulnerable, computerized BMDs, and tabulated from QR codes, which voters
cannot check. The software breach in Coffee County has further increased this risk.

Vulnerabilities in the Ballot Marking Device (BMD) software can be exploited
to mis-record votes.

While serving as an expert witness in the Curling v. Raffensperger lawsuit in
federal court in Georgia, University of Michigan computer science professor J.
Alex Halderman, one of the nation’s foremost experts in voting system
cybersecurity, analyzed Dominion ICX BMD (touchscreen and printer) software.
Dr. Halderman found serious security vulnerabilities, some of which would allow a
voter to infect a BMD with malware while voting, with little likelihood of
detection. That malware could make the BMD print incorrect votes and spread
silently to other voting machines and the central election management system in
the county. Halderman’s findings confirm that Dominion ICX BMD printout is not
a reliable record of voter intent.7

The judge in Curling considered Prof. Halderman’s full report, dated July 1, 2021,
so sensitive that she ordered the report to be sealed. Halderman’s follow-on report,
dated July 13, 2021, is public and summarizes some of the conclusions of this
sealed report.8 Prof. Halderman’s findings were so concerning that he presented
them to the Department of Homeland Security’s Cybersecurity and Infrastructure




7 Research shows that voters rarely check machine-printed votes and rarely notice errors when they
do check. No audit can determine whether ballot-marking devices printed voters’ true selections: if a
substantial number of voters use ballot-marking devices, no audit can limit the risk that an incorrect
electoral result will be certified. See, e.g., Appel, A., R.A. DeMillo, and P.B. Stark, 2020. Ballot-
Marking Devices Cannot Ensure the Will of the Voters, Election Law Journal: Rules, Politics, and
Policy, 19, https://doi.org/10.1089/elj.2019.0619; Seventh Declaration of Philip B. Stark, 13
September 2020. Curling et al. v Raffensperger et al., United States District Court for the District of
Georgia, Northern Division 1:17-cv-2989-AT
https://coaltionforgoodgovernance.sharefile.com/share/view/s5ae19303763c45dfa5c8238cb58e47d8
(last visited 2 September 2021); Eighth Declaration of Philip B. Stark, 2 August 2021. Curling et al.
v Raffensperger et al., United States District Court for the District of Georgia, Northern Division
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(last visited 2 September 2021)
8 Declaration of J. Alex Halderman, 2 August 2021. Curling et al. v Raffensperger et al., United

States District Court for the District of Georgia, Northern Division 1:17-cv-2989-AT
https://coaltionforgoodgovernance.sharefile.com/d-s7d96b021c2d3419984512b56ff6eee95 (last visited
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Security Agency (CISA) which issued an advisory warning of the security
vulnerabilities.9

Still, the Secretary of State has inaccurately assessed the security threats to the
BMDs by repeatedly claiming that an attacker could only corrupt one device at a
time.10,11 This is incorrect. CISA’s vulnerability assessment confirmed Dr.
Halderman’s findings that there are several vulnerabilities that could be exploited
to spread malware from device to device, increasing the impact of an attack.12 The
Secretary’s failure to appreciate the gravity and urgency of this breach further
imperils Georgia’s elections.

Emergency measures can be taken to secure the election and maintain voter
confidence.

This newly heightened risk can be mitigated by critical but straightforward action.

First, Georgia should immediately discontinue the universal use of the Dominion
ICX BMD for in-person voters, and instead provide voters with emergency hand-
marked paper ballots to be tabulated by the current system’s optical scanners.
Georgia state election rules currently require:

       The Superintendent shall cause every polling place and advance voting
       location to have a sufficient number of blank paper ballots that can be
       marked by pen available for use in the event of emergency. The election
       superintendent shall also be prepared to resupply polling places with
       emergency paper ballots in needed ballot styles in a timely manner while
       voting is occurring so that polling places do not run out of emergency paper
       ballots.13

State rules explicitly direct election officials to prepare for the use of emergency
paper ballots, marked by pen. This means all election administrators and
pollworkers should already be trained in the distribution and use of paper ballots.

9 ICS Advisory (ICSA-22-154-01) Vulnerabilities Affecting Dominion Voting Systems ImageCast X,
June 3, 2022. Available at: https://www.cisa.gov/uscert/ics/advisories/icsa-22-154-01
10 Mark Neisse, “Handling of Georgia election breach investigation questioned,” Atlanta Journal

Constitution, September 4, 2022. Available at: Questions surround handling of election breach
investigation in South Georgia county (ajc.com)
11 Emma Hurt, “What’s going on with Coffee County?”, Axios, September 7, 2022. Available at: 2020

election investigation puts a spotlight on Coffee County, GA - Axios Atlanta
12 See supra note 9.
13 Georgia Rule 183-1-12-.01 Conduct of Elections, Available at: https://rules.sos.ga.gov/gac/183-1-12
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Georgia counties can scale up their existing procedures to shift the bulk of in-
person voting to paper ballots marked by pen. These ballots can be counted by the
tabulators currently in use: no new equipment, programming or training is needed.

Voters who need or prefer to mark a ballot with assistive technology can continue
to use BMDs with assistive technology. BMD units could also be used as a backup
balloting unit if the polling place runs short of a specific ballot style printed ballot.
Minimizing the use of the BMDs reduces the threat that BMD tampering can alter
election results.

Second, we urge you to use your authority to mandate a statewide post-election
risk-limiting audit (RLA) of the outcome for all contests on the ballot. Current SEB
practice is that only one state-wide contest be audited, every other year; this is
insufficient. This proposed audit should be done completely transparently, with
citizen observation, under the auspices of local county election officials. Post-
election auditing of the outcome requires a trustworthy paper trail of hand-marked
paper ballots with limited use of machine-marked ballots.

If a cyberattack, misconfiguration, bug, or procedural lapse changes the outcome, a
properly conducted RLA based on trustworthy paper ballots will correct the
outcome (with high probability). If the election outcome is correct in the first
place, the RLA will provide strong public evidence that it is, creating a “firewall”
against litigation and disinformation seeking to discredit the outcome.

We believe it is important that a public commitment to rigorous post-election
verification be made before Election Day. Otherwise, it may appear to be a partisan
decision, and there may be calls for other kinds of “audits” that are neither
scientifically grounded nor probative, but could spuriously undermine public
confidence in the election. We urge you to take the lead on the auditing issue early
and reassure Georgia voters that a thorough transparent audit will promptly follow
the election and be completed prior to certifying the results.

In bringing our concerns about the recent Dominion software compromise to your
attention we are not accusing Dominion of wrongdoing. Nor do we have evidence
that anyone currently plans to hack Georgia’s elections. However, it is critical to
recognize that the release of the Dominion software into the wild has measurably
increased the risk to the real and perceived security of the election to the point that
emergency action is warranted.
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We are all willing to discuss any of these points with you or your staff, either in
writing or by phone or videoconference. We would be happy to help swiftly design
a straightforward, practical, transparent statewide RLA process that will be a
model for how elections should be secured. We would like to be helpful in any
way that you find useful to defend against the threats posed by the escaped
Dominion code and newly discovered Dominion BMD vulnerabilities. Please do
not hesitate to call on us to assist.

Yours truly,

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Larry Diamond, PhD.
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Lowell Finley
Former California Deputy Secretary of State for Voting System Technology and
Policy (2007-2014)

Susan Greenhalgh
Senior Advisor for Election Security
Free Speech For People
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Past President National Association of Secretaries of State*

John E. Savage, PhD.
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Kevin Skoglund
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Professor, Department of Statistics
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*Affiliations below are provided for identification purposes only. The statements
and opinions expressed here are not necessarily those of our employers or
institutions.
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                                                                    September 2, 2021


Dr. Shirley N. Weber, Secretary of State
Office of the Secretary of State
1500 11th St.
Sacramento, California 95814


URGENT: Critical New Risks to the Recall Election Can Be Mitigated by the California
Secretary of State


Dear Secretary Weber:

As you know, about three weeks ago, binary images of the Dominion election management system (EMS)
were made public. While the software versions are not identical to those used in California, differences
are relatively minor: the release materially elevates threats to the trustworthiness of the ongoing
California recall election and to public trust in the election. We urge you to address the issue by taking
one critical action – a statewide risk-limiting audit (RLA) of trustworthy paper ballots – which can
substantially mitigate these threats.

The undersigned are all experts in election cybersecurity. Each of us has well over a decade of continuous
experience in that field and a long history of conducting technical studies of voting systems or voting-
related cybersecurity, as well as writing, speaking, testifying, making media appearances on many aspects
of election integrity. Several of us have served on special panels and task forces appointed by previous
California Secretaries of State and have worked closely with local election officials in California.

California has a long history of innovation and national leadership in election security. It was one of the
first states to audit elections, with an audit law dating back to the 1960s. It was one of the first states to
ban paperless voting systems as a result of a task force appointed by the Secretary of State. The 2007
California Top-To-Bottom Review (“TTBR”) was the first state-sponsored review of the security of
voting systems and was a huge contribution toward understanding the security issues in all computerized
voting systems. Risk-limiting audits (RLAs) were first developed as an outgrowth of a special working
group appointed by the Secretary of State, also in 2007, and the first pilot RLAs were conducted in
California counties with support from the Secretary of State. California was the second state to have
legislation authorizing RLAs and is in the second year of a second set of pilot audits. And California was
the first state to expose the dangers inherent in Internet voting, in the report of another Secretary of
State’s task force in 2000, and was among the first states to ban Internet connections of any kind to its
voting equipment. We are thus confident that California election officials are well positioned to take this
next step of election security leadership at this critical time.

We are also fully aware of the numerous technical and procedural safeguards California employs to
prevent many kinds of administrative errors and to defend against cyber-attacks of various kinds. Many of
these were pioneered in California and we acknowledge and applaud them. The security concerns we are
writing about here, however, are different from threats we have seen before, and cannot be fully defended
against by technical means. The only strong defense against them is the statewide RLA we are
recommending for the current election.
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The immediate concern

The illegal public release about three weeks ago of binary images of the Dominion election management
system (EMS) software and its installation environment constitutes a serious threat to the recall election.
Two of the images came from Mesa County, Colorado, and one came from Antrim County, Michigan.
Those images, which include the EMS and its installation environment, have been widely downloaded.
While it is prudent to assume that other nation states have had that software for a long time, thousands of
other people with unknown affiliations, motives, and physical access to voting systems now have it also.
That increases the risk of undetected outcome-changing cyber-attacks on California counties that use
Dominion equipment and the risk of accusations of fraud and election manipulation which, without
rigorous post-election auditing, would be impossible to disprove. While the versions of the Dominion
software that were released are not identical to the versions used in California, they are closely related, so
this security breach imperils California elections.

Heightened risk of cyber-attack directed against Dominion counties in the recall election

Every complex software system has bugs and security flaws. Cybersecurity research has shown that
election software has more than its share. Since that software is usually kept proprietary and secret,
however, relatively few people have had the opportunity to examine, instrument, and test it closely
enough to find exploitable flaws.

This is now no longer the case, at least with Dominion software. As of August 2021, thousands of
unknown people can study the code and find weaknesses to plan attacks on elections. The attacks can be
deployed by non-technical accomplices, including voters, building maintenance personnel, and election
workers. Unfortunately, even extensive pre-election testing of the voting equipment may not deter or
detect such attacks.

The Dominion software from Antrim County has been studied in detail recently by University of
Michigan computer science professor Alex Halderman, one of the nation’s foremost experts in voting
system cybersecurity.1 While serving as an expert witness in the Curling v. Raffensperger lawsuit in
federal court in Georgia, Prof. Halderman found very serious security vulnerabilities in the Dominion
Ballot Marking Device (BMD) system, some of which would allow an ordinary voter to insert malware
into a BMD during a voting session, with little likelihood of detection. That malware could spread
undetected to other voting machines and potentially to the central election management system (EMS) in
the county. 2 That EMS software is now in the hands of countless unauthorized people after the Mesa and
Antrim releases. Prof. Halderman’s full report, dated July 1, 2021, is so sensitive that the Court in Curling
v. Raffensperger ordered that it be sealed. We urge you to file a motion with Judge Totenberg to obtain a



1
  Dr. Halderman recently was engaged by Michigan Secretary of State, Jocelyn Benson, to conduct a review of the
Antrim County, Michigan Dominion Voting System after human error caused vote count discrepancies in the
November 2020 election. (https://www.michigan.gov/documents/sos/Antrim_720623_7.pdf )
2
  Declaration of J. Alex Halderman, 2 August 2021. Curling et al. v Raffensperger et al., United States District Court
for the District of Georgia, Northern Division 1:17-cv-2989-AT https://coaltionforgoodgovernance.sharefile.com/d-
s7d96b021c2d3419984512b56ff6eee95 (last visited 2 September 2021). In his public declaration Dr. Halderman
writes “Attackers could exploit these flaws [in Dominion code] to install malicious software, either with temporary
physical access (such as that of voters in the polling place) or remotely from election management systems. I explain
in detail how such malware, once installed, could alter voters’ votes while subverting all the procedural protections
practiced by the State, including acceptance testing, hash validation, logic and accuracy testing, external firmware
validation, and risk-limiting audits (RLAs). Finally, I describe working proof-of-concept malware that I am prepared
to demonstrate in court.”
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confidential copy of Prof. Halderman’s sealed report to inform your cybersecurity team of the
vulnerabilities he discovered.

In raising our concerns about the Dominion software release we are not accusing Dominion of
wrongdoing. Nor do we have evidence that anyone currently plans to hack the recall election. However, it
is critical to recognize that the release of the Dominion software into the wild has increased the risk to the
security of California elections to the point that emergency action is warranted.

Emergency measure to secure the election and maintain voter confidence

This newly heightened risk can be mitigated by critical but straightforward action. We urge you to use
your authority to mandate a statewide post-election risk-limiting audit of the outcome for the two
questions on the recall ballot. RLAs have become the widely acknowledged gold standard of post-election
auditing. This proposed audit should be done completely transparently, with citizen observation, and
under guidance from your office (not vendors or third parties) and under the auspices of local county
election officials to maintain Californians’ strong voter confidence. RLAs of the outcome require a
trustworthy paper trail of hand marked paper ballots with limited use of machine-marked ballots.3 At least
17 of California’s 58 counties—of vastly different sizes and using a broad spectrum of voting systems
from different vendors—have already conducted pilot RLAs, so the process is well understood by local
election officials. Because the same two contests are on every ballot in the state, a RLA of the recall
election is especially straightforward and efficient.

If an actual cyberattack silently changes the outcome of the election, or any other procedural or software
error does, a properly conducted RLA based on trustworthy paper ballots will detect it and correct it (with
high probability). If the election outcome is correct in the first place the RLA will provide strong public
evidence that it is, creating a “firewall” against litigation and disinformation seeking to discredit the
outcome.

We believe it is important that a public commitment to such post-election verification be made before
Election Day. Otherwise, it may appear to be a partisan decision, and there may be calls for other kinds of
“audits” that are neither scientifically grounded nor probative, and that would likely undermine public
confidence in the election. We urge you as California’s chief election official to take the lead on the
auditing issue early and reassure California voters that a thorough transparent audit will promptly follow
the election and be completed prior to certifying the results.

We are all willing to discuss any of these points with you or your staff, either in writing or by phone or
videoconference or in person in Sacramento. We would be happy to help swiftly design a straightforward,
practical, transparent statewide RLA process that will be a model for how high-profile elections should be
secured. We would like to be helpful in any way that you find useful to defend against the threats posed

3
 Research shows that voters rarely check machine-printed votes and rarely notice errors when they do check. No
audit can determine whether ballot-marking devices printed voters’ true selections: if a substantial number of voters
use ballot-marking devices, no audit can limit the risk that an incorrect electoral result will be certified. See, e.g.,
Appel, A., R.A. DeMillo, and P.B. Stark, 2020. Ballot-Marking Devices Cannot Ensure the Will of the Voters,
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by the escaped Dominion code and newly discovered Dominion BMD vulnerabilities. Please do not
hesitate to call on us to assist. Our contact information is listed with our names below.

Sincerely, and best wishes,

    All affiliations below are provided for identification purposes only. The statements and opinions
    expressed here are not necessarily those of our employers or institutions.

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December 12, 2022

The Honorable Merrick Garland
Special Counsel Jack Smith
U.S. Department of Justice
950 Pennsylvania Ave., N.W.
Washington, D.C. 20530-0001
The Honorable Christopher Wray
Assistant Director Robert Wells
Federal Bureau of Investigation
935 Pennsylvania Avenue
Washington, D.C. 20530-0001

The Honorable Jen Easterly
Director
Cybersecurity & Infrastructure Security Agency (CISA)
Department of Homeland Security
Washington, DC 20023



Dear Attorney General Garland, Special Counsel Smith, Director Wray, Assistant
Director Wells, and Director Easterly,
       Elections form the foundation for the legitimacy of government in the
United States. Protecting the security of our elections constitutes a top national
security priority, and we appreciate the work the Department of Justice and the
Department of Homeland Security have done to address threats to election
security.
        We1 are writing to you to call attention to significant multi-state events
impacting ongoing election security which were first revealed in discovery in a
civil lawsuit by a non-governmental plaintiff.2 Because these events were revealed

1
  Free Speech For People is a non-profit, non-partisan public interest legal organization that works to
renew our democracy and our United States Constitution for the people. As part of our mission, we
are committed to promoting, through legal actions, secure, transparent, trustworthy and accessible
voting systems for all voters. We are not parties or counsel in the civil litigation referenced in this
letter. The coalition of signatories includes renowned computer security experts and election experts.
2 Emma Brown, Jon Swaine, “Inside the secretive efforts by Trump allies to access voting machines,”

The Washington Post, October 28, 2022. Available at:
https://www.washingtonpost.com/investigations/2022/10/28/coffee-county-georgia-voting-trump/


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in a private lawsuit rather than through a law enforcement investigation, the
significance and consequences may not have registered with the relevant federal
agencies. Specifically, we are writing regarding the multi-state plan, directed and
funded by attorneys for Donald Trump—including Sidney Powell, Lin Wood, and
Jesse Binnall—to access voting systems and obtain and distribute copies of voting
system software unlawfully,3 which could potentially constitute federal crimes and
be relevant to investigations into efforts to overturn the 2020 presidential election.
        The same software is used in voting systems across the U.S. Its
misappropriation and distribution pose serious risks to the credibility and
trustworthiness of election results. The matter urgently requires your agencies’
attention. This alarming development was not addressed in the Public Service
Announcement (PSA), published by CISA on October 4, 2022. 4 On October 28,
2022, news reports confirmed that the Department of Homeland Security, the
Federal Bureau of Investigation, the U.S. Capitol Police, and the National
Counterterrorism Center released a joint intelligence assessment warning that
violent domestic extremists pose a heightened threat to the security of the 2022
mid-term elections.5 Federal security agencies are rightly concerned about potential
attacks on elections. But because the unauthorized access and copying of election
system software was uncovered by private action, it appears that the consequences
of those activities —orchestrated by individuals associated with domestic
extremists—have not been factored into these risk assessments. We write to
highlight this important information for your agencies to integrate it into threat
assessments, criminal investigations, and risk mitigations.


1. Executive Summary
    According to evidence obtained in a civil lawsuit, attorneys and allied advisors
for Donald Trump directed and funded a plot that included copying voting system
software from multiple jurisdictions in multiple states. The operatives successfully
obtained software from both Dominion Voting Systems and Election Systems &

3 Jon Swain, Aaron C. Davis, Amy Gardner, Emma Brown, “Files copied from voting systems were
shared with Trump supporters, election deniers,” The Washington Post, August 22, 2022. Available
at: https://www.washingtonpost.com/investigations/2022/08/22/election-system-copied-files-trump/
4 Available at: https://www.ic3.gov/Media/PDF/Y2022/PSA221004.pdf
5 Geneva Sands, Sean Lyngass, “Feds warn that domestic violent extremists pose heightened threat

to midterm elections,” CNN, October 28, 2022. Available at:
https://www.cnn.com/2022/10/28/politics/midterm-domestic-extremist-threat/index.html


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Software (ES&S).6 Together, ES&S and Dominion equipment and software count
more than 70% of the votes in the U.S.7
   Now that the Dominion and ES&S software has been accessed and distributed
by individuals without authorization, the election system software is considered to
be “in the wild,” available to an unknown number of people and organizations that
could use the software to undermine, disrupt, or tamper with elections in a number
of ways.8
     Access to the software enables bad actors to install the software on their own
hardware to create their own exact replicas of voting systems, probe them, and
develop exploits. They can decompile the software to get the source code, study it
for vulnerabilities, and develop malware tailored to the system. Such malware can
be loaded onto systems by a poll worker, maintenance worker, or even a voter:
little physical access is needed.9 Nor is Internet access needed. Bad actors could
use the software to develop ways to cause the system to malfunction to prevent
voters from voting or to manipulate the vote count.
   Moreover, access to this software may also be used in service of disinformation
campaigns to cast doubt on legitimate election results. Perhaps the most easily
executed attack would be to simply use the software as the basis of fabricated
evidence of election manipulation to delegitimize the results and destabilize our
government.10

6 Emma Brown, Jon Swaine, Aaron C. Davis, Amy Gardner, “Trump-allied lawyers pursued voting
machine data in multiple states, records reveal,” The Washington Post, August 15, 2022. Available
at: https://www.washingtonpost.com/investigations/2022/08/15/sidney-powell-coffee-county-sullivan-
strickler/
7 https://verifiedvoting.org/verifier/#mode/navigate/map/makeEquip/mapType/normal/year/2022
8
  The threats to election security posed by the unauthorized distribution of voting system software
are described in detail in the July 14, 2022 statement from the OSET Institute “Increasing Concerns
About Amplified Threats To Voting Systems,” available at: https://trustthevote.org/wp-
content/uploads/2022/07/14July22_StatementOnPublicDisclosures.pdf.
9 University of Michigan Professor J. Alex Halderman, one the nation’s foremost experts on election

system security, examined the Dominion Voting System ballot marking device for the Curling
lawsuit and documented multiple security vulnerabilities that could be exploited. Though his
detailed report remains sealed by the Court, Prof. Halderman submitted a public declaration
recounting a high level summary of his findings, which includes this statement, “Attackers could
exploit these flaws to install malicious software, either with temporary physical access (such as that of
voters in the polling place) or remotely from election management systems.” No. 17-cv-02989-AT (N.D.
Ga. filed Aug. 8, 2017). Document 1304-3
10 We have already seen this play out. Matt DePerno, a former candidate to be Michigan’s Attorney

General and prominent figure in denying the results of the 2020 election, used access to voting
system software to support allegations of election fraud. See: “Michigan Candidate Matt DePerno
Boasts of Effort Showing How to Stuff Ballots,” Deadline Detroit, September 3, 2022. Available at:


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       Insider attacks by temporary election workers are an increasing threat to
election security. A statement issued by the Bipartisan Policy Center warned:
“There is mounting concern that temporary election workers recruited and trained
by organizations with nefarious intent may undermine security and trust in the
election process.”11 Since organizations with likely nefarious intent also now
possess copies of voting system software, this creates a profound threat scenario.
       Though some of the impacted states are reportedly pursuing individual
criminal investigations, 12 the coordinated, multi-state plan by Powell indicates
there could be potential federal criminal liability that compels intervention by the
Department of Justice.
       Furthermore, we ask that the Department of Justice’s National Security
Division and the Department of Homeland Security’s Cybersecurity and
Infrastructure Security Agency (CISA) urgently assess the increased threats to
election security posed by the unauthorized distribution of voting system software
to individuals who have already spread misinformation and may attempt to disrupt
elections, and factor these threats into activities to protect elections.
       Because the multistate plan was not discovered by local or state law
enforcement (which presumably would have shared such findings with the
Department of Justice through normal channels) but by the private civil litigation
Curling v. Raffensperger, we are writing (1) to urge the Department of Justice and
the Department’s Special Counsel to investigate this coordinated plot to copy
election system software from multiple states; and (2) to urge the Department of
Justice’s Counterterrorism Division and the Department of Homeland Security’s
CISA to assess the ongoing threats introduced by the distribution of voting system
software, and calibrate efforts to protect elections to include those risks.




https://www.deadlinedetroit.com/articles/31208/michigan_candidate_matt_deperno_boasts_of_effort_
showing_how_to_stuff_ballots
11 Grace Gordon, Rachel Orey, “Closing Gaps in Poll Worker Policy,” The Bipartisan Policy Center,

October 3, 2022. Available at: https://bipartisanpolicy.org/explainer/poll-worker-policy/
12 Nathan Layne, “Republican clerk could be charged in Michigan voting-system breach,” Reuters,

October 4, 2022. Available at: https://www.reuters.com/legal/exclusive-michigan-police-ask-
prosecutors-consider-charging-republican-clerk-2022-10-04/


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2. Background
       In 2017, a public interest organization and individual voters filed a lawsuit in
federal court in Georgia challenging the use of the state’s voting equipment,
Curling v. Raffensperger.13 The case, now in its second phase, is being heard by
the Honorable Amy Totenberg in the Northern District of Georgia. (Curling v.
Raffensperger does not allege any election has been incorrectly decided.) In the
course of discovery, plaintiffs obtained evidence that certain individuals had
accessed voting equipment in Coffee County, Georgia, and copied all election data
and the software that records, counts, and reports votes.14 This software is used in
all of Georgia’s 159 counties, making this a breach of the entire state’s software
and system. (Similar versions of the software are used in other jurisdictions,
including Riverside, California, and Washington County, Pennsylvania.) Plaintiffs
sought additional discovery to ascertain what had happened in Coffee County.15
       Through evidence obtained in discovery, the plaintiffs have established that
the data management firm SullivanStrickler was engaged by Sidney Powell to go
to the Coffee County, Georgia, elections office and image all Dominion voting
system equipment and devices.16 Cathy Latham, an influential Georgia Republican
Party official, and an “alternate elector,” represented by Sidney Powell and Lin
Wood in then-pending litigation to overturn the 2020 election, was a key local
Coffee County organizer of the software collection effort. The plaintiffs in Curling
also obtained surveillance camera video that shows several individuals, including
Doug Logan of the Cyber Ninjas, visiting the Coffee County election office over
the course of several days for extensive equipment access.17 Plaintiffs also obtained
copies of SullivanStrickler’s voting system equipment forensic images and system



13
   No. 17-cv-02989-AT (N.D. Ga. filed Aug. 8, 2017). Affidavits and depositions referred to herein are
available at this docket.
14 Jose Pagliery, “Texts Reveal GOP Mission to Breach Voting Machine in Georgia,” The Daily Beast,

June 5, 2022. Available at: https://www.thedailybeast.com/how-a-coffee-county-gop-chair-
coordinated-a-voting-machine-breach
15 Jose Pagliery, “Subpoenas Probe GOP Mission to Breach Georgia Voting System,” The Daily Beast,

June 15, 2022. Available at: https://www.thedailybeast.com/subpoenas-probe-gop-mission-to-breach-
georgia-voting-system
16 Mark Niesse, “Georgia election data copied under direction of Trump attorney,” The Atlanta

Journal Constitution, August 16, 2022. Available at: https://www.ajc.com/politics/georgia-election-
data-copied-under-direction-of-trump-attorney/XCPM33PXC5ABJN6UXG645EXLM4/
17 Kate Brumback, “Video fills in details on alleged Ga. election system breach,” The Associated

Press, September 6, 2022. Available at: https://apnews.com/article/2022-midterm-elections-
technology-donald-trump-voting-92c0ace71d7bee6151dd33938688371e


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logs.18 These show that the forensic images (containing the system software) have
been uploaded over the Internet to an online ShareFile site and downloaded
multiple times by other parties, including Conan Hayes. Hayes is implicated in the
copying of voting system software in Mesa County, Colorado, and in the copying
and unauthorized distribution of Antrim County, Michigan, software.19
      Because credentials were shared and because the downloaded software may
have been copied and shared, it is not possible to know how many people in the
United States or abroad currently possess the Dominion Voting System software
taken from Coffee County and used in hundreds20 of other U.S. jurisdictions.
      The Curling plaintiffs have amassed emails, contracts and other
documentation that show SullivanStrickler was hired and paid by Sidney Powell to
copy and distribute the software. The contracts show that Powell hired
SullivanStrickler to access and copy voting system software in Georgia, Michigan,
and Nevada, making this a multi-state enterprise.21


3. The Georgia state election officials’ response has been inadequate, and doesn’t
   reflect the severity of the breach, slowing state and federal law enforcement
   responses.
        Evidence that the security of the voting system in Georgia may have been
compromised first surfaced in December of 2020, when the Coffee County
Election Director, Misty Hampton, posted a video to YouTube critical of the
voting system.22 In the video, which went viral, the password for the election
management server is visible on a post-it note on Hampton’s computer. According
to testimony from the Secretary of State’s office, the office opened an investigation

18 See ECF No. 1518-1, available at
https://storage.courtlistener.com/recap/gov.uscourts.gand.240678/gov.uscourts.gand.240678.1518.1.p
df; ECF No. 1518-2, available at
https://storage.courtlistener.com/recap/gov.uscourts.gand.240678/gov.uscourts.gand.240678.1518.2.pdf.
19 See supra note 3.
20https://verifiedvoting.org/verifier/#mode/search/year/2022/equipment/Ballot%20Marking%20Device/

make/Dominion%20Voting%20Systems/model/ImageCast%20X%20BMD
21 Emma Brown, Jon Swaine, Aaron C. Davis, Amy Gardner, “Trump-allied lawyers pursued voting

machine data in multiple states, records reveal,” The Washington Post, August 15, 2022. Available
at: https://www.washingtonpost.com/investigations/2022/08/15/sidney-powell-coffee-county-sullivan-
strickler/
22 Doug Richards, “Coffee County attention started with YouTube video,” 11Alive, September 29,

2022.Available at: https://www.11alive.com/article/news/politics/elections/coffee-county-youtube-
election-dominion-vote/85-14b18082-6f80-4657-8e37-b27e0d892735


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into the video and the posting of the password.23 While the Secretary’s
investigators ultimately recommended penalties for failure to secure the doors to
the election server room, 24 they apparently made no effort to review available
video surveillance records to determine whether the server or server room security
had been breached.25 In fact, on January 26, 2021, the investigator charged with the
investigation of the posted password and video happened upon one of the Cyber
Ninja’s colleagues, Jeffrey Lenberg, in Ms. Hampton’s office with voting
equipment made available to Lenberg for unauthorized access and testing.26 There
is no evidence that appropriate inquiry or further investigation ensued.
       Misty Hampton resigned to avoid termination in February 2021.27
       In May 2021, her successor, James Barnes, wrote the Secretary of State’s
office because he was alarmed to find a business card from Doug Logan of Cyber
Ninjas under the election director’s computer. 28 Staff in the Secretary’s office
forwarded the message to the Secretary’s chief investigator, asking her to
investigate. According to an email produced in discovery, the Secretary’s office
planned to initiate an investigation to determine whether Cyber Ninjas had
accessed the equipment.29 The investigator acknowledged the email but, according
to Barnes, no state investigation ensued.30
      Weeks later, Barnes needed to access the election management server, but
found that the password he had been given did not work. He reported this to the
Secretary’s office. Technicians made a limited troubleshooting effort but were
unable to access the server.31 They replaced the server and central scanner
workstation on June 8, 2021.32 This incident, which suggested that someone had
improperly changed the password, did not trigger any investigation into

23 Germany Aff.¶ 7 Document 1444-1 filed August 8, 2022.
24 See State Election Board Transcripts for 2021, available at:
https://sos.ga.gov/sites/default/files/2022-02/2021_seb.pdf
25 Georgia Secretary of State Investigation Summary, September 28, 2021, available at:

https://www.dropbox.com/s/7jj34weu5pwy0a6/SEB%20investigation%2020-250.pdf?dl=0
26 “Georgia video, testimony at odds,” Northwest Arkansas Democrat Gazette, September 21, 2022.

Available at: https://www.nwaonline.com/news/2022/sep/21/georgia-video-testimony-at-odds/
27 “Coffee Co. elections supervisor named in investigation resigns,” WALB News, March 31, 2021.

Available at: https://www.walb.com/2021/03/31/coffee-co-elections-supervisor-named-investigation-
resigns/
28
   Barnes Dep. Page 55. Document 1440-1 filed July 29, 2022.
29 Available at: SOS investigation Doug Logan. .pdf - Dropbox
30 Barnes Dep. Pages 160-168 Document 1440-1 filed July 29, 2022.
31 Barnes Dep. Pages 106-110 Document 1440-1 filed July 29, 2022.
32 Document 1377 and 1377-4.




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unsanctioned voting system and software access in Coffee County. After taking
possession of the potentially compromised server, the Secretary’s office did not
make meaningful efforts to access the contents of the server, nor did it examine the
system forensically to determine whether there had been unauthorized access as
Mr. Barnes had feared when he alerted the Secretary’s office in May 2021.
       In late February 2022, the plaintiffs shared with the Secretary’s staff an
audio recording of a call from an individual associated with the Trump campaign
who was one of the organizers of the breach in Coffee County.33 But in the
following months, there was still no indication that the Secretary was investigating
the allegations. On April 7, 2022, the Secretary of State’s office represented to the
court that it opened an investigation immediately after it received a recording of
the phone call on March 2, 2022.34 But records show the investigation was not
actually opened until April 25, 2022—18 days after telling the court that the
investigation had been opened.35
        Public statements from the Secretary’s office suggest that for many months
it failed to investigate the evidence of improper access to voting systems. In April
2022, Secretary Raffensperger claimed his office was investigating but found no
evidence a breach had occurred.36 That same month, at an event at the Carter
Center, the Interim Georgia Deputy Secretary of State Gabriel Sterling summarily
dismissed concerns of a breach in Coffee County, stating emphatically that the
breach “did not happen.”37
        While an investigation may have been “opened” on paper in late April 2022
by the Secretary and the State Election Board, their investigators made no efforts
to interview Coffee County officials or potential witnesses, or request documents,
obtain missing emails, or video surveillance records from Coffee County.38 Nor
was there a meaningful effort to forensically examine the seized server, now
known to contain evidence of the January 7, 2021, breach.




33 See supra note 2.
34 April 7, 2022 hearing transcript, available at: http://freespeechforpeople.org/wp-
content/uploads/2022/11/court-transcript-4.7.22.pdf
35 Germany Aff.¶ 26, Document 1444-1 filed August 8, 2022.
36 See supra note 21.
37 Restoring Confidence in American Elections | Panel 3 (April 29, 2022) - YouTube at 35:30
38 Barnes Dep. Pages 160-161 Document 1440-1 filed July 29, 2022




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      Only in August 2022, months after the breach was publicly reported, did the
Secretary—at the direction of the State Election Board Chair39 —bring in the
Georgia Bureau of Investigation, which opened an investigation.40
    Thus, despite numerous concerning incidents, there is no indication Georgia
state authorities did anything to investigate the statewide system breach until more
than a year had passed. Sorting out the facts around the Coffee County incident and
the Secretary’s slow response has been further complicated by conflicting
statements provided by the Secretary to the press and courts.41 The Secretary’s
delay in alerting Georgia law enforcement to this issue delayed Georgia
authorities’ sharing information with the U.S. Department of Justice, Georgia
Fusion Centers, and CISA—including the fact that this was a coordinated, multi-
state plan orchestrated and funded by Donald Trump’s campaign attorneys.


4. Failure of the Georgia Secretary of State to respond to the security threats
   appropriately may also undermine a federal response to protect elections.
       In public statements, the Georgia Secretary of State and his representatives
have downplayed ongoing and escalating security threats stemming from the
breach, claiming that the breach was sufficiently addressed by the removal of
Misty Hampton and the replacement of the election server in 2021.42 The
Secretary’s office has even dismissed concerns that the copying and distribution of
the software poses ongoing risks as “fear-mongering.”43
      The inadequacy of the state’s response to this breach is clear in sworn
testimony by Georgia’s own Chief Information Officer (CIO), Merritt Beaver.44 In
a deposition taken before the incident in Coffee County was confirmed, the CIO
was asked hypothetically, “Can you explain what are the reasons that election

39
   Retired federal judge, The Honorable William S. Duffey, Jr., serves as the Chair of Georgia’s State Election
Board.
40 See supra note 3.
41 “Questions raised in timeline of state response to Coffee County breach,” 11Alive, September 26,

2022. Available at: https://www.11alive.com/article/news/politics/coffee-county-breach-timeline-
georgia-secretary-of-state-brad-raffensperger-response/85-f3d75b6f-6ba8-445b-88d6-7fda894358be
42
   Gabriel Sterling on CNN’s “Out Front with Erin Burnett,” CNN Transcripts, September 7, 2022.
Available at: https://transcripts.cnn.com/show/ebo/date/2022-09-07/segment/01
43 https://twitter.com/GabrielSterling/status/1576298738892836864
44 Mark Neisse, “Georgia election security chief splits time with second state job,” Atlanta Journal

Constitution, August 5, 2022. Available at: https://www.ajc.com/politics/georgia-election-security-
chief-splits-time-with-second-state-job/SNR3WHSJIFB6RDAI3L6M7A43RE/


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software is not released to the public?” He responded, “It’s pretty obvious. You
don’t expose your—basically your system to the public because they—basically
you're giving them a road map to how to basically get in and access the system.” 45
But the Secretary’s office has denied the unauthorized copying of the software
poses any “long-term security threats,”46 and has not adopted additional safeguards
to protect future elections.
       We raise these facts not to embarrass the Secretary’s office, but because they
provide important context for federal agencies to respond efficiently and
effectively. The failure of Georgia’s state election officials to investigate the
events in Coffee County promptly, and the refusal of the Secretary to mitigate the
danger to the entire statewide system demonstrate two things: 1) the Secretary’s
office remains poorly informed about the events in Coffee County, and therefore
the Department of Justice and the Department of Homeland Security should seek
information from other sources, including from the plaintiffs and their attorneys in
Curling; and 2) federal guidance is urgently needed to address the security risks
posed by the unlawful access to and distribution of voting systems by entities that
have demonstrated intentions to disrupt and destabilize U.S. elections going
forward.


5. The Georgia system compromise is far more expansive and poses greater
   election security threats than the better understood serious breaches in other
   states.
       Before the revelations of the breach of Georgia’s statewide system, county-
level voting system breaches had been documented in multiple states including
Michigan, Colorado, and Pennsylvania.47 These serious security compromises are
less threatening than the Georgia statewide breach, for multiple reasons:




45 Beaver Dep. Document 1368-3 Page 157-158.
46 Mark Niesse, “Video shows fake elector aided copying of Georgia election data,” The Atlanta
Journal Constitution, September 6, 2022. Available at: https://www.ajc.com/politics/video-shows-
fake-trump-elector-aided-copying-of-georgia-election-data/NQM2F4KKMNGKRBHEAUSH6ALTGU/
47 Alexandra Ulmer and Nathan Layne, “Trump allies breach U.S. voting systems in search of 2020

fraud ‘evidence,’” Reuters, April 28, 2022. Available at: https://www.reuters.com/investigates/special-
report/usa-election-breaches/


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      1) Unlike other states, Georgia uses the same software in each county: every
Georgia county’s software was taken. The other states use multiple vendors and
software versions, so a breach in any one county is not a statewide breach.
       2) Unlike Michigan, Colorado, and Pennsylvania, the programming and
configuration of the machines is coordinated at the state level, creating a “single
point of failure” for an attacker who may want to attack multiple counties or
polling locations.
       3) Georgia is the only state using touchscreen Ballot-Marking Devices
(“BMDs”) as the primary voting system for in-person voting. The paper trail
produced by BMDs is inherently untrustworthy: it is a record of what the BMD
did, not what the voters did. In contrast, the other states primarily use hand-marked
paper ballots, which makes it possible for audits and recounts to detect and correct
wrong outcomes. Georgia’s voting system does not support such auditing or error
detection.48
      4) Georgia’s breach, unlike the others mentioned, encompassed the Election
Management Server, scanners, touchscreen BMDs, electronic pollbooks, and all
system components. Other states’ breaches generally obtained access to fewer
voting-system components.
       Another difference between the incidents in other states and in Coffee
County, Georgia, is that everywhere else, the chief state election officials promptly
engaged law enforcement, exercised their authority to contain the fallout, and made
public the risk, enforcement measures, and mitigation efforts. State authorities
investigated and enforced their laws and the cases were regarded as isolated. At the
time, there was no public evidence that the breaches were connected—but now
there is.




48Andrew Appel, Rich DeMillo, Philip Stark, “Ballot Marking Devices (BMDs) Cannot Ensure the
Will of the Voters,” December 27, 2019. Available at:
https://papers.ssrn.com/sol3/papers.cfm?abstract_id=3375755


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6. Conclusion
       One of the most significant revelations uncovered by the plaintiffs in
Curling v. Raffensperger is that the Coffee County breach was just one element of
a coordinated plan to access and copy voting system software from multiple states,
multiple jurisdictions, and different voting system vendors,49 by lawyers acting on
behalf of the Trump campaign, possibly constituting federal crimes. Because this
plot was orchestrated by individuals currently under investigation for their attempts
to overturn the 2020 presidential election, it is possible that the coordinated effort
to obtain voting system software was also part of an ongoing conspiracy to
overturn elections. This calls for a vigorous and swift investigation by the
Department of Justice, the Special Counsel, and the Federal Bureau of
Investigation. Because the Georgia Secretary of State and State Election Board
failed to investigate in a serious or timely manner, and to ensure that you get the
most complete and accurate information regarding the Georgia breach, we urge
you to seek information from the plaintiffs in Curling.
       In addition, the Department of Homeland Security and Department of
Justice’s Division of Counterterrorism should immediately assess how the release
of the software may affect the security of future elections and recommend security
mitigations. Potential avenues of attack could include fabricating false evidence for
disinformation campaigns, disrupting elections to prevent voting or cast doubt on
the integrity of the process, or even altering the results. Your agencies’ awareness,
monitoring, and readiness for action is needed, since exploits may occur with little
warning.
     We thank you very much for your consideration and stand ready to assist in
any way we can.


Sincerely,


 Susan Greenhalgh                           Ron Fein
 Senior Advisor for Election Security       Legal Director
 Free Speech For People                     Free Speech For People
 Susan@FreeSpeechForPeople.org              RFein@FreeSpeechForPeople.org

49   See supra note 2.


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                                      Association of Secretaries of State*

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STATEMENT

         Increasing Concerns About Amplified Threats to Voting Systems

July 14, 2022 Palo Alto, CA. Over the past three weeks the OSET Institute has been encouraged
to offer its position on questions about the public, but unauthorized availability of certain intellectual
property (IP) assets related to certified, installed and operational voting systems and the potential
risk or threat to election security involving those voting system technologies. It has been suggested
that such a statement could be helpful to courts, legal counsels, media, and other interested
members of the public. Ten percent of our public benefit services is election cyber-security
advisory, which we have provided to state and federal agencies including elements of the national
security apparatus for over a decade. The Institute’s nonprofit mission also includes public
education about election administration technology. Our senior most technologists have decades of
experience in the analysis, design, and engineering of cyber, digital, and information security
systems and services. And our team is fortified with several veteran election administrators. Backed
by those capabilities and experience, we provide the following statement on the topic of risks
posed by unauthorized public disclosure of election technology IP assets.

The Situation
Recent news about Dominion’s voting system products has created concern that these products
are at increased risk for compromise. Specifically,
    1. CISA has issued a security advisory;
    2. There was a recent wholesale disclosure of Dominion voting technology, related IP, and
         data in Coffee County, GA by improper access; and
    3. Proceedings of a Georgia lawsuit could potentially result (at some point) in wider availability
         of information about Dominion products.1

In the case of Coffee County, this included at least, but may not have been limited to, unauthorized
acquisition and potential disclosure of disk images that contain all the data and software of an
Election Management System (EMS). This is essentially the same type of information that was
improperly obtained from Mesa County CO’s elections office, and used as the basis for a quasi-
technical report falsely claiming proof of a stolen election. In the Coffee County case, it remains
unknown whether the acquisition and disclosure2 of Dominion technology was less than, equal, or
greater in breadth and depth, thereby exacerbating an already serious situation.



1
    To be clear, any disclosures here would be due to the Court releasing currently sealed documentation. There
    certainly is no intent to implicate any unauthorized disclosures or violations of protective orders by either party.
    Plaintiffs did perform a civic duty in tracking down and publicizing a breach by certain external non-
    governmental operatives abetted by insiders in Coffee County that occurred in 2020.
2
    It is also important to distinguish disclosure from publication; the first is bad enough, whereas the latter could
    be catastrophic. We are unaware of any publication in the Coffee County incident at this time, and it is
    unconfirmed how many have had access so far (i.e., recipients of a disclosure).


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The Institute is seriously concerned about these unauthorized disclosures3 of election technology IP
and the concerns outlined in our opening raise two questions:

    1. Will the Coffee County (or any jurisdiction) release make it significantly easier for adversaries
       to attack future elections, or attack voting systems used in them?

    2. If so, should these releases be stopped and future releases prevented (if possible)?

The short answer is that these releases are dangerous, regardless of any difference of opinion
among technologists about whether such disclosure would be significantly easier, slightly easier, or
simply catastrophic. And they must be prevented at all costs. Yet, their potential availability on the
public Internet makes prevention a nearly impossible task— the proverbial cat is out of the bag.

Given the very challenging threat environment described next, even the slightest increase in ease of
attack is an increase that must be avoided.

The Threat Environment
The current threat environment is daunting. Consider:

●   The basic design of current voting system products (Dominion included) makes them
    fundamentally vulnerable to cyber-attack to change code, inject code, and/or tamper with data.

    ○    Voting system components are not fundamentally different from a typical personal
         computer (PC): subject to the installation of malware, to accidental or malicious
         modification of original software, modification of critical data by malicious or tampered
         software.
●   Every independent review of every voting system in the last 15-years has shown that these
    products not only have these fundamental security weaknesses, but also are rife with poor
    quality software and many vulnerabilities, including those that are described in the dry specifics
    of CISA’s recent security advisory.

    ○    These findings apply not just to the voting machines that voters see, but also the election
         management system (EMS) that is the “back-office brains” of the entire voting system and
         its many parts.

●   There are known flaws, vulnerabilities, exploits, and attackers.

    ○    Many known specific flaws, and many known attack vectors, including malware injection
         that can spread from EMS to voting machines or vice versa.4


3
    https://www.washingtonpost.com/investigations/2022/06/12/coffee-county-georgia-dominion-breach/
4
    The Election Management System (EMS) “sees” every record tagged with information that is unique to the
    jurisdiction. In the case of Dominion’s Democracy Suite EMS, it also handles ballot definitions, so it must both
    read and write those records. In addition to ballot definitions and voting records, the EMS also leaks
    considerable information about the development environment used to create the EMS software. If, for example,
    the developers’ network management suite used a version of SolarWinds with a certain release date (software
    subject to a massive attack recently), then an adversary would know the system might contain an exploitable
    back door. The same holds for the logging software. For our technical audience, one could, for instance,
    check to verify that unprintable “escape sequences” can be passed along to the server, which would thereby
    allow malicious software code to be injected when the EMS was operating to simply read and write records.


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    ○    High quality cyber attackers who are more than capable of using these attack vectors.

●   Typical counter-measures, including those recommended by CISA, will not prevent attack, but
    raise physical and operational barriers that attackers have to circumvent—using known
    effective techniques—to gain access to target systems.

    ○    As voters, we cannot expect every single jurisdiction to properly and completely implement
         these countermeasures and to completely guard against attacks where attackers use
         access gained from insiders (usually inadvertently, e.g., via phishing)
●   Disk images of EMS products are already known to be “in the wild,” (i.e., previously released on
    the so-called “dark web”) and available as a resource to attackers.

    ○    Advanced attackers do not need the information gained from these images, in order to
         construct successful attacks that alter election outcomes.

    ○    Security researchers have confirmed that the images contain information that can enable a
         larger set of adversaries to construct additional exploit techniques.5

    ○    However, broader disclosure and distribution of deeper amounts of election technology
         IP—such as what was experienced in Coffee County—greatly expands the scope of
         opportunity for development of more attack methods and mechanisms, and we believe this
         is game-changing for the threat environment.

The Consequences of Disclosures
Given this threat environment, it must be unacceptable to release such vendor IP, including, but not
limited to disk images, because they provide a powerful increment of information to broaden the
range of exploits on voting systems used in elections. The recent unauthorized disclosure and the
apparent quantity and quality of software, data, and other artifacts could trigger a tsunami of new
attack methods, means, and mechanisms. In fact, these disclosures (and worse, publication)
provide massive updates to materials already “in the wild” and represent a clear and present
danger to election infrastructure protection and security.




5
    Imaging generally means a binary or executable image that may look intimidating to the untrained eye, but is
    actually the entry point for significant vulnerability analysis. While not immediately “readable” for understanding
    operational capabilities, the binary or executable code can be parsed and read by readily available reverse
    engineering tools (including disassemblers and reverse compilers). In fact, such tools are regularly used in
    introductory computer science college courses. We also note that many commentators and recreational
    programmers tend to focus on software source code (which suggests reverse compilation); however,
    disassemblers are more useful for analysis because they assign English language tags and commands. Those
    are used to answer the analysts’ questions (bear in mind that vulnerability discovery is a series of experiments—
    the analyst asks whether the system checks some value and then hunts for the code that answers that
    particular question).
    In practice, and to the casual observer, this may appear to be poking around in the darkness of an
    incomprehensible string of binary code (1s and 0s). However, in fact, once that process is underway and one
    begins to identify APIs, libraries, and hard-coded information, then standard tests can be applied (again, as in
    lab work in every computer science curriculum) and the process of discovery and enlightenment accelerates.




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However, there is another related concern. An additional, more recent, factor is that some election
administration or operations insiders appear to be at least abetting, and at worst, performing abuse
of voting systems for some (nefarious and/or partisan) agenda. As a result:

●   More access to disk images and disclosed (or worse, published) content means more
    opportunity to develop new exploits in addition to those that do not require such access.
●   More exploits become available, including exploits that can be used by larger numbers of less
    sophisticated attackers operating locally.
●   An increased pool of exploits and attackers, when combined with insider access (i.e., physical
    infrastructure security is compromised), creates many more opportunities for effective attacks.

Returning to the original questions, it’s not necessary to assess the increased risk or likelihood of
an actual attack, or to assess the likelihood of a larger pool of attackers or insiders. It is simply the
possibility of enabling a larger number of attackers with a larger array of exploits, that should be
enough to take measures to prevent unauthorized release of disk images, data dumps, or other
technical internals of voting system products that have been shown to be rife with security issues.

Conclusions
Further unauthorized release and publication of election technology IP must be prevented because
they can, and likely will facilitate and foster future attacks on election trust through either cyber-
weapons or disinformation weapons.

Assessing the likelihood of such attacks or their impact is not required; the threat environment is so
daunting, and public trust in U.S. elections is so fragile, that any amplification of any nature must be
prevented. In any event, once these disclosures have occurred, significant efforts and resources
must be deployed to immediately mitigate the misinformation likely to be created and amplified to
further deteriorate public confidence.

Finally, unauthorized disclosures that lead to such amplifications must not be tolerated, and those
responsible held accountable to the full extent of the law. And a related topic that emerges for
consideration elsewhere is strengthening laws, regulations, and penalties for such compromises of
what amounts to national security assets given election technology is critical infrastructure.

In closing, we also find it important to add the following clarification. None of the content in this
statement about the dangers of unauthorized intellectual property releases (e.g., disk images6 et al)
is meant to suggest, support, or make any case for any claim that the 2020 election may have been
tampered with, altered, hacked, or rigged. Such is absolutely not the case because there is no
evidence whatsoever that any such digital subversive act occurred in any system in any of the
jurisdictions where such claims were made.



6
    We note in passing that disk imaging is a detailed examination—an intimate act of inspection. The very
    existence of an image file discloses much about the physical security or lack thereof in the vendor’s
    development environment. The OSET Institute is a strong proponent of high assurance engineering for the
    design and development of the critical infrastructure of election administration technology. Disk imaging is a
    good example of why.


OSET Institute Public Statement                                                                                      4
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Moreover, for Georgia, the durable paper ballot of record remains available and was used to verify
the results through recounting. However, that process itself has not been without its own
complications.7

We also observe that none of this statement about the unauthorized disclosure of election
technology IP has anything to do with the court-sealed report by University of Michigan’s Dr.
Halderman subject of pending GA litigation, which addresses separate vulnerabilities in other parts
of the Dominion election system.




                                                     #####




7
    We do not mean to suggest that, in the case of Georgia, the Ballot Marking Device (BMD) printout is necessarily
    trustworthy and or that there are routine risk-limiting audits or recounts of all contests everywhere. That’s
    simply not the case. Our point here is that in the face of unsupported claims about subversive manipulation of
    voting machines in 2020, there was other physical evidence to consider in order to verify the results.
    And the over-arching point is that unauthorized acquisition, disclosure, or publication of voting system vendors’
    intellectual property in the form if disk images or any other means in order to attempt to prove a theory about
    election hacking is absolutely not the way to do so.
    Further, to the nuance of Georgia ballot counting and recounting, one of the main issues in the Curling v.
    Raffensperger case as we understand it, is that the BMDs might not print voters' selections accurately, either on
    the plaintext or the QR code. Moreover, Georgia only audits one contest every 2-years, and candidly we are not
    convinced their audits are rigorously conducted. Yet, we need not single out Georgia on that count; in fact,
    most states do not perform post-election results audits in a way that— even if the paper trail were
    demonstrably trustworthy —has any chance of correcting wrong outcomes, much less a guaranteed minimum
    chance (limiting risk). And to that end, Georgia does not appear to rigorously keep track of the paper (or
    memory cards, etc.), which is aggravated by the fact that in Georgia the QR codes are the legal official vote for
    counts and recounts. So, yes, paper ballots are the very best way to start toward a post-election verification of
    the outcome and an excellent means to thwart “kraken” about subversive activities in the machinery. However,
    the reliability of the paper cannot be presumed absent certain processes, procedures, and clear evidence of
    voter intent in the ballot as cast.




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Freedom to Tinker
Research and commentary on digital technologies in public life



                                                                                                                    Freedom to Tinker is hosted by
 Magical thinking about Ballot-Marking-Device                                                                       Princeton's Center for Information
                                                                                                                    Technology Policy, a research center
 contingency plans                                                                                                  that studies digital technologies in public
                                                                                                                    life. Here you'll find comment and
 JULY 21, 2022 BY ANDREW APPEL     LEAVE A COMMENT
                                                                                                                    analysis from the digital frontier, written
                                                                                                                    by the Center's faculty, students, and
 The Center for Democracy and Technology recently published a report, “No Simple                                    friends.
 Answers: A Primer on Ballot Marking Device Security”, by William T. Adler. Overall, it’s
 well-informed, clearly presents the problems as of 2022, and it’s definitely worth reading.
 After explaining the issues and controversies, the report presents recommendations, most of
 which make a lot of sense, and indeed the states should act upon them. But there’s one
 key recommendation in which Dr. Adler tries to provide a simple answer, and
 unfortunately his answer invokes a bit of magical thinking. This seriously
 compromises the conclusions of his report. By asking but not answering the question
 of “what should an election official do if there are reports of BMDs printing wrong
 votes?”, Dr. Adler avoids having to make the inevitable conclusion that BMDs-for-all-                               Search this website …               Search

 voters is a hopelessly flawed, insecurable method of voting. Because the answer to
 that question is, unfortunately, there’s nothing that election officials could usefully do                         What We Discuss
 in that case.
                                                                                                                    AACS bitcoin CD          Copy Protection
                                                                                                                    censorship CITP Competition
 BMDs (ballot marking devices) are used now in several states and there is a serious problem
 with them (as the report explains): “a hacked BMD could corrupt voter selections
                                                                                                                    Computing in the Cloud   Copyright
                                                                                                                    Cross-Border Issues cybersecurity policy
 systematically, such that a candidate favored by the hacker is more likely to win.” That is, if a
 state’s BMDs are hacked by someone who wants to change the result of an election, the                              DMCA DRM Education ethics
                                                                                                                    Events Facebook FCC Government
 BMDs can print ballots with votes on them different from what the voters indicated on the
 touchscreen. Because most voters won’t inspect the ballot paper carefully enough before                            Government transparency Grokster
 casting their ballot, most voters won’t notice that their vote has been changed. The voters                        Case Humor Innovation             Policy
 who do notice are (generally) allowed to “spoil” their ballot and cast a new one; but the                          Internet   Law Managing        the
 substantial majority of voters, those who don’t check their ballot paper carefully, are                            Internet Media NSA Online
 vulnerable to having their votes stolen.                                                                           Communities Peer-to-Peer
                                                                                                                    Predictions Princeton         Privacy
 One simple answer is not to use BMDs at all: let voters mark their optical-scan paper ballots                      Publishing Recommended Reading
 with a pen (that is, HMPB: hand-marked paper ballots). A problem with this simple answer                           Secrecy    Security Spam Super-
 (as the report explains) is that some voters with disabilities cannot mark a paper ballot with a                   DMCA surveillance Tech/Law/Policy
 pen. And (as the report explains) if BMDs are reserved just for the use of voters with                                Technology and
                                                                                                                    Blogs
 disabilities, then those BMDs become “second class”: pollworkers are unfamiliar with how to
 set them up, rarely used machines may not work in the polling place when turned on, paper
                                                                                                                    Freedom transparency
 ballots cast by the disabled are distinguishable from those filled in with a pen, and so on.                       Voting Wiretapping WPM
                                                                                                                    Contributors
 So Dr. Adler seems to accept that BMDs, with their serious vulnerabilities, are inevitably                          Select Author...
 going to be adopted—and so he makes recommendations to mitigate their insecurities. And
 most of his recommendations are spot-on: incorporate the cybersecurity measures required                           Archives by Month
 by the VVSG 2.0, avoid the use of bar codes and QR codes, adopt risk-limiting audits
                                                                                                                      2022: J F M A M J J A S O N D
 (RLAs). Definitely worth doing those things, if election officials insist on adopting this
                                                                                                                      2021: J F M A M J J A S O N D
 seriously flawed technology in the first place.
                                                                                                                      2020: J F M A M J J A S O N D
                                                                                                                      2019: J F M A M J J A S O N D
 But then he makes a recommendation intended to address the problem that if the BMD is                                2018: J F M A M J J A S O N D
 cheating then it can print fraudulent votes that will survive any recount or audit. The report                       2017: J F M A M J J A S O N D

 recommends,                                                                                                          2016: J F M A M J J A S O N D
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      Another way is to depend on voter reports. In an election with compromised BMDs
                                                                                                                      2012: J F M A M J J A S O N D
      modifying votes in a way visible to voters who actively verify and observe those
                                                                                                                      2011: J F M A M J J A S O N D
      modifications, it is likely that election officials would receive an elevated number of
                                                                                                                      2010: J F M A M J J A S O N D
      reported errors. In order to notice a widespread issue, election officials must be
                                                                                                                      2009: J F M A M J J A S O N D
      monitoring election errors in real-time across a county or state. If serious problems
                                                                                                                      2008: J F M A M J J A S O N D
      are revealed with the BMDs that cast doubt on whether votes were recorded
                                                                                                                      2007: J F M A M J J A S O N D
      properly, either via parallel testing or from voter reports, election officials must                            2006: J F M A M J J A S O N D
      respond. Accordingly, election officials should have a contingency plan in the                                  2005: J F M A M J J A S O N D
      event that BMDs appear to be having widespread issues. Such a plan would                                        2004: J F M A M J J A S O N D
      include, for instance, having the ability to substitute paper ballots for BMDs,                                 2003: J F M A M J J A S O N D
      decommissioning suspicious BMDs, and investigating whether other machines are                                   2002: J F M A M J J A S O N D
      also misbehaving. Stark (2019) has warned, however, that because it is likely not
      possible to know how many or which ballots were affected, the only remedy to this
                                                                                                                    author log in
      situation may be to hold a new election.



 This the magical thinking: “election officials should have a contingency plan.” The
 problem is, when you try to write down such a plan, there’s nothing that actually works!
 Suppose the election officials rely on voter reports (or on the rate of spoiled ballots); suppose
 the “contingency plan” says (for example) says “if x percent of the voters report
 malfunctioning BMDs, or y percent of voters spoil their ballots, then we will . . .” Then we will
 what? Remove those BMDs from service in the middle of the day? But then all the votes
 already cast on those BMDs will have been affected by the hack; that could be thousands of
 votes. Or what else? Discard all the paper ballots that were cast on those BMDs? Clearly
 you can’t do that without holding an entirely new election. And what if those x% or y% of
 voters were fraudulently reporting BMD malfunction or fraudulently spoiling their ballots to
 trigger the contingency plan? There’s no plan that actually works.


 Everything I’ve explained here was already written down in “Ballot-marking devices cannot
 ensure the will of the voters” (2020 [non-paywall version]) and in “There is no reliable
 way to detect hacked ballot-marking devices” (2019), both of which Dr. Adler cites. But
 an important purpose of magical thinking is to avoid facing difficult facts.


 It’s like saying, “to prevent climate change we should just use machines to pull 40 billion tons
 of CO2 out of the atmosphere each year.” But there is no known technology that can do this.
 All the direct-air-capture facilities deployed to date can capture just 0.00001 billion tons.
 Just because we really, really want something to work is not enough.


 There is an inherent problem with BMDs: they can change votes in a way that will survive
 any audit or recount. Not only is there “no simple solution” to this problem, there’s no
 solution period. Perhaps someday a solution will be identified. Until then, BMDs-for-all-
 voters is dangerous, even with all known mitigations.

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              Mitigation Tool                             Technical Details

Published October 14, 2022
DVSorder is a privacy flaw that affects Dominion Voting Systems (DVS) ImageCast
Precinct (ICP) and ImageCast Evolution (ICE) ballot scanners, which are used in parts
of 21 states. Under some circumstances, the flaw could allow members of the public
to identify other peoples’ ballots and learn how they voted.

This vulnerability is a privacy flaw and cannot directly modify results or change votes.
Nevertheless, the secret ballot is an important security mechanism, and some voters
—especially the most vulnerable in society—may face real or perceived threats of
coercion unless the privacy of their votes is strongly protected.
Many jurisdictions publish data from individual voted ballots, such as cast-vote
records (the votes from each ballot) or ballot images (scans of each ballot). This data
is usually supposed to be randomly shuffled, to protect voters’ privacy. The DVSorder
vulnerability makes it possible to unshuffle the ballots and learn the order they were
cast. This sometimes makes it possible to determine how specific individuals voted.
Jurisdictions can continue to publish ballot-level data if they take steps to “sanitize”
data from vulnerable Dominion scanners. We have created a sanitization tool to help.
Public access to election data, including cast-vote records and ballot images, can be
valuable for voter confidence, and DVSorder is not a reason to reduce transparency.
We were able to discover the vulnerability using only publicly available information,
and it could potentially be discovered and exploited by anyone, without any access to
equipment or breach of controls. Although sanitizing data will protect against
exploitation by the public, the original copies of the records remain vulnerable. This
means there will still be risks from insiders or data breaches until the scanners are
eventually patched. We are making our findings public to ensure all localities are
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informed in time to avoid releasing vulnerable data from the November election. We
alerted Dominion, CISA, EAC, and state officials prior to publication.
This research was conducted by Braden Crimmins, Dhanya Narayanan, Josiah Walker,
and J. Alex Halderman at the University of Michigan and Drew Springall at Auburn
University. We can be contacted at team@DVSorder.org.

  Which jurisdictions are at risk?
  How does the vulnerability work?
  How does knowing the ballot order threaten privacy?
  What machines and kinds of data are vulnerable?
  How can election officials mitigate this?
  Is there a software patch?
  What disclosure was made prior to publication?
  Why are you publishing this before the election?
  What are the technical details?




Which jurisdictions are at risk?
According to data from Verified Voting, parts of 21 states and Puerto Rico use the
vulnerable Dominion scanners. So far we have identified jurisdictions in 11 states that
appear to have published vulnerable data from recent elections: Alaska, Arizona,
California, Georgia, Iowa, Michigan, New Jersey, New Mexico, Ohio, Tennessee, and
Wisconsin.
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How does the vulnerability work?
When a ballot is cast on a Dominion ICP or ICE scanner, it is assigned a random-
looking “record ID” number, which uniquely identifies each ballot within a batch from
a particular machine. After voting is complete, data from the scanner gets loaded into
a central computer called an election management system (EMS). The EMS shuffles
the ballots to mask the order in which they were cast, but each ballot is still labeled
with the original record ID.

Some jurisdictions make this shuffled ballot data public, most commonly in the form
of ballot images (scans of each individual ballot) or cast vote records (data files that
record the votes from individual ballots). Dominion’s documentation implies that the
shuffled data can be safely distributed without compromising voters’ privacy, as does
information Dominion provided during state equipment purchasing: “The ballot
images are given a random ID number as their file name, and when the images are
extracted by the [EMS] application, they are randomized, thus ensuring the ballot
images are de-coupled from voter order.”
Unfortunately, the Dominion ICP and ICE scanner software is flawed such that ballot
record IDs are assigned in a predictable manner. This allows anyone to unshuffle the
ballot images or cast vote records and learn the order in which they were cast.

Although the DVSorder vulnerability is specific to two models of Dominion scanners,
we recommend that other voting equipment vendors review the technical details and
confirm that their implementations do not reveal the order in which ballots were cast.


How does knowing the ballot order threaten privacy?
There are several types of scenarios where the DVSorder vulnerability could be
exploited to identify how specific people voted:
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In most jurisdictions, scanners display a public
counter that shows how many ballots have
been cast. Anyone can note the counter value
when they vote and thereby learn the ballot
sequence numbers of people who vote before
and after. For example, suppose a man uses
the scanner immediately after his wife. By
noting the counter value just before scanning
his ballot, the man can later identify his wife’s
ballot in published cast vote records or ballot
image data and see how she voted.
Poll workers or election observers could similarly note the public counter value to target
specific voters. They could also keep a complete record of who uses the scanner, in order,
which would allow them to deanonymize all ballots cast at the precinct.
Some voters publicly disclose their polling
places and voter numbers on social media or
to others, as in the tweet shown here. As long
as the voter has accurately stated their position
in the ballot sequence, this would allow anyone
to determine how they voted from vulnerable
CVRs or ballot images.
Some localities record all-day surveillance
footage inside polling places. (This image is
from a day-long video from a county in Georgia
and was obtained by others prior to our work
via a public records request.) If the jurisdiction
releases vulnerable CVRs or ballot images,
anyone could associate each ballot with
footage of the voter casting it. A larger number
of jurisdictions treat voter check-in records or
poll books as public records. These can
heighten the risks posed by the vulnerability, as they often track the order in which voters
receive their ballots, which can match or closely approximate the order of casting.
Some localities publish scanner log files (slog.txt files) from the ICP or ICE. Although these
logs by themselves pose little risk to privacy, they can be combined with the DVSorder
vulnerability to determine the exact time that each CVR or ballot image was cast (subject to
the accuracy of the scanner’s internal clock). This provides an additional route to identify
voters’ ballots. As one example, journalists sometimes film or photograph candidates and
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other political figures as they vote. Such media is often timestamped and could be used by
anyone to deanonymize those individuals’ ballots, even long after the election.


What machines and kinds of data are vulnerable?
All versions of the Dominion ICP and ICE for which we have located public ballot-level
data appear to be vulnerable to DVSorder, including versions that have been certified
by the U.S. Election Assistance Commission (EAC). The problem is specific to the ICP
and ICE; ImageCast Central scanners and ImageCast X DREs do not appear to suffer
from the flaw. (The ImageCast Central (ICC) intentionally labels ballots in the order
they are scanned.)




            ImageCast Precinct (ICP)                 ImageCast Evolution (ICE)

Dominion’s EMS software can export ballot-level data in several forms. Some
examples of the most commonly published types of data that may be vulnerable are:




          JSON cast-vote records (CVRs)             CSV cast-vote records (CVRs)
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               Ballot image TIF files                    Ballot audit website
          (with record IDs in filenames)            (with record IDs in filenames)

Only data that represents individual ballots and their record IDs is affected by
DVSorder. Summary results such as statements of votes cast (SoVCs), precinct- or
scanner-level totals, election-night result reports, and poll tapes are not vulnerable to
this privacy flaw.


How can election officials mitigate this?
DVSorder affects only two specific models of ballot scanners: the Dominion
ImageCast Precinct (ICP) and ImageCast Evolution (ICE). Jurisdictions that do not use
these scanners are unaffected and do not need to take any action. DVSorder should
not motivate unaffected jurisdictions to decrease their transparency.

Localities that use the Dominion ICP or ICE can prevent the flaw from being exploited
by the public by taking specific steps to “sanitize” ballot-level data before publishing it:

Manually Sanitizing CVRs (CSV format only)
Dominion cast-vote records (CVRs) in CSV format use a simple data scheme that can
be sanitized manually. To do so, open the .csv file in Excel and delete column D,
labeled “RecordId”, then save the file. Removing the record IDs from JSON-format
CVRs and ballot image filenames is more labor intensive, so we recommend using our
data sanitization tool described below.
Automated Data Sanitization Tool (all formats)
We created an open-source software tool that can automatically reprocess Dominion
cast-vote records (CVRs) and ballot image files so that DVSorder can no longer be
exploited. The tool can sanitize CVRs in .csv or .zip format and folders of ballots
images in .tif format.

Sanitizing published ballot-level data cannot affect official election results, because
results are generated directly from the election management system (EMS), not from
the ballot-level data released to the public. However, as with any third-party software,
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jurisdictions should not run our sanitization tool on their EMS computers. Instead,
we recommend copying vulnerable CVRs or ballot images to an external system and
running the tool there. Our tool is open-source software, and we encourage anyone
interested to view the code and test its behavior.
More about our tool:
• Read the documentation
• View the source code
Election officials who need assistance can contact us, and we will be happy to provide
any help we can.


Is there a software patch?
Sanitizing ballot-level data before publishing it makes the data just as safe to release
as if the DVSorder vulnerability did not exist. However, even if jurisdictions sanitize
the data they make public (or if they do not publish any ballot-level data), the flaw still
carries risks. For instance, unsanitized data could be stolen in a data breach or
accessed by malicious insiders, who could exploit the flaw to learn how people voted.
Completely mitigating these risks will require Dominion to change the ICP and ICE
firmware to use a secure method of generating ballot IDs. The U.S. Election Assistance
Commission (EAC) has informed us that Dominion plans to correct the flaw in future
firmware versions. However, our understanding is that no patches will be available
until after the November election, at least for federally certified versions of Dominion
systems. Election officials should contact Dominion for further information and to
inquire as to patch availability.


What disclosure was made prior to publication?
We notified Dominion about the vulnerability on August 23, 2022. Our disclosure
letter to Dominion informed them that we planned to publish information about the
flaw as soon as 30 days later and offered to assist them in understanding and
mitigating the problem. The company acknowledged receipt of the disclosure on
August 29, but we have not received any subsequent communication from them. We
informed the U.S. Election Assistance Commission (EAC) and the Cybersecurity &
Infrastructure Security Agency (CISA) about the vulnerability on September 2.

Two weeks after we notified Dominion, it sent a “customer notification” to
jurisdictions that use the ICP and ICE. (Dominion did not provide us a copy, but we
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obtained one from an affected jurisdiction.) While the notification appears to be in
response to our disclosure, it does not mention that the scanners have a
vulnerability that reveals the order in which ballots were cast. Instead, it directs
election officials to “follow any state or local requirements guiding public access to
and release of cast vote records” and to “consult their legal advisors for guidance on
how best to ensure that [voter secrecy] protections are applied, particularly if
simultaneously releasing any record (i.e. [sic] video) that could reveal a voter’s identity
in the order in which they cast their ballot.”
We observe that such legal advisors would likely rely on Dominion’s prior, inaccurate
representations that ballot-level data is appropriately randomized to protect privacy.
By failing to provide information about the specific risks posted by the DVSorder flaw,
Dominion’s notice appears to have left jurisdictions unable to make informed
decisions about whether and how to release election data.

Before publication of this website, we sent our own notifications to the state election
directors in states that we believe use ICP or ICE scanners.


Why are you publishing this before the election?
We consulted with other experts and considered a range of equities before
concluding that the public interest would be best served by publishing now.
The vulnerability is unusual in that it doesn't require exotic skills or special access to
discover or exploit, but rather only publicly available information. This means there is
an appreciable risk that malicious parties would independently discover the flaw, or
that they already have. With the bar so low, we're concerned that people will attempt
to exploit it following the midterms.

If we did not make our findings public before the election, jurisdictions would almost
certainly publish a large volume of vulnerable data in November. Once released, this
data would remain vulnerable in perpetuity, even if the scanners themselves were
later patched. Raising the alert now gives election officials time to respond effectively.
Our priority is to prevent this flaw from affecting voters in the midterms, which is
ultimately the best way to uphold public trust.


Technical details
The Dominion ICP and ICE generate ballot record IDs using a pseudorandom number
generator (PRNG). The PRNG they use is based on a linear congruential generator
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(LCG). LCGs have long been known to be unsuitable for most security applications,
both because the sequences they generate have obvious patterns and because their
entire output is predictable given only a few samples. Dominion attempts to
obfuscate the LCG output using some simple transformations (which differ slightly
between the ICP and ICE), but these are insufficient to make the PRNG secure.

The ICP and ICE PRNGs each output a fixed sequence of 1,000,000 numbers (a
permutation of the numbers 0-999,999) that is the same across all devices of each
model. For a given batch of ballots, only the starting point within the sequence is
randomized. The ballot record IDs are simply consecutive values in the fixed
sequence from that point forward:




If an attacker knows the record IDs from the ballots in a batch (from CVRs, ballot
image filenames, or any other source), they merely need to locate them in the PRNG
output sequence for the scanner model. The record ID that appears first in the
sequence corresponds to the earliest ballot, and all other record IDs will appear
following it in the sequence, in the order in which they were cast:
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We identified the vulnerability from just a short series of record IDs in voted order,
which we obtained from publicly available data. Even in a small sample (like the
example shown below), there are clear repeating patterns in several of the digit
positions. This immediately suggests the use of a simple, non-cryptographic PRNG,
such as an LCG:

              303001                     907271                      801991
              720012                     224222                      722982

              195008                     599278                      693998
              857815                     956625                      858485

              739854                     332644                      435414
              611861                     513631                      617401

              876852                     170642                      074412
              483368                     385138                      481708

              668355                     764145                      266715
              040324                     149184                      042754


Starting from this observation, multiple members of the team were able to
independently reconstruct the complete PRNG algorithm within a few days.

Both the ICP and ICE PRNGs generate record IDs through a simple sequence of steps.
They start with the LCG xn+1 = xn + 864,803 mod 1,000,000. The output is then
obfuscated by a simple substitution cipher in which the digits [0,1,2,3,4,5,6,7,8,9] are
replaced by [5,0,8,3,2,6,1,9,4,7]. The digits are then reordered following a fixed
permutation that is different on the ICP and the ICE.

This code reproduces the complete record ID sequence for each scanner model:
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     1   def generate_sequence(p):
     2        return [sum([5,0,8,3,2,6,1,9,4,7][864803*n//10**p[i]%10]*10**i for i in range(6
     3            for n in range(1000000)]
     4   icp_sequence = generate_sequence([2,3,1,5,0,4])
     5   ice_sequence = generate_sequence([1,5,0,4,2,3])

     dvs_prng.py hosted with ❤ by GitHub                                                       view raw

   To validate and test for the vulnerability, we created a proof-of-concept
   implementation. This program inputs a CSV- or JSON-format CVR file and outputs the
   fraction of ballots that appear to be vulnerable.

   We will provide additional technical details in a forthcoming research paper.


The DVSorder website and logo (svg; free to use under a CC0 license) were designed by Sarah Madden. Technical
illustrations are by LaKyla Thomas.
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                     Georgia
                     Secretary of State
                     Brad Raffensperger                                            SOS Office         Business        Charities        Elections     Securities      Licensing        Search




Historic First Statewide Audit of Paper Ballots Upholds
Result of Presidential Race
Home > News & Announcements > Historic First Statewide Audit of Paper Ballots Upholds Result of Presidential Race


November 19th, 2020

(Atlanta) -- Today, Secretary of State Brad Ra!ensperger announced the results of the Risk Limiting Audit of Georgia’s
presidential contest, which upheld and rea"rmed the original outcome produced by the machine tally of votes cast.
Due to the tight margin of the race and the principles of risk-limiting audits, this audit was a full manual tally of all
votes cast. The audit con#rmed that the original machine count accurately portrayed the winner of the election. The                                More News & Announcements
results of the audit can be viewed HERE , HERE , and HERE .
                                                                                                                                               Secretary Raffensperger Praises County
“Georgia’s historic #rst statewide audit rea"rmed that the state’s new secure paper ballot voting system accurately                            Election Director Nancy Boren, Dismisses
counted and reported results,” said Secretary Ra!ensperger. “This is a credit to the hard work of our county and local                         Attacks from Dark Money Group
elections o"cials who moved quickly to undertake and complete such a momentous task in a short period of time.”
                                                                                                                                               Secretary of State Trains Local Officials on
“Georgia’s #rst statewide audit successfully con#rmed the winner of the chosen contest and should give voters                                  New Voter Registration System

increased con#dence in the results,” said Ben Adida, Executive Director of VotingWorks. “We were proud to work with
                                                                                                                                               Federal Judge: Abrams Group Must Repay
Georgia on this historic audit. The di!erence between the reported results and the full manual tally is well within the
                                                                                                                                               Costs to Georgia Taxpayers
expected error rate of hand-counting ballots, and the audit was a success.”
                                                                                                                                               Call for Special Election for State House,
By law, Georgia was required to conduct a Risk Limiting Audit of a statewide race following the November elections.
                                                                                                                                               District 119
Understanding the importance of clear and reliable results for such an important contest, Secretary Ra!ensperger
selected the presidential race in Georgia for the audit. Meeting the con#dence threshold required by law for the audit                         Call for Special Election for State Senate,
meant conducting a full manual tally of every ballot cast in Georgia.                                                                          District 11


The Risk Limiting Audit rea"rmed the outcome of the presidential race in Georgia as originally reported, with Joe                              Call for Special Election for State House,
Biden leading President Donald Trump in the state.                                                                                             District 172


The audit process also led to counties catching making mistakes they made in their original count by not uploading all
memory cards. Those counties uploaded the memory cards and re-certi#ed their results, leading to increased accuracy                                VIEW ALL
in the results the state will certify.

The di!erential of the audit results from the original machine counted results is well within the expected margin of
human error that occurs when hand-counting ballots. A 2012 study by Rice University and Clemson University found
that “hand counting of votes in postelection audit or recount procedures can result in error rates of up to 2 percent.” In
Georgia’s recount, the highest error rate in any county recount was .73%. Most counties found no change in their
#nally tally. The majority of the remaining counties had changes of fewer than ten ballots.

Because the margin is still less than 0.5%, the President can request a recount after certi#cation of the results. That
recount will be conducted by rescanning all paper ballots.

Click here for the Risk Limiting Audit Report

                                                             ###




    O!ce of Brad Ra"ensperger                                                                                                                                            214 State Capitol

    News & Announcements                                                                                                                                          Atlanta, Georgia 30334

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